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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    American Canning LLC

2.    All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          4      6      –      1      2        6    6         2   1     7

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       8001 Industry Way                                               4509 Freidrich Ln Bldg 4, Unit 415
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Austin                              TX       78744              Austin                        TX      78744
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Travis                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor American Canning LLC                                                              Case number (if known)

7.    Describe debtor's business       A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.    Under which chapter of the       Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).

                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return or if
                                                              all of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                              chooses to proceed under Subchapter V of Chapter 11.

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12

9.    Were prior bankruptcy                 No
      cases filed by or against
      the debtor within the last 8          Yes. District                                        When                      Case number
      years?                                                                                              MM / DD / YYYY
                                                 District                                        When                      Case number
      If more than 2 cases, attach a
                                                                                                          MM / DD / YYYY
      separate list.
                                                 District                                        When                      Case number
                                                                                                          MM / DD / YYYY


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Debtor American Canning LLC                                                              Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.




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Debtor American Canning LLC                                                              Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 12/31/2024
                                                      MM / DD / YYYY



                                          X /s/ David Racino
                                              Signature of authorized representative of debtor
                                              David Racino
                                              Printed name
                                              Manager
                                              Title

18. Signature of attorney                X /s/ Douglas J. Powell                                                  Date     12/31/2024
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Douglas J. Powell
                                            Printed name
                                            The Law Offices of Douglas J. Powell, P.C.
                                            Firm name
                                            P. O. Box 340686
                                            Number          Street



                                            Lakeway                                                    TX                   78734
                                            City                                                       State                ZIP Code


                                            (512) 476-2457                                             dpowell@dougpowelllaw.com
                                            Contact phone                                              Email address
                                            16194900                                                   TX
                                            Bar number                                                 State



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 Fill in this information to identify the case
 Debtor name          American Canning LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand                                                                                                                            $0.00

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account at Plains Capital Bank                       Checking account                    1   3   9     4                   $1,181.19

3.2.    Checking account at PlainsCapital Bank
        (Under the name of MFG, the wholly owned
        subsidiary)                                                   Checking account                    9   9   0     0                      $0.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
                                                                                                                                            $1,181.19
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor          American Canning LLC                                                          Case number (if known)
                Name

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
7.      Deposits, including security deposits and utility deposits

        Description, including name of holder of deposit

8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

        Description, including name of holder of prepayment

9.      Total of Part 2.
                                                                                                                                                   $0.00
        Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
11. Accounts receivable

11a. 90 days old or less:                 $0.00               –                 $0.00                  = .......................                   $0.00
                              face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                $450,584.61             –             $450,584.61                = .......................                   $0.00
                              face amount                         doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                   $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

            No. Go to Part 5.
            Yes. Fill in the information below.
                                                                                               Valuation method                    Current value of
                                                                                               used for current value              debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                  % of ownership:
15.1.      All ownership interest in AMCAN MFG, LLC

           EIN XX-XXXXXXX

           Company has ceased all operations and has no
           assets.
           For tax purposes treated as a disregarded entity.                    100%                                                               $0.00
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                   $0.00




Official Form 206A/B                              Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       American Canning LLC                                                    Case number (if known)
             Name


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.

     General description                         Date of the     Net book value of     Valuation method           Current value of
                                                 last physical   debtor's interest     used for current value     debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

     Debtor's inventory

     See Exhibit "B" attached.

     This is the inventory presently
     reflected on the Debtor's reocrds
     but (1.) everything reflected here
     may not be in the former
     warehouse space of the Debtor
     as it could have been removed by
     the landlord or other parties or
     sold but not yet timely recorded in
     the Debtor's records, and (2.)
     additional items may have
     recently come in that are alos not
     reflected here.

     Nonetheless, without access to
     the warehouse, this is the best
     effort the Debtor and its
     representative can mkae to show
     what inventory may bstill be there. 12/30/2024                     $674,198.00 Cost                                  $674,198.00
22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                          $674,198.00

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       American Canning LLC                                                      Case number (if known)
             Name

     General description                                           Net book value of    Valuation method         Current value of
                                                                   debtor's interest    used for current value   debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                 $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method         Current value of
                                                                   debtor's interest    used for current value   debtor's interest
                                                                   (Where available)
39. Office furniture

     desks, chairs, conference tables and chairs,
     cubicles, break room furniture, Kitchen
     furniture, file cabinets, etc.

     Debtor's representatives do not have an exact
     inventory of what is still in the former leasehold
     of the Debtor. It is further possible that some of
     the furniture may have previoulsy been removed
     by the landlord or other parties.

     Value unknown at this time.

     Value unknown at this time.                                                                                            Unknown
40. Office fixtures




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                    page 4
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Debtor       American Canning LLC                                                       Case number (if known)
             Name

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                  $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2006 GMC C7500 Box truck
      (Value estimated)                                                                                                      $4,500.00
47.2. 2012 Freightliner M2 106 Medium DU
      Value estimated                                                                                                        $7,500.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     Debtor has been locked out of its premises and
     the main secured creditor has conducted a
     foreclosure sale of its assets that were on the
     premises when the Debtor was locked out.
     Debtor does not have access to the premises and
     therefore cannot say what may still be at the
     premsies - if anything - that would qualify as
     machinery and/or equipment that was not
     foreclosed by the main secured creditor.                                                                                     $0.00
     (4) electric Toyota forkllifts on lease from
     Toyota Industries Commercial Finance, Inc.
     P.O. Box 660926
     Dallas, TX 75266

     Value less than what's owed on the lease.                                                                                    $0.00
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                            $12,000.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 5
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Debtor       American Canning LLC                                                        Case number (if known)
             Name

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

      Trademark for the words "American Canning"
      and the logo for American Canning                                                                                                   $0.00
61. Internet domain names and websites

      www.americancanning.com                                                                                                             $0.00
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

      Debtor has a list of its former customers, but
      does not beleive it has any value at this time.                                                                                     $0.00
64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       American Canning LLC                                                        Case number (if known)
             Name

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                  $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 7
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Debtor           American Canning LLC                                                                                Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $1,181.19
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                       $674,198.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                      $12,000.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $687,379.19           + 91b.                      $0.00


                                                                                                                                                                   $687,379.19
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 8
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                                                                Exhibit A
                                                        American Canning LLC
                                               Holding Company : American Canning LLC
                                                          A/R Aging Detail
                                                      As of December 27, 2024


Customer                                          Transaction Type   Date        Document Number   P.O. No.   Due Date      Age    Open Balance
C01019 5 Stones Artisan Brewery
                                                  Invoice            8/16/2024   INV49117                     9/15/2024     103      $687.33
                                                  Invoice            8/16/2024   INV49119                     9/15/2024     103      $900.32
Total - C01019 5 Stones Artisan Brewery                                                                                             $1,587.65
C01061 Aquabrew Craft Beer
                                                  Invoice            10/19/2022 INV35512                      11/18/2022    770       $318.92
Total - C01061 Aquabrew Craft Beer                                                                                                    $318.92
C01081 Augusta Label
                                                  Invoice            5/16/2019   4009                         6/15/2019    2,022    $4,628.47
Total - C01081 Augusta Label                                                                                                        $4,628.47
C01083 Austin Beerworks
                                                  Invoice            9/6/2024    INV49584                     10/6/2024      82     $3,145.32
                                                  Invoice            9/12/2024   INV49733                     10/12/2024     76      $303.00
                                                  Invoice            9/12/2024   INV49765                     10/12/2024     76    $20,155.29
Total - C01083 Austin Beerworks                                                                                                    $23,603.61
C01093 Baa Baa Brewhouse
                                                  Invoice            3/23/2022   INV26504                     4/22/2022     980      $122.35
                                                  Invoice            4/7/2022    INV26784                     5/7/2022      965     $2,789.56
                                                  Invoice            4/20/2022   INV27089                     5/20/2022     952     $2,815.28
                                                  Invoice            5/18/2022   INV27795                     6/17/2022     924     $2,536.21
                                                  Invoice            6/15/2022   INV29998                     7/15/2022     896     $2,389.92
                                                  Invoice            7/14/2022   INV29533                     8/13/2022     867     $2,995.38
                                                  Invoice            7/27/2022   INV29765                     8/26/2022     854      $288.00
                                                  Invoice            8/10/2022   INV31647                     9/9/2022      840     $2,274.23
                                                  Invoice            3/21/2023   INV35511                     4/20/2023     617      $386.55
Total - C01093 Baa Baa Brewhouse                                                                                                   $16,597.48
C01123 Big River Brewing
                                                  Invoice            6/8/2021    INV18287                     7/8/2021     1,268    $4,351.48
Total - C01123 Big River Brewing                                                                                                    $4,351.48
C01183 Community Beer Co.
                                                  Invoice            1/11/2023   INV33912          4404       2/10/2023     686     $3,532.68
Total - C01183 Community Beer Co.                                                                                                   $3,532.68
C01195 Dalai Sofia
                                                  Invoice            2/7/2020    INV2658                      2/7/2020     1,785     $950.30
                                                  Invoice            3/13/2020   INV3311                      3/13/2020    1,750    $4,184.89
                                                  Invoice            4/3/2020    INV4161                      4/3/2020     1,729    $6,888.61
                                                  Invoice            4/6/2020    INV4160                      4/6/2020     1,726    $2,132.87
                                                  Invoice            8/25/2020   INV9769                      8/25/2020    1,585     $816.90
Total - C01195 Dalai Sofia                                                                                                         $14,973.57
C01229 Flying Tiger Brewery
                                                  Invoice            8/29/2022   INV30529                     8/29/2022     851       $918.32
Total - C01229 Flying Tiger Brewery                                                                                                   $918.32
C01240 Gamer Packaging
                                                  Invoice            7/17/2024   INV48358                     8/16/2024     133       $752.55
Total - C01240 Gamer Packaging                                                                                                        $752.55
C01243 Ghost Train Brewing Co.
                                                  Invoice            9/21/2023 INV40856                       10/21/2023    433     $4,444.93
                                                  Invoice            10/20/2023 INV41640                      11/19/2023    404      $476.31
Total - C01243 Ghost Train Brewing Co.                                                                                              $4,921.24
C01272 Hops and Grain Production LLC
                                                  Invoice            3/29/2019   3787                         4/28/2019    2,070    $7,296.00
Total - C01272 Hops and Grain Production LLC                                                                                        $7,296.00
C01278 Independence Brewing Co.
                                                  Invoice            7/29/2024   INV48652                     8/28/2024     121    $12,320.00
                                                  Invoice            9/27/2024   INV50273                     9/27/2024      91      $440.00
                                                  Invoice            9/30/2024   INV50295                     9/30/2024      88      $880.00
Total - C01278 Independence Brewing Co.                                                                                            $13,640.00
C01280 Infamous Brewing Co.
                                                  Invoice            9/27/2024   INV50274                     9/27/2024      91       $259.53
Total - C01280 Infamous Brewing Co.                                                                                                   $259.53
C01294 Lake Austin Ales
                                                  Invoice            3/15/2019   3707                         4/14/2019    2,084    $5,441.12
                                                  Invoice            4/15/2019   3852                         5/15/2019    2,053    $4,963.64
Total - C01294 Lake Austin Ales                                                                                                    $10,404.76
C01295 Lake Tribe Brewing Company
                                                  Invoice            9/26/2023   INV40949                     9/26/2023     458     $1,078.03
Total - C01295 Lake Tribe Brewing Company                                                                                           $1,078.03
C01298 Last Stand Brewing Company
                                                  Invoice            3/30/2020   INV3916                      4/29/2020    1,703      $636.00
                                                  Invoice            4/9/2020    INV4685           KEGS       5/9/2020     1,693      $624.00
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                                                      American Canning LLC
                                             Holding Company : American Canning LLC
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Customer                                        Transaction Type   Date        Document Number   P.O. No.       Due Date      Age    Open Balance
                                                Invoice            4/14/2020   INV5256           KEGS 4/14/20   5/14/2020    1,688     $646.00
Total - C01298 Last Stand Brewing Company                                                                                             $1,906.00
C01314 Lorelei Brewing
                                                Invoice            10/14/2022 INV31853                          11/13/2022    775     $5,840.60
Total - C01314 Lorelei Brewing                                                                                                        $5,840.60
C01325 Megaton Brewery
                                                Invoice            2/7/2023    INV35146                         2/7/2023      689      $515.27
                                                Invoice            4/19/2023   INV36504                         4/19/2023     618      $757.75
Total - C01325 Megaton Brewery                                                                                                        $1,273.02
C01331 Moontower Cider
                                                Invoice            9/26/2022   INV31237                         10/26/2022    793     $1,923.19
                                                Invoice            3/21/2023   INV35464                         4/20/2023     617     $1,852.37
                                                Invoice            3/21/2023   INV35467                         4/20/2023     617     $1,246.62
                                                Invoice            4/4/2023    INV36507                         5/4/2023      603     $1,425.12
                                                Invoice            7/1/2023    INV39132                         7/31/2023     515     $1,535.42
Total - C01331 Moontower Cider                                                                                                        $7,982.72
C01387 Rentsch Brewery
                                                Invoice            9/8/2022    INV30796                         10/8/2022     811     $1,906.48
                                                Invoice            9/8/2022    INV30797                         10/8/2022     811     $1,400.78
Total - C01387 Rentsch Brewery                                                                                                        $3,307.26
C01398 Rocky Mountain High Brands
                                                Invoice            10/31/2019 INV540                            12/1/2019    1,853   $12,208.74
Total - C01398 Rocky Mountain High Brands                                                                                            $12,208.74
C01405 Saloon Door
                                                Invoice            4/8/2020    INV4196                          5/8/2020     1,694    $2,739.60
                                                Invoice            7/29/2020   INV8876                          7/29/2020    1,612    $1,026.96
Total - C01405 Saloon Door                                                                                                            $3,766.56
C01429 Southern Heights Brewing
                                                Invoice            4/19/2022   INV26901                         5/19/2022     953     $1,596.80
Total - C01429 Southern Heights Brewing                                                                                               $1,596.80
C01441 Strange Land Brewing
                                                Invoice            8/22/2018   2782                             9/21/2018 2,289       $3,285.91
                                                Invoice            8/22/2018   2781                             9/21/2018 2,289       $4,347.88
                                                Invoice            9/11/2018   2872                             10/11/2018 2,269      $1,898.25
Total - C01441 Strange Land Brewing                                                                                                   $9,532.04
C01448 Taps and Caps
                                                Invoice            9/14/2021   INV21293                         9/14/2021    1,200    $1,404.94
Total - C01448 Taps and Caps                                                                                                          $1,404.94
C01472 True Vine Brewing Co.
                                                Invoice            9/6/2024    INV49630                         10/6/2024      82     $2,000.00
Total - C01472 True Vine Brewing Co.                                                                                                  $2,000.00
C01482 Vanessa House Beer Co.
                                                Invoice            7/8/2019    4226                             8/7/2019     1,969    $1,150.63
                                                Invoice            7/18/2019   4275                             8/17/2019    1,959    $2,977.20
                                                Invoice            7/26/2019   4316                             8/25/2019    1,951    $7,335.80
                                                Invoice            7/30/2019   4326                             8/29/2019    1,947    $2,457.05
                                                Invoice            8/12/2019   4383                             9/11/2019    1,934    $1,510.04
Total - C01482 Vanessa House Beer Co.                                                                                                $15,430.72
C01490 Weathered Souls Brewing Co.
                                                Invoice            11/2/2023 INV41954                           12/2/2023     391      $697.58
                                                Invoice            11/20/2023 INV42365                          12/20/2023    373     $1,351.75
                                                Invoice            2/15/2024 INV44286                           3/16/2024     286     $1,299.22
Total - C01490 Weathered Souls Brewing Co.                                                                                            $3,348.55
C01494 Whitestone Brewery
                                                Invoice            5/1/2023    INV36657                         5/31/2023     576     $2,049.70
                                                Invoice            5/8/2023    INV36840                         6/7/2023      569     $2,022.80
                                                Invoice            6/13/2023   INV37906                         7/13/2023     533     $3,150.90
                                                Invoice            6/13/2023   INV38498                         7/13/2023     533        $50.00
                                                Invoice            6/27/2023   INV38241                         7/27/2023     519     $1,050.30
                                                Invoice            6/27/2023   INV38497                         7/27/2023     519     $1,050.30
                                                Invoice            8/8/2023    INV39644                         9/7/2023      477     $4,201.20
Total - C01494 Whitestone Brewery                                                                                                    $13,575.20
C01503 Wunder-Pilz Kombucha
                                                Invoice            3/10/2020   INV3212                          3/10/2020    1,753    $2,435.49
                                                Invoice            8/26/2020   INV9814                          9/25/2020    1,554    $1,050.30
Total - C01503 Wunder-Pilz Kombucha                                                                                                   $3,485.79
C01507 Zilker Brewing Company
                                                Invoice            7/9/2024    INV48134          Apply CM1162   8/8/2024      141        $46.00
Total - C01507 Zilker Brewing Company                                                                                                    $46.00
C01514 Belching Beaver Brewery
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                                                          American Canning LLC
                                                 Holding Company : American Canning LLC
                                                             A/R Aging Detail
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Customer                                             Transaction Type   Date        Document Number   P.O. No.                Due Date      Age    Open Balance
                                                     Invoice            10/15/2024 INV50475                                   10/15/2024     73       $564.00
Total - C01514 Belching Beaver Brewery                                                                                                                $564.00
C01517 iCan Solutions
                                                     Invoice            4/27/2020   INV5442                                   4/27/2020    1,705      $920.57
Total - C01517 iCan Solutions                                                                                                                         $920.57
C01735 Scout & Cellar
                                                     Invoice            2/24/2020   INV2938                                   3/10/2020    1,753    $4,686.10
                                                     Invoice            3/9/2020    INV3516                                   3/24/2020    1,739     $759.10
Total - C01735 Scout & Cellar                                                                                                                       $5,445.20
C02063 Viva Brewing LLC
                                                     Invoice            7/21/2022 INV29539                                    8/20/2022     860        $98.00
                                                     Invoice            12/19/2022 INV33197                                   1/18/2023     709      $980.00
Total - C02063 Viva Brewing LLC                                                                                                                     $1,078.00
C02082 Levels Beverage Company
                                                     Invoice            4/23/2020   INV5278                                   4/23/2020    1,709       $95.63
Total - C02082 Levels Beverage Company                                                                                                                 $95.63
C02285 Wetlands Sake, LLC
                                                     Invoice            3/19/2021   INV15706                                  3/19/2021    1,379     $165.00
                                                     Invoice            9/8/2021    INV21289                                  9/8/2021     1,206    $4,857.60
                                                     Invoice            9/9/2021    INV21109                                  9/9/2021     1,205    $4,301.40
                                                     Invoice            9/15/2021   INV21324                                  9/15/2021    1,199   $13,722.72
Total - C02285 Wetlands Sake, LLC                                                                                                                  $23,046.72
C02619 New Magnolia Brewing LLC
                                                     Invoice            9/1/2023   INV40459                                   9/1/2023      483     $3,600.78
                                                     Invoice            11/22/2023 INV42435                                   11/22/2023    401     $5,352.02
Total - C02619 New Magnolia Brewing LLC                                                                                                             $8,952.80
C02742 NEFF Brewing
                                                     Invoice            9/16/2020 INV10461                                    9/16/2020 1,563        $344.22
                                                     Invoice            10/13/2020 INV11310                                   10/13/2020 1,536      $1,861.06
Total - C02742 NEFF Brewing                                                                                                                         $2,205.28
C03013 Nueces Brewing Co.
                                                     Invoice            7/5/2022    INV29017                                  7/5/2022      906     $1,296.93
Total - C03013 Nueces Brewing Co.                                                                                                                   $1,296.93
C03016 Fauxmo
                                                     Invoice            10/27/2022 INV32427           50% terms for SO12306   11/26/2022    762    $31,459.44
Total - C03016 Fauxmo                                                                                                                              $31,459.44
C03732 The Great Lakes Coffee Roasting Co.
                                                     Invoice            6/22/2021   INV18643                                  6/22/2021    1,284      $589.00
Total - C03732 The Great Lakes Coffee Roasting Co.                                                                                                    $589.00
C04988 BLUMANIA Energy, LLC
                                                     Invoice            9/29/2021   INV21813                                  9/29/2021    1,185   $14,644.48
Total - C04988 BLUMANIA Energy, LLC                                                                                                                $14,644.48
C05649 Full Fledged Brewing Company
                                                     Invoice            3/24/2022   INV26262          Apply CM#570            3/24/2022    1,009    $1,231.15
Total - C05649 Full Fledged Brewing Company                                                                                                         $1,231.15
C05909 Second Pitch Beer Company
                                                     Invoice            4/1/2022    INV26516                                  4/1/2022     1,001    $1,690.17
                                                     Invoice            5/17/2022   INV27786                                  5/17/2022      955    $1,719.83
                                                     Invoice            6/28/2022   INV29524                                  6/28/2022      913    $2,001.80
                                                     Invoice            8/4/2022    INV30010                                  8/4/2022       876    $1,713.46
                                                     Invoice            9/19/2022   INV31172                                  9/19/2022      830     $272.60
Total - C05909 Second Pitch Beer Company                                                                                                            $7,397.86
C06124 Both And, LLC dba Sunriser
                                                     Invoice            3/31/2022   INV26514                                  3/31/2022    1,002    $2,367.94
Total - C06124 Both And, LLC dba Sunriser                                                                                                           $2,367.94
C06128 Islla Street
                                                     Invoice            9/30/2019   INV381                                    9/30/2019    1,915      $402.69
Total - C06128 Islla Street                                                                                                                           $402.69
C06601 Fenwick Farms Brewing Company
                                                     Invoice            5/4/2023    INV36745          Apply CM405             5/4/2023      603      $722.34
                                                     Invoice            5/4/2023    INV36839          Apply CM405             5/4/2023      603      $669.08
Total - C06601 Fenwick Farms Brewing Company                                                                                                        $1,391.42
                                                     Invoice            10/28/2021 INV22586                                   10/28/2021 1,156      $1,760.09
Total - C06816 Laugh Hero LLC                                                                                                                       $1,760.09
C07284 Tired Hands Brewing Company
                                                     Invoice            1/9/2024    INV43387                                  1/9/2024      353     $1,156.79
Total - C07284 Tired Hands Brewing Company                                                                                                          $1,156.79
C07321 Hi Sign Brewing
                                                     Invoice            8/31/2018   2828                                      9/30/2018 2,280          $41.62
                                                     Invoice            9/18/2018   2903                                      10/18/2018 2,262      $2,835.60
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                                                          American Canning LLC
                                                 Holding Company : American Canning LLC
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Customer                                             Transaction Type   Date        Document Number      P.O. No.               Due Date      Age    Open Balance
                                                     Invoice            9/20/2018 2918                                          10/20/2018   2,260     $612.00
                                                     Invoice            9/30/2018 2985                                          10/31/2018   2,249     $280.86
                                                     Invoice            9/30/2018 2979                                          10/31/2018   2,249     $711.20
                                                     Invoice            10/23/2018 3087                                         11/22/2018   2,227     $144.00
                                                     Invoice            10/23/2018 3098                                         11/22/2018   2,227     $508.00
                                                     Invoice            10/23/2018 3095                                         11/22/2018   2,227    $1,016.00
                                                     Invoice            10/23/2018 3083                                         11/22/2018   2,227    $1,270.00
                                                     Invoice            10/31/2018 3144                                         12/2/2018    2,217    $2,067.00
                                                     Invoice            11/23/2018 3221                                         12/23/2018   2,196     $413.48
                                                     Invoice            11/23/2018 3233                                         12/23/2018   2,196    $1,310.08
                                                     Invoice            12/31/2018 3376                                         1/30/2019    2,158    $2,530.40
                                                     Invoice            1/7/2019   3402                                         2/6/2019     2,151    $6,261.50
                                                     Invoice            1/17/2019 3438                                          2/16/2019    2,141    $2,873.08
                                                     Invoice            1/21/2019 3454                                          2/20/2019    2,137    $1,710.00
Total - C07321 Hi Sign Brewing                                                                                                                       $24,584.82
C07517 Ninth Planet Beverage Solutions LLC
                                                     Invoice            6/28/2024   INV48109                                    8/12/2024     137     $5,592.72
                                                     Invoice            7/1/2024    INV47927             240083                 8/15/2024     134    $15,000.72
Total - C07517 Ninth Planet Beverage Solutions LLC                                                                                                   $20,593.44
C07557 Redi Pax Corp.
                                                     Invoice            6/30/2023   INV38571                                    6/30/2023     546        $38.12
Total - C07557 Redi Pax Corp.                                                                                                                            $38.12
C07772 (512) Brewing Co
                                                     Invoice            11/29/2021 INV23557                                     11/29/2021 1,124        $596.88
Total - C07772 (512) Brewing Co                                                                                                                         $596.88
C08000 Ursa Major Distilling
                                                     Invoice            10/1/2024   INV50291                                    10/1/2024      87       $315.25
Total - C08000 Ursa Major Distilling                                                                                                                    $315.25
C08351 Alba Brewing
                                                     Invoice            3/27/2024   INV45542                                    3/27/2024     275       $532.25
Total - C08351 Alba Brewing                                                                                                                             $532.25
C08633 Farm Ale Brewing Co
                                                     Invoice            6/7/2023    INV37758                                    6/7/2023      569       $547.42
Total - C08633 Farm Ale Brewing Co                                                                                                                      $547.42
C08649 Twisted X Brewing Co.
                                                     Invoice            9/26/2018 2950                                           10/26/2018 2,254     $3,660.77
                                                     Invoice            12/10/2019 INV1599               8313                    12/10/2019 1,844      $276.00
                                                     Invoice            1/27/2020 INV2299                Twisted X - 12oz KEG SESSION
                                                                                                                                 1/27/2020 1,796         $17.14
Total - C08649 Twisted X Brewing Co.                                                                                                                  $3,953.91
C09243 Packform
                                                     Invoice            5/29/2024   INV46997 - Revised                          6/28/2024     182    $16,000.00
                                                     Invoice            9/18/2024   INV49871                                    10/18/2024     70     $4,842.00
Total - C09243 Packform                                                                                                                              $20,842.00
C09512 The Bloody Buddy
                                                     Invoice            10/1/2023   INV41647                                    10/1/2023     453     $2,005.36
Total - C09512 The Bloody Buddy                                                                                                                       $2,005.36
C09866 Repairative Beverage, LLC
                                                     Invoice            6/23/2023   INV38108                                    6/23/2023     553      $800.00
                                                     Invoice            11/2/2023   INV41961             7.5oz Sleek Artwork    11/2/2023     421     $1,000.00
Total - C09866 Repairative Beverage, LLC                                                                                                              $1,800.00
C10274 QuickStop Beer & Wine
                                                     Invoice            10/1/2024   INV50290                                    10/1/2024      87       $112.60
Total - C10274 QuickStop Beer & Wine                                                                                                                    $112.60
C10422 Mother Road Beverage Co
                                                     Invoice            9/27/2024   INV50275                                    9/27/2024      91       $436.98
Total - C10422 Mother Road Beverage Co                                                                                                                  $436.98
C10534 Spaces in the City
                                                     Journal            12/4/2023   JE2754                                      12/4/2023     389       $113.01
Total - C10534 Spaces in the City                                                                                                                       $113.01
C10558 Drink LMNT
                                                     Credit Memo        9/23/2024   CM1474               8000                   9/23/2024      95       ($174.00)
                                                     Credit Memo        9/23/2024   CM1475               8000                   9/23/2024      95     ($1,275.00)
                                                     Credit Memo        9/23/2024   CM1476               8000                   9/23/2024      95     ($2,535.00)
                                                     Credit Memo        9/23/2024   CM1477               8000                   9/23/2024      95     ($3,025.00)
                                                     Credit Memo        9/23/2024   CM1478               8000                   9/23/2024      95     ($3,025.00)
                                                     Credit Memo        9/23/2024   CM1479               8000                   9/23/2024      95     ($3,025.00)
                                                     Credit Memo        9/23/2024   CM1480               8000                   9/23/2024      95     ($3,025.00)
                                                     Credit Memo        9/23/2024   CM1481               8000                   9/23/2024      95     ($3,025.00)
                                                     Credit Memo        9/23/2024   CM1482               8000                   9/23/2024      95     ($3,025.00)
                                                     Credit Memo        9/23/2024   CM1483               8000                   9/23/2024      95     ($3,025.00)
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                                                    American Canning LLC
                                           Holding Company : American Canning LLC
                                                      A/R Aging Detail
                                                  As of December 27, 2024


Customer                                      Transaction Type   Date        Document Number   P.O. No.   Due Date     Age   Open Balance
                                              Credit Memo        9/23/2024   CM1484            8000       9/23/2024     95    ($3,025.00)
                                              Invoice            9/23/2024   INV50195          9500       10/8/2024     80   $226,703.31
                                              Credit Memo        9/24/2024   CM1485            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1486            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1487            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1488            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1489            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1490            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1491            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1492            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1493            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1494            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1495            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1496            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1497            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1498            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1499            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1500            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1501            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1502            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1503            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1504            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1505            PO9000A    9/24/2024     94    ($3,825.00)
                                              Credit Memo        9/24/2024   CM1506            PO9000A    9/24/2024     94    ($2,712.00)
                                              Credit Memo        9/24/2024   CM1507            PO9000A    9/24/2024     94    ($2,550.00)
                                              Credit Memo        9/24/2024   CM1508            PO9000A    9/24/2024     94    ($2,448.00)
                                              Credit Memo        9/24/2024   CM1509            PO9000B    9/24/2024     94    ($2,550.00)
                                              Credit Memo        9/24/2024   CM1510            PO9000B    9/24/2024     94    ($2,550.00)
                                              Credit Memo        9/24/2024   CM1511            PO9000B    9/24/2024     94    ($2,550.00)
                                              Credit Memo        9/24/2024   CM1512            PO9000B    9/24/2024     94    ($2,448.00)
                                              Credit Memo        9/24/2024   CM1513            PO9000B    9/24/2024     94    ($2,448.00)
                                              Credit Memo        9/24/2024   CM1514            PO9000B    9/24/2024     94    ($2,448.00)
                                              Credit Memo        9/24/2024   CM1515            PO9000A    9/24/2024     94      ($102.00)
                                              Credit Memo        9/24/2024   CM1516            PO9000B    9/24/2024     94    ($2,282.00)
                                              Credit Memo        9/24/2024   CM1517            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1518            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1519            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1520            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1521            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1522            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1523            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1524            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1525            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1526            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1527            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1528            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1529            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1530            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1531            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1532            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1533            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1534            PO9000B    9/24/2024     94    ($1,680.00)
                                              Credit Memo        9/24/2024   CM1535            PO9000B    9/24/2024     94      ($210.00)
Total - C10558 Drink LMNT                                                                                                     $62,656.31
C10578 Environment Control
                                              Invoice            2/20/2024   INV44370                     2/20/2024    311      $145.09
Total - C10578 Environment Control                                                                                              $145.09
C10610 Noob Energy
                                              Invoice            1/15/2024   INV43613                     2/14/2024    317     $4,084.50
Total - C10610 Noob Energy                                                                                                     $4,084.50
C10675 Arch Ray Resort
                                              Invoice            12/15/2023 INV42935                      12/15/2023   378      $554.48
Total - C10675 Arch Ray Resort                                                                                                  $554.48
C11098 Oklahome Bev
                                              Invoice            4/23/2024   INV46361                     4/23/2024    248      $157.50
                                              Invoice            4/26/2024   INV46362                     4/26/2024    245      $225.00
Total - C11098 Oklahome Bev                                                                                                     $382.50
C11832 Tenth Ward Distilling Co.
                                              Journal            9/30/2024   JE3404                       9/30/2024     88     $4,930.68
Total - C11832 Tenth Ward Distilling Co.                                                                                       $4,930.68
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                                                American Canning LLC
                                       Holding Company : American Canning LLC
                                                  A/R Aging Detail
                                              As of December 27, 2024


Customer                                  Transaction Type   Date        Document Number   P.O. No.   Due Date    Age   Open Balance
C12120 cold spring beverages
                                          Journal            9/23/2024   JE3403                       9/23/2024   95       $177.20
Total - C12120 cold spring beverages                                                                                       $177.20
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                                                                    Exhibit "B"

                         Item                                                Class                       On Hand   committed   Available   Total Value
TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                  Supplies : Corrugate : Case Trays                  26150                  26150    $10,486.15
TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-1200CT                Supplies : Corrugate : Case Trays                  15829                  15829     $3,539.73
TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-140CT                 Supplies : Corrugate : Case Trays                     23                     23       $747.13
TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                   Supplies : Corrugate : Case Trays                     15                     15       $637.27
TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                  Supplies : Corrugate : Case Trays                   0.12                   0.12         $0.03
TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                Supplies : Corrugate : Case Trays                   0.08                   0.08         $0.02
Mayawell-Strawberry Ginger V2 (aTULC)                   Supplies : Cans : Printed Can : MFG (pcn)         285915                 285915    $28,591.50
Ranch Hand - Denver Ranch Water (aTULC)                 Supplies : Cans : Printed Can : MFG (pcn)         130704                 130704    $28,591.50
Ranch Hand - Denver Ranch Water (aTULC)                 Supplies : Cans : Printed Can : MFG (pcn)         155211                 155211    $28,591.50
Mayawell-Pineapple Mango V2 (aTULC)                     Supplies : Cans : Printed Can : MFG (pcn)         179718                 179718    $22,056.30
Mayawell-Pineapple Mango V2 (aTULC)                     Supplies : Cans : Printed Can : MFG (pcn)          40845                  40845    $22,056.30
Ranch Hand - Denver Chilton (aTULC)                     Supplies : Cans : Printed Can : MFG (pcn)          81690                  81690    $22,056.30
Ranch Hand - Denver Chilton (aTULC)                     Supplies : Cans : Printed Can : MFG (pcn)         138873                 138873    $22,056.30
Ranch Hand - Denver Paloma (aTULC)                      Supplies : Cans : Printed Can : MFG (pcn)           8169                   8169    $14,704.20
Ranch Hand - Denver Paloma (aTULC)                      Supplies : Cans : Printed Can : MFG (pcn)         138873                 138873    $14,704.20
Ranch Hand - Denver Pineapple Ranch Water (aTULC)       Supplies : Cans : Printed Can : MFG (pcn)         138873                 138873    $13,887.30
Country Luau - Vanilla (aTULC)                          Supplies : Cans : Printed Can : MFG (pcn)         130704                 130704    $13,070.40
Mayawell - Raspberry Cucumber (aTULC)                   Supplies : Cans : Printed Can : MFG (pcn)          89859                  89859     $8,985.90
Mayawell-Pear Lime V2 (aTULC)                           Supplies : Cans : Printed Can : MFG (pcn)          89859                  89859     $8,985.90
Mayawell-Raspberry Cucumber V2 (aTULC)                  Supplies : Cans : Printed Can : MFG (pcn)          89859                  89859     $8,985.90
Mayawell - Pear Lime (aTULC)                            Supplies : Cans : Printed Can : MFG (pcn)          73521                  73521     $7,352.10
Ranch Hand - Denver Jalapeno (aTULC)                    Supplies : Cans : Printed Can : MFG (pcn)          24507                  24507     $6,535.20
Ranch Hand - Denver Jalapeno (aTULC)                    Supplies : Cans : Printed Can : MFG (pcn)          40845                  40845     $6,535.20
Ranch Hand - Denver Margarita (aTULC)                   Supplies : Cans : Printed Can : MFG (pcn)          57183                  57183     $5,718.30
St. Elmo - Hop Water (aTULC)                            Supplies : Cans : Printed Can : MFG (pcn)          56016                  56016     $5,601.60
Mayawell - Pineapple Mango (aTULC)                      Supplies : Cans : Printed Can : MFG (pcn)          40845                  40845     $4,084.50
Drink LMNT Black Cherry Lime - Amazon Edition (aTULC)   Supplies : Cans : Printed Can : MFG (pcn)          18672                  18672     $2,240.64
Country Luau - Dirty Shirley (aTULC)                    Supplies : Cans : Printed Can : MFG (pcn)           8169                   8169       $816.90
Country Luau - Extra Dirty (aTULC)                      Supplies : Cans : Printed Can : MFG (pcn)           8169                   8169       $816.90
Mayawell - Strawberry Ginger (aTULC)                    Supplies : Cans : Printed Can : MFG (pcn)           8169                   8169       $816.90
AmCan Event Can - Ingredients Design (aTULC)            Supplies : Cans : Printed Can : MFG (pcn)           5446                   5446       $544.60
Drink LMNT Citrus Salt - Amazon Edition (aTULC)         Supplies : Cans : Printed Can : MFG (pcn)           3501                   3501       $420.12
Drink LMNT Grapefruit Salt - Amazon Edition (aTULC)     Supplies : Cans : Printed Can : MFG (pcn)            389                    389        $46.68
Drink LMNT Watermelon Salt - Amazon Edition (aTULC)     Supplies : Cans : Printed Can : MFG (pcn)            389                    389        $46.68
CAN-16OZ-STANDARD-EPOXY-BALL-16L                        Supplies : Cans : Brite Cans : Sourced (brite)    627457                 627457    $55,400.53
CAN-192OZ-STANDARD-BPANI-BALL-13L                       Supplies : Cans : Brite Cans : Sourced (brite)    156767                 156767    $28,023.80
CAN-187ML-SLIM-BPANI-BALL-23L                           Supplies : Cans : Brite Cans : Sourced (brite)    129482                 129482    $17,874.48
CAN-187ML-SLIM-BPANI-BALL-11L                           Supplies : Cans : Brite Cans : Sourced (brite)    122474                 122474    $17,146.36
CAN-12OZ-SLEEK-BPANI-BALL-16L                           Supplies : Cans : Brite Cans : Sourced (brite)    147134                 147134    $13,839.42
CAN-250ML-SLIM-BPANI-GLOBAL-BALL-18L                    Supplies : Cans : Brite Cans : Sourced (brite)     66218                  66218     $9,932.70
CAN-12OZ-SLEEK-BPANI-BALL-14L                           Supplies : Cans : Brite Cans : Sourced (brite)     70840                  70840     $6,375.60
CAN-192OZ-STANDARD-BPANI-BALL-6L                        Supplies : Cans : Brite Cans : Sourced (brite)     28008                  28008     $5,041.44
CAN-12OZ-SLEEK-BPANI-BALL-8L                            Supplies : Cans : Brite Cans : Sourced (brite)     40330                  40330     $3,629.70
CAN-750ML-CROWLER-BPANI-BALL                            Supplies : Cans : Brite Cans : Sourced (brite)      8638                   8638     $2,362.92
CAN-16OZ-STANDARD-EPOXY-BALL-8L                         Supplies : Cans : Brite Cans : Sourced (brite)     24896                  24896     $2,240.64
CAN-75OZ-SLEEK-BPANI-BALL-21L                           Supplies : Cans : Brite Cans : Sourced (brite)     10626                  10626       $956.34
CAN-250ML-SLIM-BPANI-GLOBAL-BALL-9L                     Supplies : Cans : Brite Cans : Sourced (brite)      5274                   5274       $791.10
CAN-200ML-SLIM-BPANI-BALL-22L                           Supplies : Cans : Brite Cans : Sourced (brite)      2870                   2870       $356.65
CAN-12OZ-STANDARD-BPANI-BALL-21L                        Supplies : Cans : Brite Cans : Sourced (brite)      3890                   3890       $338.66
CAN-750ML-CRW-BPANI-96PK                                Supplies : Cans : Brite Cans : Sourced (brite)        11                     11       $332.99
CAN-32OZ-CROWLER-BPANI-BALL                             Supplies : Cans : Brite Cans : Sourced (brite)       234                    234        $68.35
CAN-75OZ-SLEEK-BPANI-BALL-24L                           Supplies : Cans : Brite Cans : Sourced (brite)       446                    446        $38.16
CAN-EA-16OZ-STD-ATULC-BRITE-16L                         Supplies : Cans : Brite Cans : MFG (brite)        209282                 209282    $23,858.14
CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-14L                   Supplies : Cans : Brite Cans : MFG (brite)            13                     13     $9,065.40
CAN-PLT-16OZ-STD-ATULC-WHITEGLOSSY-14L                  Supplies : Cans : Brite Cans : MFG (brite)            12                     12     $8,368.06
CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-8L                    Supplies : Cans : Brite Cans : MFG (brite)            18                     18     $7,374.33
CAN-PLT-16OZ-STD-ATULC-WHITEGLOSSY-8L                   Supplies : Cans : Brite Cans : MFG (brite)            11                     11     $4,532.85
CAN-PLT-16OZ-STD-ATULC-BRITE-14L                        Supplies : Cans : Brite Cans : MFG (brite)             6                      6     $4,053.32
CAN-EA-16OZ-STD-ATULC-WHITEGLOSSY-16L                   Supplies : Cans : Brite Cans : MFG (brite)         27230                  27230     $3,104.22
CAN-PLT-16OZ-STD-ATULC-BRITE-8L                         Supplies : Cans : Brite Cans : MFG (brite)             3                      3     $1,191.71
CAN-EA-12OZ-STD-ATULC-BRITE-21L                         Supplies : Cans : Brite Cans : MFG (brite)          3115                   3115       $311.50
CAN-EA-12OZ-STD-ATULC-WHITEGLOSSY-21L                   Supplies : Cans : Brite Cans : MFG (brite)          1556                   1556       $155.60
PAK-6PKSTD-PINK                                         Supplies : Can Handles                               107                    107     $7,798.05
PAK-4PKSLEEK-MARIGOLD                                   Supplies : Can Handles                                61                     61     $5,970.80
PAK-4PKSLEEK-TROPORNG                                   Supplies : Can Handles                                60                     60     $5,684.35
PAK-4PKSLEEK-ULTBLUE                                    Supplies : Can Handles                                46                     46     $5,571.89
PAK-4PKSLIM-BLACK                                       Supplies : Can Handles                                56                     56     $4,865.71
PAK-6PKSLEEK-RED                                        Supplies : Can Handles                                56                     56     $4,775.79
PAK-4PKSLEEK-YELLOW                                     Supplies : Can Handles                                42                     42     $4,066.36
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                     Item                                        Class   On Hand   committed   Available   Total Value
PAK-4PKSLIM-GRAPHITE                          Supplies : Can Handles          42                     42      $3,979.50
PAK-6PKSTD-EMRLDGRN                           Supplies : Can Handles          41                     41      $2,883.49
PAK-4PKSLEEK-SPRNGGRN                         Supplies : Can Handles          25                     25      $2,495.04
PAK-6PKSTD-TROPGRN                            Supplies : Can Handles          27                     27      $2,011.80
PAK-6PKSTD-GOLD                               Supplies : Can Handles          25                     25      $1,796.46
PAK-4PKSLEEK-TROPGRN                          Supplies : Can Handles          17                     17      $1,645.91
PAK-3PKCRW-BLACK                              Supplies : Can Handles          27                     27      $1,605.55
PAK-6PKSTD-DARKGRN                            Supplies : Can Handles          18                     18      $1,341.21
PAK-6PKSTD-IRIS                               Supplies : Can Handles          18                     18      $1,293.45
PAK-4PKSTD-RED                                Supplies : Can Handles          14                     14      $1,220.14
PAK-6PKSTD-STLBLUE                            Supplies : Can Handles          16                     16      $1,192.18
PAK-6PKSTD-CREAM                              Supplies : Can Handles          14                     14      $1,043.16
PAK-4PKSTD-BURGUNDY                           Supplies : Can Handles          11                     11        $982.10
PAK-6PKSTD-ROYLBLUE                           Supplies : Can Handles          12                     12        $894.14
PAK-6PKSLEEK-ULTBLUE                          Supplies : Can Handles          13                     13        $880.10
PAK-4PKSLEEK-TROPLIME                         Supplies : Can Handles           8                      8        $774.54
PAK-4PKSLEEK-DARKPINK                         Supplies : Can Handles           7                      7        $677.73
PAK-4PKSTD-SUNSTRED                           Supplies : Can Handles           7                      7        $610.07
PAK-4PKSLIM-WHITE                             Supplies : Can Handles           6                      6        $540.12
PAK-4PKSTD-MARIGOLD                           Supplies : Can Handles           6                      6        $522.92
PAK-4PKSLEEK-WHITE                            Supplies : Can Handles           4                      4        $387.27
PAK-6PKSTD-RED                                Supplies : Can Handles           5                      5        $372.56
PAK-4PKSLIM-RED                               Supplies : Can Handles           4                      4        $358.92
PAK-6PKSTD-BERRYRED                           Supplies : Can Handles           4                      4        $292.83
PAK-6PKSTD-TROPORNG                           Supplies : Can Handles           3                      3        $218.79
PAK-4PKSLEEK-BLACK                            Supplies : Can Handles           1                      1         $96.82
PAK-6PKSTD-SPRNGGRN                           Supplies : Can Handles           1                      1         $71.86
PAK-6PKSTD-AQUA                               Supplies : Can Handles           1                      1         $69.16
PAK-6PKSTD-POWDBLUE                           Supplies : Can Handles          10                     10          $1.40
END-202-CDL-10ST-GLD-SLVR-BALL-BPANI-600      Supplies : Can Ends           1412                   1412     $22,779.48
END-202-CDL-BLANK-SLVR-SLVR-BALL-BPANI-600    Supplies : Can Ends           1130                   1130     $17,492.40
END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580    Supplies : Can Ends            698                    698      $8,096.80
END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-575    Supplies : Can Ends            222                    222      $5,272.05
END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-552    Supplies : Can Ends            220                    220      $4,966.14
END-200-CDLW-BLANK-SLVR-SLVR-BALL-BPANI-552   Supplies : Can Ends            210                    210      $4,920.28
END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552      Supplies : Can Ends             17                     17        $271.55
END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552    Supplies : Can Ends             12                     12        $181.23
END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384     Supplies : Can Ends              3                      3        $105.49
END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552     Supplies : Can Ends              3                      3         $45.24

TOTAL                                                                                                      $674,197.95
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 Fill in this information to identify the case:
 Debtor name          American Canning LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
                                                           subject to a lien

          Creditor's mailing address
                                                           Describe the lien


                                                           Is the creditor an insider or related party?
                                                                No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                         $0.00


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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 Fill in this information to identify the case:
 Debtor              American Canning LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        American Canning LLC                                                     Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $12,600.00
                                                                   Check all that apply.
1220 Spirits                                                           Contingent
4350 Semple Ave.                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
St. Louis                                MO       63120            Business Debt

Date or dates debt was incurred         various                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




     3.2    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $360.97
                                                                   Check all that apply.
24 Hour, Ltd.                                                          Contingent
8911 Directors Row                                                     Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Dallas                                   TX       75247            Business Debt

Date or dates debt was incurred         various                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




     3.3    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $50,581.00
                                                                   Check all that apply.
Altstadt Brewery                                                       Contingent
6120 E US Hwy 290                                                      Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Fredericksburg                           TX       78624            Business Debt

Date or dates debt was incurred         various                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.4     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,740.00
                                                                Check all that apply.
Aluminati, Inc.                                                     Contingent
2440 Railroad St.                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Corona                                 CA       92878           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $280.00
                                                                Check all that apply.
Alvarado Street Brewery                                             Contingent
1315 Dayton St, Ste E                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Salinas                                CA       93901           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,837.50
                                                                Check all that apply.
Arendes, Green, Richtermeyer & Stahl                                Contingent
904 Retama St.                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78704           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $800.00
                                                                Check all that apply.
AT&T                                                                Contingent
Bankruptcy Dept.                                                    Unliquidated
                                                                    Disputed
PO Box 769
                                                                Basis for the claim:
Arlington                              TX       76004           Internet / phone

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $34,482.00
                                                                Check all that apply.
Austin Beerworks                                                    Contingent
909 Linden St.                                                      Unliquidated
                                                                    Disputed
Unit 1
                                                                Basis for the claim:
Austin                                 TX       78702           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $129.68
                                                                Check all that apply.
Automation Designs, Inc.                                            Contingent
P.O. Box 1641                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Marcos                             TX       78667           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $498,837.34
                                                                Check all that apply.
Ball Corporation                                                    Contingent
9300 W. 108th CircleBroomfield, CO 8                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Broomfield                             CO       80021           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       American Canning LLC                                                  Case number (if known)

 Part 2:      Additional Page
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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.11     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $32,308.18
                                                               Check all that apply.
Banc of America Leaseing & Capital                                 Contingent
P.O. Box 405874                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA      30384           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




  3.12     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,960.00
                                                               Check all that apply.
Bar 2 Table                                                        Contingent
201 Morris Street                                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Toldeo                                 OH      43604           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




  3.13     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,124.00
                                                               Check all that apply.
Belching Beaver Brewery                                            Contingent
1334 Rocky Point Drive                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Oceanside                              CA      92056           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $135.00
                                                                Check all that apply.
Benjamin Mills                                                      Contingent
1946 North Birch Avenue                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fayetteville                           AR       72703           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,749.00
                                                                Check all that apply.
Berlin Packaging                                                    Contingent
1645 Tchoupitoulas St.                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
New Orleans                            LA       70130           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $10,230.00
                                                                Check all that apply.
Big Country Foods dba Willards Brewery                              Contingent
1703 La Costa Meadows Dr.                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Marcos                             CA       92078           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $135.00
                                                                Check all that apply.
Bishop Cider Co.                                                    Contingent
663 North Manus Drive, Suite 190                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75224           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $415.00
                                                                Check all that apply.
Blackeye Beverage                                                   Contingent
705 Vandalia Street                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
St. Paul                               MN       55114           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,909.00
                                                                Check all that apply.
Brewer Family Provisions dba Forth Disti                            Contingent
840 SE Woodland Blvd, STE 185                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Bend                                   OR       97702           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $1.00
                                                                Check all that apply.
Canworks, Inc.                                                      Contingent
800 Interchange Blvd.                                               Unliquidated
                                                                    Disputed
Suite 106
                                                                Basis for the claim:
Austin                                 TX       78721           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $243.50
                                                                Check all that apply.
CH Robinson                                                         Contingent
P.O. Box 9121                                                       Unliquidated
                                                                    Disputed
Minneapolis, MN 55480
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $16,840.73
                                                                Check all that apply.
Cintas Corp                                                         Contingent
2525 Ridgepoint Drive                                               Unliquidated
                                                                    Disputed
Suite 300
                                                                Basis for the claim:
Austin                                 TX       78754           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $36,519.00
                                                                Check all that apply.
City of Austin                                                      Contingent
Dba Austin Energy                                                   Unliquidated
                                                                    Disputed
721 Barton Springs Rd.
                                                                Basis for the claim:
Austin                                 TX       78704           Utility services

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $1.00
                                                                Check all that apply.
Constellation Brands Inc.                                           Contingent
235 Bloomfield Rd.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Canandaigua                            NY       14424           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $13,036.00
                                                                Check all that apply.
Country Luau Spirits LLC                                            Contingent
1117 Altum Street                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78721           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $7,618.00
                                                                Check all that apply.
Creek Leaf Wellness dba Easy Hemp Co.                               Contingent
114 14th St. S.                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Birmingham                             AL       35233           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $145.00
                                                                Check all that apply.
Curious Elixirs                                                     Contingent
139 Folly Mill Road                                                 Unliquidated
                                                                    Disputed
Seabrook, NH 3874
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,503.41
                                                                Check all that apply.
De Lage Landen Financial Services, Inc.                             Contingent
P.O. Box 41602                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19101-1602      Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $25,068.00
                                                                Check all that apply.
DeadBeach Brewery                                                   Contingent
3200 Durazno Ave                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
El Paso                                TX       79905           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $500,000.00
                                                                Check all that apply.
Diane White                                                         Contingent
10040 East Happy Valley Rd                                          Unliquidated
                                                                    Disputed
Unit #200
                                                                Basis for the claim:
Scottsdale                             AZ       85255           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.31     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $12,000.00
                                                               Check all that apply.
Distant Brewing                                                    Contingent
568 Old Mammoth Road                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Mammoth Lakes                          CA      93546           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




  3.32     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $186,653.00
                                                               Check all that apply.
Drink LMNT                                                         Contingent
6000 Condor Dr.                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Moorpark                               CA      93021           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




  3.33     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $435.00
                                                               Check all that apply.
Drink New Brew                                                     Contingent
1920 Hillhurst Ave.#512                                            Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Los Angeles                            CA      90027           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.34     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $28,500.00
                                                               Check all that apply.
DWS Printing Associates                                            Contingent
1011 Bryson Walk                                                   Unliquidated
                                                                   Disputed
Bryson City, NC28713
                                                               Basis for the claim:
                                                               Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




  3.35     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,498.00
                                                               Check all that apply.
Earths Brew                                                        Contingent
14980 Limestone School Rd                                          Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Leesburg                               VA      20176           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




  3.36     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,120.00
                                                               Check all that apply.
Faith Springs, LLC dba H2forLife                                   Contingent
24 Clear Lane                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Blue Ridge                             GA      30513           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,440.00
                                                                Check all that apply.
Fast Track Packaging Inc.                                           Contingent
935A Southgate Drive, Unit 2                                        Unliquidated
                                                                    Disputed
Guelph, ON N1L 0B9
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,113.00
                                                                Check all that apply.
First Citizens Bank                                                 Contingent
21146 Network Place                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60673-1211      Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $405.00
                                                                Check all that apply.
Gamer Packaging                                                     Contingent
330 2nd Ave S. #895                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Minneapolis                            MN       55401           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $8,051.42
                                                                Check all that apply.
Georgia-Pacific                                                     Contingent
133 Peachtree St. NE                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Atlanta                                GA       30303           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $82,750.90
                                                                Check all that apply.
GlobalTranz Enterprises, Inc.                                       Contingent
P.O. Box 203285                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75320           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,160.00
                                                                Check all that apply.
Grace Ridge Brewing                                                 Contingent
3815 W Valley Hwy N.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Auburn                                 WA       98001           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       American Canning LLC                                                   Case number (if known)

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $18,328.69
                                                                Check all that apply.
Green Bay Packaging                                                 Contingent
5901 Campus Drive                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76140           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $404.00
                                                                Check all that apply.
Green Bench Brewing Company                                         Contingent
1133 Baum Avenue North                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Saint Petersburg                       FL       33705           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.45     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $8,175.00
                                                                Check all that apply.
Huss Brewing Co.                                                    Contingent
1520 West Mineral Road, #102                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tempe                                  AZ       85283           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                 Amount of claim

  3.46       Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:          $1,500,000.00
                                                                  Check all that apply.
Ian Willis                                                            Contingent
P.O. BOX 5664                                                         Unliquidated
                                                                      Disputed

                                                                  Basis for the claim:
Snowmass Village                         CO       81615           Business Debt

Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                       No
Last 4 digits of account number                                        Yes




  3.47       Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,320.00
                                                                  Check all that apply.
Independence Brewing Co.                                              Contingent
3913 Todd Ln. #607                                                    Unliquidated
                                                                      Disputed

                                                                  Basis for the claim:
Austin                                   TX       78744           Business Debt

Date or dates debt was incurred        various                    Is the claim subject to offset?
                                                                       No
Last 4 digits of account number                                        Yes




  3.48       Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,960.00
                                                                  Check all that apply.
Innovative Separations NB, LLC                                        Contingent
1 Hawthorne Street#24a                                                Unliquidated
                                                                      Disputed
San Francisco, CA94105
                                                                  Basis for the claim:
                                                                  Business Debt

Date or dates debt was incurred        various                    Is the claim subject to offset?
                                                                       No
Last 4 digits of account number                                        Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,461.75
                                                                Check all that apply.
Jani-King                                                           Contingent
2523 South Lakeline Blvd.                                           Unliquidated
                                                                    Disputed
Cedar Park, TX78613
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $43.12
                                                                Check all that apply.
Knight Office Solutions                                             Contingent
2525 Brockton Dr.#290                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78758           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $135.00
                                                                Check all that apply.
Lakewood Brewing Company                                            Contingent
2302 Executive Dr.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Garland                                TX       75041           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,781.48
                                                                Check all that apply.
Leaf Commercial Capital                                             Contingent
2005 Market Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19103           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,560.00
                                                                Check all that apply.
Left Coast Brewing Co.                                              Contingent
1313 Calle Avenzado                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Clemente                           CA       92673           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,916.25
                                                                Check all that apply.
Linde Gas & Equipment                                               Contingent
2801 Montopolis Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78741           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                Amount of claim

  3.55      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $102,249.76
                                                                 Check all that apply.
LIT Industrial, L.P.                                                 Contingent
c/o Travis W. McNellie                                               Unliquidated
                                                                     Disputed
Jackson Walker, LLP
777 Main Street, Suite 2100                                      Basis for the claim:
Fort Worth                              TX       76102           Breach of Lease.

Date or dates debt was incurred       various                    Is the claim subject to offset?
                                                                      No
Last 4 digits of account number                                       Yes


  3.56      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $19,737.00
                                                                 Check all that apply.
Live Oak Brewing Co.                                                 Contingent
1615 Crozier Lane                                                    Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
Del Valle                               TX       78617           Business Debt

Date or dates debt was incurred       various                    Is the claim subject to offset?
                                                                      No
Last 4 digits of account number                                       Yes




  3.57      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,655.00
                                                                 Check all that apply.
Lone Star Hazmat Response, LLC                                       Contingent
115 W 5th Street                                                     Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
Tyler                                   TX       75701           Business Debt

Date or dates debt was incurred       various                    Is the claim subject to offset?
                                                                      No
Last 4 digits of account number                                       Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                Amount of claim

  3.58      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $415.00
                                                                 Check all that apply.
Lumberyard Brewing Co.                                               Contingent
5 S. San Francisco St.                                               Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
Flagstaff                               AZ       86001           Business Debt

Date or dates debt was incurred       various                    Is the claim subject to offset?
                                                                      No
Last 4 digits of account number                                       Yes




  3.59      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $749.00
                                                                 Check all that apply.
Marco Reyna                                                          Contingent
16016 New Independence Parkway                                       Unliquidated
                                                                     Disputed
Ste. 100
Winter Garden, FL34787                                           Basis for the claim:
                                                                 Business Debt

Date or dates debt was incurred       various                    Is the claim subject to offset?
                                                                      No
Last 4 digits of account number                                       Yes




  3.60      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $19,926.00
                                                                 Check all that apply.
Mayawell                                                             Contingent
18913 Philip Way                                                     Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
New Caney                               TX       77357           Business Debt

Date or dates debt was incurred       various                    Is the claim subject to offset?
                                                                      No
Last 4 digits of account number                                       Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.61     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,126.00
                                                                Check all that apply.
Meanwhile Brewing Co.                                               Contingent
1517 Weyford Dr.                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78757           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.62     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,184.00
                                                                Check all that apply.
Meridian Hive Meadery                                               Contingent
8120 Exchange Dr.                                                   Unliquidated
                                                                    Disputed
Suite 400
                                                                Basis for the claim:
Austin                                 TX       78754           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.63     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $290.00
                                                                Check all that apply.
Meta Brand Corp.                                                    Contingent
25 Progress St.                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Edison                                 NJ       08820           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.64     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,560.00
                                                                Check all that apply.
Miller Marketing & Distribution (Una Fam                            Contingent
2301 Metropolitan Ave.                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kansas City                            KS       66106           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.65     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $513.00
                                                                Check all that apply.
Nicol Scales & Measurement                                          Contingent
P.O. Box 222288                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75222-2288      Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.66     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $636.00
                                                                Check all that apply.
Oak Highlands Brewery                                               Contingent
10484 Brockwood Rd.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75238           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.67     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $969.00
                                                                Check all that apply.
OKC Soda Co.                                                        Contingent
6516 Westrock Drive                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Oklahoma City                          OK       73132           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.68     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $750.00
                                                               Check all that apply.
OneDigital Topco LLC                                               Contingent
200 Galleria Parkway                                               Unliquidated
                                                                   Disputed
Suite 1950
                                                               Basis for the claim:
Atlanta                                GA      30339           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.69     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $11,070.00
                                                               Check all that apply.
Packform                                                           Contingent
25852 McBean Pkwy., #714                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Valencia                               CA      91335           Business Debt

Date or dates debt was incurred      various                   Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




  3.70     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $199,726.86
                                                               Check all that apply.
PakTech OPI                                                        Contingent
70 S. Bertelsen Rd.                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Eugene                                 OR      97402           Business Debt

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,895.50
                                                                Check all that apply.
Paq-Source Austin, LLC                                              Contingent
P.O. Box 81882                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78708           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $570.00
                                                                Check all that apply.
Pinthouse Pizza, LLC                                                Contingent
4279 Burnet Rd.                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78756           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.73     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,017.00
                                                                Check all that apply.
Point Remove Wine & Brewing Co.                                     Contingent
102 S. Crestliner                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Morrliton                              AR       72110           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.74     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,665.96
                                                                Check all that apply.
PSSI Pest Solutions                                                 Contingent
P.O. Box 645026                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75264-5026      Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.75     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $26,376.00
                                                                Check all that apply.
Ranch Hand                                                          Contingent
12501 Pauls Valley Rd.                                              Unliquidated
                                                                    Disputed
Unit D
                                                                Basis for the claim:
Austin                                 TX       78737           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.76     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,224.00
                                                                Check all that apply.
Ranch House Brewery                                                 Contingent
6565 N Toltec Buttes Rd.                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Eloy                                   AZ       85131           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.77     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $918.00
                                                                Check all that apply.
Ranger Creek Brewing & Distilling                                   Contingent
4834 Whirlwind Dr.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78217           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.78     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,469.00
                                                                Check all that apply.
Real Ale Brewing Company                                            Contingent
6109 Mountain Villa Dr.                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78731           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.79     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,512.00
                                                                Check all that apply.
Rockaway Drinks LLC                                                 Contingent
238 Beach 132nd Street                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Rockaway Park                          NY       11694           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.80     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,584.00
                                                                Check all that apply.
Saints and Sinners Brewing Company LLC                              Contingent
327 E Friar Tuck Ln.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77024           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $21,538.54
                                                                Check all that apply.
Salesforce                                                          Contingent
P.O. Box 203141                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75320-3141      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $145.00
                                                                Check all that apply.
San Juan Seltzer                                                    Contingent
3901 1st Avenue South                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Seattle                                WA       98134           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,142.00
                                                                Check all that apply.
Santa Monica Mountains Farmstead                                    Contingent
23219 N. 23rd Place                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Phoenix                                AZ       85024           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,476.00
                                                                Check all that apply.
Sherwin Williams                                                    Contingent
101 Prospect Ave NW                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cleveland                              OH       44115           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,522.00
                                                                Check all that apply.
St. Ambrose Cellars                                                 Contingent
971 South Pioneer Road                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Beulah                                 MI       49617           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,604.00
                                                                Check all that apply.
St. Elmo Brewing Co.                                                Contingent
440 East St Elmo Rd, STE G-2                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78745           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 28
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $219.00
                                                                Check all that apply.
Stesti Brewing Company                                              Contingent
P.O. Box 31                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lovelady                               TX       75851           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $145.00
                                                                Check all that apply.
Stormalong Cider                                                    Contingent
320 Industrial Rd.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Leominster                             MA       01453           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.89     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $119,879.62
                                                                Check all that apply.
Sunil Surana                                                        Contingent
8001 Edmondson Bend                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78744           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Sunil Surana
8001 Edmondson Bend
Austin, TX 78744




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 29
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.90     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $152,056.42
                                                                Check all that apply.
Synergi Partners                                                    Contingent
151 West Evans Street                                               Unliquidated
                                                                    Disputed
Florence,SC 29501
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.91     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $145.00
                                                                Check all that apply.
Talkhouse                                                           Contingent
800 Interchange Blvd.                                               Unliquidated
                                                                    Disputed
Ste. 106
                                                                Basis for the claim:
Austin                                 TX       78721           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.92     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $314,682.79
                                                                Check all that apply.
TC Austin Industrial Development, Inc.                              Contingent
500 West 2nd Street                                                 Unliquidated
                                                                    Disputed
Suite 1550
                                                                Basis for the claim:
Austin                                 TX       78701           Business Debt / Breach of Lease

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 30
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Debtor        American Canning LLC                                                  Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.93     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,469.00
                                                                Check all that apply.
Texas Beer Co.                                                      Contingent
P.O. Box 201                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Taylor                                 TX       76574           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.94     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,127.11
                                                                Check all that apply.
Texas Gas Service                                                   Contingent
610 E. St. Elmo Rd                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78745           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.95     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:          $3,491,913.00
                                                                Check all that apply.
THE ESTATE OF DAVID P. WILLIS, JR.                                  Contingent
c/o Brian Willis                                                    Unliquidated
                                                                    Disputed
175 Pratts Dam Road
                                                                Basis for the claim:
Coatesville                            PA       19320           Business Debt / Investor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 31
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.96     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,345.00
                                                                Check all that apply.
Tipsy Spritzers                                                     Contingent
845 Middle Tennessee Blvd.                                          Unliquidated
                                                                    Disputed
Murfreesboro, TN37129
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.97     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:         $55,269,057.00
                                                                Check all that apply.
Toyo Seikan Co., LTD                                                Contingent
2-18-1 Higashi Gotanda                                              Unliquidated
                                                                    Disputed
Shinagawa-Ku
Tokyo, Japan 141-9640                                           Basis for the claim:
                                                                Repossession Deficiency / Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.98     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $83,064.52
                                                                Check all that apply.
Toyota Industries Commercial Finance, In                            Contingent
P.O. Box 660926                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75266           Business Debt

Date or dates debt was incurred      2021-2023                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 32
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.99     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,514.13
                                                                Check all that apply.
Trusted Tech Team                                                   Contingent
5171 California Ave.                                                Unliquidated
                                                                    Disputed
Suite 250
                                                                Basis for the claim:
Irvine                                 CA       92617           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Trusted Tech Team
5171 California Ave.
Suite 250
Irvine, CA 92617



  3.100    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $7,650.00
                                                                Check all that apply.
Tweaker Energy Drink                                                Contingent
13757 N. Stemmons Fwy.                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Farmers Branch                         TX       75234           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.101    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,560.00
                                                                Check all that apply.
Uinta Brewing Company                                               Contingent
269 E 1200 S.                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Bountiful                              UT       84010           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 33
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.102    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,627.92
                                                                Check all that apply.
United Rentals                                                      Contingent
P.O. Box 840514                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284-0514      Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.103    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $19,016.61
                                                                Check all that apply.
UPS                                                                 Contingent
P.O. Box 650690                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75265           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.104    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $199.72
                                                                Check all that apply.
Videojet Technologies, Inc.                                         Contingent
12113 Collection Center Dr.                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60693           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 34
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.105    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,471.38
                                                                Check all that apply.
Waste Management                                                    Contingent
P.O. Box 660345                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75266-0345      Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.106    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $135.00
                                                                Check all that apply.
Whalers Brewing Company                                             Contingent
1174 Kingstown Road                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
South Kingstown                        RI       02879           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.107    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,560.00
                                                                Check all that apply.
Wild Brewing Co.                                                    Contingent
601 7th Avenue                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Altoona                                PA       16602           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 35
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Debtor       American Canning LLC                                                   Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.108    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $1.00
                                                                Check all that apply.
Wildpack Beverage                                                   Contingent
4007 Commercial Center Dr.#700                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78744           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.109    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,656.00
                                                                Check all that apply.
Young & Pratt, Inc.                                                 Contingent
12822 Old Kimbro Rd.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Manor                                  TX       78653-4519      Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




  3.110    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,132.00
                                                                Check all that apply.
Zilker Brewing Company                                              Contingent
1701 E 6th St.                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78702           Business Debt

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 36
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Debtor      American Canning LLC                                              Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a. Total claims from Part 1                                                              5a.                     $0.00

5b. Total claims from Part 2                                                              5b. +         $63,083,643.76


5c. Total of Parts 1 and 2                                                                5c.           $63,083,643.76
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                 page 37
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 Fill in this information to identify the case:
 Debtor name         American Canning LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                  Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Lease on (4) forklifts                          Toyota Industries Commercial Finance, In
          or lease is for and the       Contract to be REJECTED                         P.O. Box 660926
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Dallas                              TX            75266
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify the case:
 Debtor name         American Canning LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.   Does the debtor have any codebtors?
         No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
         Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
     schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
     owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
     separately in Column 2.

        Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
      Name                            Mailing address                                        Name                            that apply:




Official Form 206H                                           Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name American Canning LLC

 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF TEXAS

 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $687,379.19
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                     $687,379.19
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F.........................................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              + $63,083,643.76
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................$63,083,643.76




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         American Canning LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 12/31/2024                       X /s/ David Racino
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              David Racino
                                                              Printed name
                                                              Manager
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        American Canning LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                              Check if this is an
 (if known)
                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                              04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,          Sources of revenue                            Gross revenue
which may be a calendar year                                                  Check all that apply.                         (before deductions
                                                                                                                            and exclusions


From the beginning of the                                                         Operating a business
                                From    01/01/2024      to   Filing date
fiscal year to filing date:                                                       Other                                       $16,905,178.00
                                       MM / DD / YYYY

                                                                                  Operating a business
For prior year:                 From    01/01/2023      to     12/31/2023
                                       MM / DD / YYYY        MM / DD / YYYY       Other                                       $17,439,122.00

                                                                                  Operating a business
For the year before that:       From    01/01/2022      to     12/31/2022
                                       MM / DD / YYYY        MM / DD / YYYY       Other                                       $21,611,009.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

                                                                               Description of sources of revenue              Gross revenue
                                                                                                                              from each source
                                                                                                                              (before deductions
                                                                                                                              and exclusions
From the beginning of the
                                From    01/01/2024      to   Filing date       Sales of Debtors assets during wind down
                                                                                                                      $2,168,978.00
                                                                                                                        process.
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    01/01/2023      to     12/31/2023
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    01/01/2022      to     12/31/2022
                                       MM / DD / YYYY        MM / DD / YYYY




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Debtor         American Canning LLC                                                    Case number (if known)
               Name


 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.1. Dwyer Murphy Calvert, LLP                                                       $8,829.09               Secured debt
      Creditor's name
                                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
                                                                                                             Other
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.2. BVWD, LLP                                                                       $9,712.50               Secured debt
      Creditor's name
                                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
                                                                                                             Other
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.3. UPS                                                                             $9,737.00               Secured debt
      Creditor's name
                                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
                                                                                                             Other
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.4. Principal Life Insurance                                                       $10,512.47               Secured debt
      Creditor's name
                                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
                                                                                                             Other
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.5. Toyota Industries Commercial Finance, In                                       $12,288.26               Secured debt
      Creditor's name
      P.O. Box 660926                                                                                        Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Dallas                          TX      75266                                                          Other Lease payments
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.6. Complete TransPack Solutions, LLC                                              $12,917.05               Secured debt
      Creditor's name
                                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
                                                                                                             Other
      City                            State   ZIP Code



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Debtor         American Canning LLC                                                  Case number (if known)
               Name

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
 3.7. Sunil Surana                                                                $14,415.00              Secured debt
      Creditor's name
                                                                                                          Unsecured loan repayments
      Street                                                                                              Suppliers or vendors
                                                                                                          Services
                                                                                                          Other Accounting wind up
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
 3.8. Ramp                                                                        $25,444.14              Secured debt
      Creditor's name
                                                                                                          Unsecured loan repayments
      Street                                                                                              Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
 3.9. City of Austin - Utilities                                                  $40,448.57              Secured debt
      Creditor's name
                                                                                                          Unsecured loan repayments
      Street                                                                                              Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.10. Guideline
                                                                                                          Secured debt
      Creditor's name
                                                                                                          Unsecured loan repayments
      Street                                                                                              Suppliers or vendors
                                                                                                          Services
                                                                                                          Other 401(k) contributions
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.11. UnitedHealthcare                                                            $75,328.24              Secured debt
      Creditor's name
                                                                                                          Unsecured loan repayments
      Street                                                                                              Suppliers or vendors
                                                                                                          Services
                                                                                                          Other Health insurance for employees
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.12. Park 183 Phase 3, LLC                                                      $240,410.00              Secured debt
      Creditor's name
                                                                                                          Unsecured loan repayments
      Street                                                                                              Suppliers or vendors
                                                                                                          Services
                                                                                                          Other Rent - liquidated CD securing LOC
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.13. Ball Corporation                                                           $128,069.00              Secured debt
      Creditor's name
      9300 W. 108th CircleBroomfield, CO 8                                                                Unsecured loan repayments
      Street                                                                                              Suppliers or vendors
                                                                                                          Services
      Broomfield                     CO      80021                                                        Other Shipping of last orders
      City                           State   ZIP Code




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Debtor         American Canning LLC                                                         Case number (if known)
               Name

      Creditor's name and address                                 Dates            Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply
3.14. Plains Capital                                                                    $371,917.20                 Secured debt
      Creditor's name
                                                                                                                    Unsecured loan repayments
      Street                                                                                                        Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other
      City                              State   ZIP Code

      Creditor's name and address                                 Dates            Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply
3.15. GlobalTranz                                                                       $125,979.00                 Secured debt
      Creditor's name
                                                                                                                    Unsecured loan repayments
      Street                                                                                                        Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Shipping
      City                              State   ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
 4.1. Ian Willis                                                  12/29/2023            $123,500.00            Repayment of loan to company
      Insider's name                                              1/2/2024
      P.O. BOX 5664                                               1/29/2024
      Street
                                                                  3/4/3034
                                                                  3/29/2024
      Snowmass Village                  CO      81615             4/29/2024
      City                              State   ZIP Code
                                                                  5/31/2024
      Relationship to debtor                                      6/28/2024
                                                                  7/26/2024
      Shareholder
                                                                  8/30/2024




      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
 4.2. The Estate of David P. Willis, Jr.                          1/29/2024             $173,698.72            Repayment of loan(s) to Debtor.
      Insider's name                                              2/29/2024
      c/o Brian Willis                                            3/29/2024
      Street
      175 Pratts Dam Road                                         4/29/2024
                                                                  5/29/2024
      Coatesville                       PA      19320             6/28/2024
      City                              State   ZIP Code
                                                                  7/26/2024
      Relationship to debtor                                      8/30/2024
      Shareholder at time of death (May? 2023)




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Debtor         American Canning LLC                                                          Case number (if known)
               Name

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

      Creditor's name and address                                  Description of the property                      Date              Value of property
5.1. Toyo Seikan Co., LTD                                          To the best of Debtors knowledge, all 12/3/2024                     $15,000,000.00
      Creditor's name                                              equipment used to make the
      2-18-1 Higashi Gotanda                                       aluminun cans which Debtor sold as
      Street
      Shinagawa-Ku                                                 a part of its business. Debtor has
                                                                   requested an inventory and
      Tokyo, Japan                               141-9640          accounting from this sale by Toyo
      City                              State    ZIP Code          Sieken, but has not been provided
                                                                   with this information yet.

                                                                   Equipment under the name of
                                                                   AMCAN MFG LLC, the wholly owned
                                                                   subsidiary.

                                                                   Value of assets sold is estimated
                                                                   based on the best guess of Debtor.
6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:        Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None




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Debtor          American Canning LLC                                                      Case number (if known)
                Name


 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?           If not money, describe any property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Douglas J. Powell, P.C.                                                                                12/16/2024             $25,338.00

         Address

         P. O. Box 340686
         Street


         Lakeway                     TX      78734
         City                        State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



         Who was paid or who received the transfer?           If not money, describe any property             Dates               Total amount
                                                              transferred                                                         or value
 11.2. Dwyer Murphy Calvert                                   Over the last year to year and a half.                                 $158,725.00

         Address


         Street




         City                        State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?




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Debtor          American Canning LLC                                                  Case number (if known)
                Name

         Who was paid or who received the transfer?         If not money, describe any property          Dates   Total amount
                                                            transferred                                          or value
 11.3. Holland Knight                                       Over the last year                                    $130,000.00

         Address


         Street




         City                       State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



         Who was paid or who received the transfer?         If not money, describe any property          Dates   Total amount
                                                            transferred                                          or value
 11.4. Gordian Group                                        Investment advisor                                    $125,000.00

         Address


         Street




         City                       State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



         Who was paid or who received the transfer?         If not money, describe any property          Dates   Total amount
                                                            transferred                                          or value
 11.5. Westlake Securites                                   Investment advisors                                   $117,000.00

         Address


         Street




         City                       State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?




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Debtor          American Canning LLC                                                       Case number (if known)
                Name

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.1. Various businesses and individuals                      As it became clear that the business
                                                               could not go forward, Debtor began
         Address                                               liquidating its assets.

         Street                                                Exhbit "C" has been attached to this
                                                               Statement of Financial Affairs
                                                               detailing the numerous sales made
         City                         State   ZIP Code         by the Debtor leading up to this
                                                               bankrtupcy proceeding.
         Relationship to debtor
                                                               Further information is available upon
                                                               request.

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply

         Address                                                                                    Dates of occupancy

 14.1. 8219 Burleson Road. Suite 300                                                                From      mid-2019             To      2-2022
         Street


         Austin                                               TX        78744
         City                                                 State     ZIP Code




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Debtor        American Canning LLC                                                          Case number (if known)
              Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:

 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None




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Debtor       American Canning LLC                                                        Case number (if known)
             Name


  Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

Owner's name and address                       Location of the property                      Description of the property        Value

Ball Corporation                               Debtor's former leasehold                     PKG-PALLET-BALL-                       $132,679.00
Name                                                                                         CIRCULAR
9300 W. 108th CircleBroomfield, CO 8                                                         688$70.00 ea.
Street                                                                                       $48,160.00

                                                                                             PKG-TOPFRM-BALL-
                                                                                             CIRCULAR834
Broomfield               CO      80021
City                     State   ZIP Code                                                    $32.00 ea.
                                                                                             $26,688.00

                                                                                             PKG-CANTIER-BALL-
                                                                                             CIRCULAR14,927
                                                                                             $3.00 ea.
                                                                                             $44,781.00

                                                                                             PKG-ENDPALLET-BALL-
                                                                                             CIRCULAR90
                                                                                             $145.00 ea.
                                                                                             $13,050.00




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Debtor           American Canning LLC                                                       Case number (if known)
                 Name


 Part 12:          Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

          No
          Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

          No
          Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

          No
          Yes. Provide details below.

 Part 13:          Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

          None

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.1. AMCAN MFG, LLC                                    Aluminum beverage can mfg                   Do not include Social Security number or ITIN.
         Name
                                                                                                     EIN: 8     7 – 3        5    6    1     7     8   2
         Street
                                                                                                     Dates business existed

                                                                                                     From                        To
         City                        State   ZIP Code

26. Books, records, and financial statements

     26a.       List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                    None

                   Name and address                                                                  Dates of service

      26a.1. BVWD, LLP                                                                               From        2021            To   Present
                   Name
                   8117 Preston Road
                   Street


                   Dallas                                       TX          75225
                   City                                         State       ZIP Code




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Debtor       American Canning LLC                                                           Case number (if known)
             Name

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

               Name and address

       26d.1. PlainsCapital Bank
               Name

               Street




               City                                           State       ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest         % of interest, if any

David Racino                             10900 Catthorn Cove                          Manager /CEO                                        22.5%
                                         Austin, TX 78759
Michael Daniel                           5100 Grover Ave                              Manager / COO                                       22.5%
                                         Austin, TX 78756
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held




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Debtor          American Canning LLC                                                      Case number (if known)
                Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                  Amount of money or description         Dates            Reason for
                                                        and value of property                                   providing the value


 30.1. See answer to Question 4
         Name

         Street




         City                    State   ZIP Code

         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

 Part 14:         Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 12/31/2024
            MM / DD / YYYY



X /s/ David Racino                                                                 Printed name David Racino
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




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                                                                                                    Exhibit "C"
                                                                                       American Canning LLC
                                                                              Holding Company : American Canning LLC
                                                                                     Sales by Item Detail
                                                                             September 1, 2024 - December 31, 2024
Item                                                        Type      Date        Document Number   Description                                    Serial Numbers     Qty. Sold   Sales Price      Revenue                                                   Customer
       Austin Beerworks - Blood Work Orange (aTULC) - 16L   Invoice   9/6/2024    INV49584          Austin Beerworks - Blood Work Orange (aTULC)   CAN20240509       12,448.00       $0.12       $1,493.76   C01083 Austin Beerworks
       Austin Beerworks - Blood Work Orange (aTULC) - 16L   Invoice   9/20/2024   INV49972          Austin Beerworks - Blood Work Orange (aTULC)   CAN20240509       43,568.00       $0.12       $5,228.16   C01083 Austin Beerworks
       Austin Beerworks - Blood Work Orange (aTULC) - 16L   Invoice   9/26/2024   INV50302          Austin Beerworks - Blood Work Orange (aTULC)   CAN20240509       56,016.00       $0.06       $3,360.96   C01083 Austin Beerworks
       Austin Beerworks - Flavor Country (Ball)             Invoice   9/12/2024   INV49765          Austin Beer Works - Flavor Country (Ball)                       184,775.00       $0.10      $19,305.29   C01083 Austin Beerworks
       Austin Beerworks - Hop Water (aTULC) - 16L           Invoice   9/20/2024   INV49972          Austin Beerworks - Hop Water (aTULC)           CAN20240417       31,120.00       $0.12       $3,734.40   C01083 Austin Beerworks
       Austin Beerworks - Hop Water (aTULC) - 16L           Invoice   9/26/2024   INV50302          Austin Beerworks - Hop Water (aTULC)           CAN20240417       56,016.00       $0.06       $3,360.96   C01083 Austin Beerworks
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/3/2024    INV49507          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $47.52         $190.08   C12051 Edward Liversidge
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/3/2024    INV49517          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $47.52          $47.52   C01746 Antietam Brewery
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/3/2024    INV49503          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $47.52         $142.56   C12053 CV Harris
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/4/2024    INV49540          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $47.52         $190.08   C09730 Zorn Brew Works
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/4/2024    INV49525          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $186.87   C11643 Other Lands
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/4/2024    INV49534          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C12063 Nathaniel Midberry
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/4/2024    INV49531          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $47.52          $95.04   C05675 stone's throw brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/4/2024    INV49555          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $47.52         $190.01   C10984 Bullfrog Creek Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/5/2024    INV49564          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C03870 Troubled Waters Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/5/2024    INV49573          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C12065 Crazy Uncle Mike's
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/6/2024    INV49629          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $46.86          $93.72   C07983 Gilla Brewing Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/6/2024    INV49596          Can, 32oz Crowler Brite, 96 Pack                                     10.00      $47.52         $475.20   C01300 Lazarus Brewing Co
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/6/2024    INV49612          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C03927 42 North Brewing Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/6/2024    INV49584          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $32.50          $97.51   C01083 Austin Beerworks
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/9/2024    INV49646          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $46.86          $93.72   C12093 Ironclad Brewery
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/9/2024    INV49647          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $46.86         $140.58   C10811 Crook Point Brewing Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/10/2024   INV49682          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C03806 Bluffview Growler
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/11/2024   INV49713          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $186.87   C02873 Cloven Hoof Brewing Co.
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/11/2024   INV49709          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $46.86         $140.58   C01775 Hops Hill
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/12/2024   INV49736          Can, 32oz Crowler Brite, 96 Pack                                     12.00      $46.86         $562.29   C03950 Ooga Brewing Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/12/2024   INV49753          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $46.86          $93.26   C12109 Brewed & Bottled, LLC
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/12/2024   INV49750          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $46.86          $93.72   C02973 StillFire Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/12/2024   INV49728          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C12103 Smoke Brewing Co
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/16/2024   INV49792          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $46.86         $140.05   C12126 Ken Beaujean
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/16/2024   INV49789          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $186.87   C05527 Greg Speicher
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/16/2024   INV49790          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C05611 Big Thompson Brewery
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/17/2024   INV49823          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C01639 Central District Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/18/2024   INV49853          Can, 32oz Crowler Brite, 96 Pack                                      6.00      $46.86         $280.54   C02683 Edgewise Eight Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/19/2024   INV49904          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $187.44   C11212 Gravity Taproom
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/19/2024   INV49915          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C03042 Heavy Reel Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/19/2024   INV49903          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $187.44   C02511 Jersey Girl Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/20/2024   INV49956          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $186.87   C09940 Cody Craft Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/20/2024   INV49963          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $186.12   C03806 Bluffview Growler
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/23/2024   INV49991          Can, 32oz Crowler Brite, 96 Pack                                      6.00      $46.86         $281.16   C01367 Peoria Artisan Brewery
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/23/2024   INV50021          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $46.86          $46.86   C03504 Random Row Brewing Co
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/23/2024   INV50013          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $46.86         $140.58   C03968 Dead Armadillo Craft Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/23/2024   INV49996          Can, 32oz Crowler Brite, 96 Pack                                      6.00      $46.86         $281.16   C10617 Need Pizza
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50105          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $44.00         $132.00   C02725 Suncreek Brewery
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50120          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $44.00          $44.00   C02280 Rally Cap Brewing Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50125          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $44.00          $41.05   C11674 Erin Patterson
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50107          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $44.00         $132.00   C09560 Wicked Rain
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50116          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $44.00         $138.28   C10236 Crafted & Cured
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50083          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $46.86          $93.72   C01607 Nomadic Beerworks
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50128          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $44.00         $132.00   C02451 Intuition Ale Works
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50129          Can, 32oz Crowler Brite, 96 Pack                                      5.00      $44.00         $220.00   C07909 Armored Cow Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50119          Can, 32oz Crowler Brite, 96 Pack                                      6.00      $44.00         $207.42   C01775 Hops Hill
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/25/2024   INV50117          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $44.00         $138.28   C10070 Cooper House Project
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/26/2024   INV50176          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $44.00          $88.00   C09591 Shady Grove Cider Co. LLC
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/26/2024   INV50183          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $46.86         $187.44   C10491 Rueggenbach Brewing Co LLC
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/26/2024   INV50177          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $44.00          $88.00   C07983 Gilla Brewing Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/27/2024   INV50213          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $44.00         $132.00   C10592 The Hop Doctor, LLC
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/27/2024   INV50224          Can, 32oz Crowler Brite, 96 Pack                                      6.00      $44.00         $264.00   C03089 Whipsaw Brewing
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/30/2024   INV50322          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $34.00         $102.00   C01094 Saints and Sinners Brewing Company LLC
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   9/30/2024   INV50311          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $34.00         $136.00   C08143 Backswing Brewing Co.
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50372          Can, 32oz Crowler Brite, 96 Pack                                      5.00      $34.00         $170.00   C03806 Bluffview Growler
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50412          Can, 32oz Crowler Brite, 96 Pack                                      1.00      $34.00          $34.00   C05234 Threefold Cafe
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50402          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $34.00          $68.00   C01854 Insurgent Brewing Co.
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50365          Can, 32oz Crowler Brite, 96 Pack                                      2.00      $34.00          $68.00   C12220 Great Heights Brewing Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50363          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $34.00         $136.00   C05527 Greg Speicher
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50359          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $34.00         $102.00   C04497 Second Salem Brewing Co
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50352          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $34.00         $136.00   C10914 The Open Bottle
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/2/2024   INV50399          Can, 32oz Crowler Brite, 96 Pack                                     12.00      $34.00         $408.00   C01136 Bluebonnet Beer Company
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/3/2024   INV50434          Can, 32oz Crowler Brite, 96 Pack                                      3.00      $44.00         $109.47   C12191 WhichCraft
       CAN-32OZ-CRW-BPANI-96PK                              Invoice   10/3/2024   INV50432          Can, 32oz Crowler Brite, 96 Pack                                      4.00      $34.00         $136.00   C12226 Vista Brewing
       CAN-750ML-CRW-BPANI-96PK                             Invoice   9/3/2024    INV49504          Can, 750ml Crowler Brite, 96 Pack                                     2.00      $44.88          $89.76   C01325 Megaton Brewery
       CAN-750ML-CRW-BPANI-96PK                             Invoice   9/12/2024   INV49746          Can, 750ml Crowler Brite, 96 Pack                                     3.00      $44.33         $132.99   C01298 Last Stand Brewing Company
       CAN-750ML-CRW-BPANI-96PK                             Invoice   9/12/2024   INV49743          Can, 750ml Crowler Brite, 96 Pack                                     2.00      $44.33          $88.66   C10897 Crooked Ewe Brewery
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                                                                           American Canning LLC
                                                                  Holding Company : American Canning LLC
                                                                         Sales by Item Detail
                                                                 September 1, 2024 - December 31, 2024
Item                                            Type      Date        Document Number   Description                                                                Serial Numbers     Qty. Sold   Sales Price      Revenue                                                       Customer
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/23/2024 INV49995            Can, 750ml Crowler Brite, 96 Pack                                                                 6.00      $44.33         $265.98   C10856 Local Pint
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/23/2024 INV50034            Can, 750ml Crowler Brite, 96 Pack                                                                 4.00      $44.33         $176.76   C01325 Megaton Brewery
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/25/2024 INV50115            Can, 750ml Crowler Brite, 96 Pack                                                                 4.00      $44.33         $177.32   C02865 Elkton Brewing Company
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/26/2024 INV50192            Can, 750ml Crowler Brite, 96 Pack                                                                10.00      $44.33         $320.00   C12197 Anna Borland
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/26/2024 INV50182            Can, 750ml Crowler Brite, 96 Pack                                                                 2.00      $44.33          $88.66   C01647 GretchenBrew LLC DBA Little Dog Brewing Co
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/27/2024 INV50269            Can, 750ml Crowler Brite, 96 Pack                                                                 4.00      $44.33         $177.32   C02754 Southern Roots Brewing
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/27/2024 INV50270            Can, 750ml Crowler Brite, 96 Pack                                                                 2.00      $44.33          $88.21   C01382 Real Ale Brewing Company
       CAN-750ML-CRW-BPANI-96PK                 Invoice   9/30/2024 INV50313            Can, 750ml Crowler Brite, 96 Pack                                                                 6.00      $32.00         $192.00   C12213 Dustin Evans
       CAN-750ML-CRW-BPANI-96PK                 Invoice   10/4/2024 INV50458            Can, 750ml Crowler Brite, 96 Pack                                                                12.00      $44.33         $531.96   C11230 Prost Alehouse
       CAN-EA-12OZ-STD-ATULC-BLACKGLOSSY-21L    Invoice   10/11/2024 INV50465           Single Can, 12oz, Standard Glossy Black, aTULC                                               44,735.00       $0.10       $4,473.50   C11946 Can-One
       CAN-EA-12OZ-STD-ATULC-BLACKMATTE-21L     Invoice   10/11/2024 INV50465           Single Can, 12oz, Standard Matte Black, aTULC                                                 4,170.00       $0.10         $417.00   C11946 Can-One
       CAN-EA-12OZ-STD-ATULC-BRITE-21L          Invoice   9/27/2024 INV50297            Can, 12oz, Standard Brite, aTULC                                                             29,561.00       $0.15       $4,434.15   C11021 DWS Printing Associates
       CAN-EA-12OZ-STD-ATULC-BRITENOWAX-21L     Invoice   9/27/2024 INV50297            Can, 12oz, Standard Brite, aTULC NO WAX                                                      55,238.00       $0.15       $8,285.70   C11021 DWS Printing Associates
       CAN-EA-12OZ-STD-ATULC-GOLDGLOSSY-21L     Invoice   9/30/2024 INV50298            Single Can, 12oz, Standard Glossy Gold, aTULC                                               163,223.00       $0.10      $16,322.30   C09320 1220 Spirits
       CAN-EA-12OZ-STD-ATULC-WHITEGLOSSY-18L    Invoice   9/6/2024   INV49585           Can, 12oz, Standard Full White, aTULC 18L sold in eaches                                     35,010.00       $0.16       $5,601.60   C10584 Creek Leaf Wellness dba Easy Hemp Co.
       CAN-EA-12OZ-STD-ATULC-WHITEGLOSSY-18L    Invoice   10/2/2024 INV50414            Can, 12oz, Standard Full White, aTULC 18L sold in eaches                                    147,042.00       $0.12      $17,645.04   C10584 Creek Leaf Wellness dba Easy Hemp Co.
       CAN-EA-12OZ-STD-ATULC-WHITEGLOSSY-21L    Invoice   9/13/2024 INV49772            Can, 12oz, Standard Full White, aTULC                                                           480.00       $0.19          $91.20   C04292 Alamo Beer Company, LLC
       CAN-EA-16OZ-STD-ATULC-BLACKMATTE-16L     Invoice   10/11/2024 INV50465           Single Can, 16oz, Standard Matte Black, aTULC                                                 2,334.00       $0.10         $233.40   C11946 Can-One
       CAN-EA-16OZ-STD-ATULC-BRITE-16L          Invoice   10/11/2024 INV50465           Single Can, 16oz, Standard Brite, aTULC, No Over Varnish                                    149,376.00       $0.10      $14,937.60   C11946 Can-One
       CAN-EA-16OZ-STD-ATULC-BRITE-16L          Invoice   10/15/2024 INV50475           Single Can, 16oz, Standard Brite, aTULC, No Over Varnish                                     37,344.00       $0.04       $1,493.76   C01514 Belching Beaver Brewery
                                                                                        Pallet of 12oz Standard aTULC Matte Black Cans 10 layers, 3890
                                                Invoice   9/4/2024    INV49554                                                                                                            1.00     $739.10        $739.10
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-BLACKMATTE-10L                                                                                                                                                                                 C11194 Moon Flower
                                                                                        Pallet of 12oz Standard aTULC Matte Black Cans 10 layers, 3890
                                                Invoice   9/4/2024    INV49558                                                                                                            1.00     $739.10        $739.10
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-BLACKMATTE-10L                                                                                                                                                                                 C11118 Green Ape Coffee Roasters
                                                                                        Pallet of 12oz Standard aTULC Matte Black Cans 10 layers, 3890
                                                Invoice   9/23/2024   INV50019                                                                                                            2.00     $739.10       $1,478.20
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-BLACKMATTE-10L                                                                                                                                                                                 C04979 Precarious Beer Project
                                                                                        Pallet of 12oz Standard aTULC Matte Black Cans 10 layers, 3890
                                                Invoice   9/25/2024   INV50049                                                                                                            1.00     $544.69        $544.69
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-BLACKMATTE-10L                                                                                                                                                                                 C09587 Towerhouse Farm Brewery
                                                                                        Pallet of 12oz Standard aTULC Matte Black Cans 10 layers, 3890
                                                Invoice   9/25/2024   INV50077                                                                                                            1.00     $544.69        $544.34
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-BLACKMATTE-10L                                                                                                                                                                                 C11194 Moon Flower
                                                                                        Pallet of 12oz Standard aTULC Black Matte Cans 18 layers, 7002
                                                Invoice   9/20/2024   INV49961                                                                                                            3.00    $1,330.38      $3,991.14
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-BLACKMATTE-18L                                                                                                                                                                                 C11203 JACKIE OS PUB & BREWERY
                                                                                        Pallet of 12oz Standard aTULC Brites 10 layers, 3890 cans/pallet On One-
                                                Invoice   9/9/2024    INV49654                                                                                                            2.00     $739.10       $1,478.20
       CAN-PLT-12OZ-STD-ATULC-BRITE-10L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C10431 Clean Cannabis Company
                                                                                        Pallet of 12oz Standard aTULC Brites 10 layers, 3890 cans/pallet On One-
                                                Invoice   9/9/2024    INV49662                                                                                                            1.00     $739.10        $739.10
       CAN-PLT-12OZ-STD-ATULC-BRITE-10L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C01326 Meridian Hive Meadery
                                                                                        Pallet of 12oz Standard aTULC Brites 10 layers, 3890 cans/pallet On One-
                                                Invoice   9/9/2024    INV49659                                                                                                            1.00     $739.10        $739.10
       CAN-PLT-12OZ-STD-ATULC-BRITE-10L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C01183 Community Beer Co.
                                                                                        Pallet of 12oz Standard aTULC Brites 10 layers, 3890 cans/pallet On One-
                                                Invoice   9/17/2024   INV49828                                                                                                            1.00     $739.10        $739.10
       CAN-PLT-12OZ-STD-ATULC-BRITE-10L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C11469 Voyager Cider
                                                                                        Pallet of 12oz Standard aTULC Brites 10 layers, 3890 cans/pallet On One-
                                                Invoice   9/18/2024   INV49864                                                                                                            4.00     $739.10       $2,956.40
       CAN-PLT-12OZ-STD-ATULC-BRITE-10L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C08263 The Brewery at Tirrito Farm
                                                                                        Pallet of 12oz Standard aTULC Brites 10 layers, 3890 cans/pallet On One-
                                                Invoice   9/27/2024   INV50297                                                                                                            7.00     $583.50       $4,084.50
       CAN-PLT-12OZ-STD-ATULC-BRITE-10L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C11021 DWS Printing Associates
                                                                                        Pallet of 12oz Standard aTULC Brites 18 layers, 7002 cans/pallet On One-
                                                Invoice   9/9/2024    INV49662                                                                                                            3.00    $1,330.38      $3,991.14
       CAN-PLT-12OZ-STD-ATULC-BRITE-18L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C01326 Meridian Hive Meadery
                                                                                        Pallet of 12oz Standard aTULC Brites 18 layers, 7002 cans/pallet On One-
                                                Invoice   9/18/2024   INV50460                                                                                                            2.00    $1,330.38      $2,655.48
       CAN-PLT-12OZ-STD-ATULC-BRITE-18L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C06815 Mean Mule Distillery Co
                                                                                        Pallet of 12oz Standard aTULC Brites 18 layers, 7002 cans/pallet On One-
                                                Invoice   9/27/2024   INV50297                                                                                                            3.00    $1,050.30      $3,150.90
       CAN-PLT-12OZ-STD-ATULC-BRITE-18L                                                 Way Dunnage with wrap, corner boards, and sides                                                                                      C11021 DWS Printing Associates
                                                                                        Pallet of 12oz Standard aTULC Gold Glossy Cans 10 layers, 3890
                                                Invoice   9/4/2024    INV49560                                                                                                            4.00     $739.10       $2,956.40
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-10L                                                                                                                                                                                 C07749 Palate Pack
                                                                                        Pallet of 12oz Standard aTULC Gold Glossy Cans 10 layers, 3890
                                                Invoice   9/20/2024   INV49960                                                                                                            1.00     $739.10        $739.10
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-10L                                                                                                                                                                                 C08734 Wild State Ciders
                                                                                        Pallet of 12oz Standard aTULC Gold Glossy Cans 10 layers, 3890
                                                Invoice   9/23/2024   INV50017                                                                                                            1.00     $739.10        $739.01
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-10L                                                                                                                                                                                 C09379 Lawless Brewing Company
                                                                                        Pallet of 12oz Standard aTULC Gold Glossy Cans 10 layers, 3890
                                                Invoice   9/26/2024   INV50173                                                                                                            1.00     $544.60        $542.14
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-10L                                                                                                                                                                                 C01133 Black Star Co-op
                                                                                        Pallet of 12oz Standard aTULC Gold Glossy Cans 10 layers, 3890
                                                Invoice   9/27/2024   INV50264                                                                                                          10.00      $544.60       $5,446.00
                                                                                        cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-10L                                                                                                                                                                                 C10566 Restoration Cider Co
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                                                                                 Holding Company : American Canning LLC
                                                                                        Sales by Item Detail
                                                                                September 1, 2024 - December 31, 2024
Item                                                           Type      Date        Document Number   Description                                                               Serial Numbers     Qty. Sold   Sales Price     Revenue                                            Customer

                                                                                                       Pallet of 12oz Standard aTULC Gold Glossy Cans 18 layers, 7002
                                                               Invoice   10/2/2024   INV50374                                                                                                           1.00     $700.20       $700.20
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-18L                                                                                                                                                                                              C11389 Olde Salem Brewing Company
                                                                                                       Pallet of 12oz Standard aTULC Gold Glossy Cans 18 layers, 7002
                                                               Invoice   10/2/2024   INV50348                                                                                                           2.00     $700.20      $1,400.40
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-18L                                                                                                                                                                                              C01147 Brazos Valley Brewing
                                                                                                       Pallet of 12oz Standard aTULC Gold Glossy Cans 18 layers, 7002
                                                               Invoice   10/2/2024   INV50397                                                                                                           1.00     $700.20       $700.20
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-18L                                                                                                                                                                                              C03245 Symbiotik Kombucha
                                                                                                       Pallet of 12oz Standard aTULC Gold Glossy Cans 18 layers, 7002
                                                               Invoice   10/3/2024   INV50429                                                                                                           2.00     $740.00      $1,480.00
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-18L                                                                                                                                                                                              C06278 Db Chem Inc
                                                                                                       Pallet of 12oz Standard aTULC Gold Glossy Cans 18 layers, 7002
                                                               Invoice   10/4/2024   INV50444                                                                                                           2.00     $700.20      $1,400.40
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-18L                                                                                                                                                                                              C01383 Red Horn Brewing
                                                                                                       Pallet of 12oz Standard aTULC Gold Glossy Cans 18 layers, 7002
                                                               Invoice   10/11/2024 INV50465                                                                                                            2.00     $700.20      $1,400.40
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-GOLDGLOSSY-18L                                                                                                                                                                                              C11946 Can-One
                                                                                                       Pallet of 12oz Standard aTULC Glossy White Cans 10 layers, 3890
                                                               Invoice   9/20/2024   INV49961                                                                                                           1.00     $739.10       $739.10
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-WHITEGLOSSY-10L                                                                                                                                                                                             C11203 JACKIE OS PUB & BREWERY
                                                                                                       Pallet of 12oz Standard aTULC Glossy White Cans 10 layers, 3890
                                                               Invoice   9/27/2024   INV50264                                                                                                           5.00     $544.60      $2,723.00
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-WHITEGLOSSY-10L                                                                                                                                                                                             C10566 Restoration Cider Co
                                                                                                       Pallet of 12oz Standard aTULC Glossy White Cans 10 layers, 3890
                                                               Invoice   9/27/2024   INV50268                                                                                                           6.00     $544.60      $3,267.60
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-WHITEGLOSSY-10L                                                                                                                                                                                             C10566 Restoration Cider Co
                                                                                                       Pallet of 12oz Standard aTULC Glossy White Cans 18 layers, 7002
                                                               Invoice   9/10/2024   INV49696                                                                                                           2.00    $1,330.38     $2,660.76
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-WHITEGLOSSY-18L                                                                                                                                                                                             C12021 Sunny Bev LLC
                                                                                                       Pallet of 12oz Standard aTULC Glossy White Cans 18 layers, 7002
                                                               Invoice   9/17/2024   INV49826                                                                                                           3.00    $1,330.38     $3,991.14
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-WHITEGLOSSY-18L                                                                                                                                                                                             C10781 Pauwela Beverage Co.
                                                                                                       Pallet of 12oz Standard aTULC Glossy White Cans 18 layers, 7002
                                                               Invoice   9/26/2024   INV50165                                                                                                           1.00     $980.28       $980.28
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-12OZ-STD-ATULC-WHITEGLOSSY-18L                                                                                                                                                                                             C10989 DorrtoDorr
                                                                                                       Pallet of 16oz Standard aTULC Black Matte Cans 14 layers, 5446
                                                               Invoice   10/2/2024   INV50350                                                                                                           1.00     $599.06       $599.06
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-14L                                                                                                                                                                                              C11579 Donald Kretz
                                                                                                       Pallet of 16oz Standard aTULC Black Matte Cans 14 layers, 5446
                                                               Invoice   10/2/2024   INV50373                                                                                                           1.00     $599.06       $599.06
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-14L                                                                                                                                                                                              C02028 Keg Grove Brewing Company
                                                                                                       Pallet of 16oz Standard Black Matte Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   9/17/2024   INV49818                                                                                                           1.00     $684.64       $684.64
       CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-8L                                                            One-Way Dunnage with wrap, corner boards, and sides                                                                                C09440 Oddstory Brewing Co.
                                                                                                       Pallet of 16oz Standard Black Matte Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   9/20/2024   INV49924                                                                                                           1.00     $684.64       $684.25
       CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-8L                                                            One-Way Dunnage with wrap, corner boards, and sides                                                                                C12140 MAG Formulations
                                                                                                       Pallet of 16oz Standard Black Matte Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   9/27/2024   INV50256                                                                                                           1.00     $420.00       $360.85
       CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-8L                                                            One-Way Dunnage with wrap, corner boards, and sides                                                                                C07571 The Southern Growl Beer Company
                                                                                                       Pallet of 16oz Standard Black Matte Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   10/2/2024   INV50379                                                                                                           1.00     $342.32       $342.32
       CAN-PLT-16OZ-STD-ATULC-BLACKMATTE-8L                                                            One-Way Dunnage with wrap, corner boards, and sides                                                                                C02617 The Lost Druid
                                                                                                       Pallet of 16oz Standard aTULC Brite Cans 14 layers, 5446 cans/pallet On
                                                               Invoice   10/10/2024 INV50466                                                                                                            6.00     $272.30      $1,633.80
       CAN-PLT-16OZ-STD-ATULC-BRITE-14L                                                                One-Way Dunnage with wrap, corner boards, and sides                                                                                C08432 WilCraft Can
                                                                                                       Pallet of 16oz Standard aTULC Brite Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   9/18/2024   INV49864                                                                                                           2.00     $684.64      $1,369.28
       CAN-PLT-16OZ-STD-ATULC-BRITE-8L                                                                 One-Way Dunnage with wrap, corner boards, and sides                                                                                C08263 The Brewery at Tirrito Farm
                                                                                                       Pallet of 16oz Standard aTULC Brite Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   9/25/2024   INV50051                                                                                                           1.00     $497.92       $497.92
       CAN-PLT-16OZ-STD-ATULC-BRITE-8L                                                                 One-Way Dunnage with wrap, corner boards, and sides                                                                                C11792 Nucleus Mead
                                                                                                       Pallet of 16oz Standard aTULC Brite Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   9/27/2024   INV50200                                                                                                           4.00     $420.00      $1,680.00
       CAN-PLT-16OZ-STD-ATULC-BRITE-8L                                                                 One-Way Dunnage with wrap, corner boards, and sides                                                                                C10681 Wild Barley Kitchen and Brewery
                                                                                                       Pallet of 16oz Standard aTULC White Glossy Cans 14 layers, 5446
                                                               Invoice   10/2/2024   INV50373                                                                                                           1.00     $599.06       $599.06
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-16OZ-STD-ATULC-WHITEGLOSSY-14L                                                                                                                                                                                             C02028 Keg Grove Brewing Company
                                                                                                       Pallet of 16oz Standard aTULC White Glossy Cans 14 layers, 5446
                                                               Invoice   10/11/2024 INV50465                                                                                                            2.00     $544.60      $1,089.20
                                                                                                       cans/pallet On One-Way Dunnage with wrap, corner boards, and sides
       CAN-PLT-16OZ-STD-ATULC-WHITEGLOSSY-14L                                                                                                                                                                                             C11946 Can-One
                                                                                                       Pallet of 16oz Standard White Glossy Cans 8 layers, 3112 cans/pallet On
                                                               Invoice   9/30/2024   INV50301                                                                                                           4.00     $497.92      $1,653.35
       CAN-PLT-16OZ-STD-ATULC-WHITEGLOSSY-8L                                                           One-Way Dunnage with wrap, corner boards, and sides                                                                           C02567 The Thirsty Growler
       Country Luau - Dirty Shirley (aTULC)                    Invoice   10/2/2024   INV50417          Country Luau - Dirty Shirley                                              CAN20240124      196,056.00    $0.06     $11,763.36 C06081 Country Luau Spirits LLC
       Country Luau - Extra Dirty (aTULC)                      Invoice   10/2/2024   INV50417          Country Luau - Extra Dirty                                                CAN20240117       98,028.00    $0.06      $5,881.68 C06081 Country Luau Spirits LLC
       Country Luau - Vanilla (aTULC)                          Invoice   10/2/2024   INV50417          Country Luau - Vanilla                                                    CAN20240118       98,028.00    $0.06      $5,881.68 C06081 Country Luau Spirits LLC
       Drink LMNT Black Cherry Lime - Amazon Edition (aTULC)   Invoice   9/23/2024   INV50195          Drink LMNT - Black Cherry Lime (Amazon Edition)                           CAN20240820(211616),CAN20240821(317424),CAN20240822(211616),CAN20240826(280080),CAN20240827(43568)
                                                                                                                                                                                                1,064,304.00    $0.19    $202,217.76 C10558 Drink LMNT
       Easy Hemp Co - Grapefruit (aTULC)                       Invoice   10/2/2024   INV50414          Easy Hemp Co - Grapefruit (aTULC)                                         CAN20240429       84,024.00    $0.12     $10,082.88 C10584 Creek Leaf Wellness dba Easy Hemp Co.
       Easy Hemp Co - Lime (aTULC)                             Invoice   10/2/2024   INV50414          Easy Hemp Co - Lime (aTULC)                                               CAN20240429       84,024.00    $0.12     $10,082.88 C10584 Creek Leaf Wellness dba Easy Hemp Co.
       Easy Hemp Co - Original (aTULC)                         Invoice   10/2/2024   INV50414          Easy Hemp Co - Original (aTULC)                                           CAN20240430       91,026.00    $0.12     $10,923.12 C10584 Creek Leaf Wellness dba Easy Hemp Co.
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                                                                                   American Canning LLC
                                                                          Holding Company : American Canning LLC
                                                                                 Sales by Item Detail
                                                                         September 1, 2024 - December 31, 2024
Item                                                    Type      Date        Document Number   Description                                                            Serial Numbers     Qty. Sold   Sales Price      Revenue                                             Customer
       Gin & Juice - Apricot (Ball)                     Invoice   9/17/2024 INV49836            Gin & Juice - Apricot (Ball)                                                            404,800.00     $0.10        $41,896.80   C09243 Packform
       Gin & Juice - Citrus (Ball)                      Invoice   9/17/2024 INV49836            Gin & Juice - Citrus (Ball)                                                             404,800.00     $0.10        $41,896.80   C09243 Packform
       Gin & Juice - Melon (Ball)                       Invoice   9/17/2024 INV49836            Gin & Juice - Melon (Ball)                                                              404,800.00     $0.10        $41,896.80   C09243 Packform
       Gin & Juice - Passionfruit (Ball)                Invoice   9/17/2024 INV49836            Gin & Juice - Passionfruit (Ball)                                                       404,800.00     $0.10        $41,896.80   C09243 Packform
       Live Oak Brewing - Live Oak Hefeweizen (Ball)    Invoice   9/5/2024   INV49576           Live Oak Brewing - Live Oak Hefeweizen (Ball)                                           204,225.00     $0.10        $21,337.43   C04472 Live Oak Brewing CO.
       PAK-01-0067                                      Invoice   9/9/2024   INV49664           Packaging Crate- Domestic, Ground, 58L X 46W X 66T                                            1.00  $750.00            $750.00   C08799 Pneumatic Scale Angelus
       PAK-01-0067                                      Invoice   9/23/2024 INV50031            Packaging Crate- Domestic, Ground, 58L X 46W X 66T                                            1.00  $750.00            $750.00   C02754 Southern Roots Brewing
       PAK-01-0067                                      Invoice   9/30/2024 INV50293            Packaging Crate- Domestic, Ground, 58L X 46W X 66T                                            1.00  $750.00            $750.00   C03595 Two Docs Brewing Co.
       PAK-01-0067                                      Invoice   9/30/2024 INV50293            Packaging Crate- Domestic, Ground, 58L X 46W X 66T                                            1.00  $750.00            $750.00   C03595 Two Docs Brewing Co.
       PAK-01-0068                                      Invoice   9/20/2024 INV49929            Packaging Crate- Domestic, Ground, 58L X 46W X 81T                                            1.00  $750.00            $750.00   C10062 Arty's Premuim Beverages
       PAK-01-0068                                      Invoice   9/20/2024 INV49929            Packaging Crate- Domestic, Ground, 58L X 46W X 81T                                            1.00  $750.00            $750.00   C10062 Arty's Premuim Beverages
       PAK-01-0068                                      Invoice   9/23/2024 INV50031            Packaging Crate- Domestic, Ground, 58L X 46W X 81T                                            1.00  $750.00            $750.00   C02754 Southern Roots Brewing
       PAK-01-0068                                      Invoice   9/30/2024 INV50293            Packaging Crate- Domestic, Ground, 58L X 46W X 81T                                            1.00  $750.00            $750.00   C03595 Two Docs Brewing Co.
       Ranch Hand - Denver Jalapeno (aTULC)             Invoice   10/4/2024 INV50441            Ranch Hand - Denver Jalapeno (aTULC)                                   CAN20240501       57,183.00     $0.10         $5,718.30   C01379 Ranch Hand
       Ranch Hand - Denver Paloma (aTULC)               Invoice   10/4/2024 INV50441            Ranch Hand - Denver Paloma (aTULC)                                     CAN20231228       57,183.00     $0.10         $5,718.30   C01379 Ranch Hand
       Ranch Hand - Denver Ranch Water (aTULC)          Invoice   10/4/2024 INV50441            Ranch Hand - Denver Ranch Water (aTULC)                                CAN20240422       81,690.00     $0.10         $8,169.00   C01379 Ranch Hand
       Sovany - Apple (Ball)                            Invoice   10/17/2024 INV50478           Sovany - Apple                                                                          202,400.00     $0.11        $22,814.53   C10064 Sovany
       Sovany - Raspberry (Ball)                        Invoice   10/17/2024 INV50478           Sovany - Raspberry                                                                      202,400.00     $0.11        $22,814.53   C10064 Sovany
       Sovany - Tangerine (Ball)                        Invoice   10/17/2024 INV50478           Sovany - Orange                                                                         202,400.00     $0.11        $22,814.53   C10064 Sovany
       St. Elmo - Carl (aTULC)                          Invoice   9/18/2024 INV50294            St. Elmo - Carl (aTULC)                                                CAN20240508       24,896.00     $0.06         $1,493.76   C01434 St. Elmo Brewing Co.
       St. Elmo - Carl (aTULC)                          Invoice   10/4/2024 INV50456            St. Elmo - Carl (aTULC)                                                CAN20231113(62240),CAN20240508(68464)
                                                                                                                                                                                        130,704.00     $0.06         $7,842.24   C01434 St. Elmo Brewing Co.
       St. Elmo - Hop Water (aTULC)                     Invoice   9/18/2024 INV50294            St. Elmo - Hop Water (aTULC)                                           CAN20231220(6224),CAN20240508(18672)
                                                                                                                                                                                         24,896.00     $0.06         $1,493.76   C01434 St. Elmo Brewing Co.
       St. Elmo - Hop Water (aTULC)                     Invoice   10/4/2024 INV50456            St. Elmo - Hop Water (aTULC)                                           CAN20231220(12448),CAN20240508(62240)
                                                                                                                                                                                         74,688.00     $0.06         $4,481.28   C01434 St. Elmo Brewing Co.
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   9/3/2024    INV49496                                                                                                        2.00      $64.50        $129.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C04910 Simplicity Cocktails
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   9/3/2024    INV49515                                                                                                        4.00      $64.50        $258.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C10917 Indigo
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   9/23/2024   INV50027                                                                                                        3.00      $64.50        $193.50
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C01025 903 Brewers
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   9/23/2024   INV49988                                                                                                        3.00      $64.50        $193.50
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C04910 Simplicity Cocktails
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   9/23/2024   INV49982                                                                                                        4.00      $64.50        $258.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C01980 Citizen Cider
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   9/25/2024   INV50092                                                                                                        8.00      $60.00        $480.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C08228 Planet 13
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   9/27/2024   INV50202                                                                                                        1.00      $60.00         $60.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C08441 Canworks, Inc
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   10/2/2024   INV50394                                                                                                        1.00      $46.00         $46.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C12230 DIRTY WATER COMPANY LLC
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   10/3/2024   INV50425                                                                                                        4.00      $46.00        $184.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C11503 Jarek Elmasian
                                                                                                Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                        Invoice   10/4/2024   INV50455                                                                                                      14.00       $42.00        $588.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-140CT                                                  140CT                                                                                                                            C08441 Canworks, Inc
       TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-140CT          Invoice   9/26/2024   INV50185          Rollover Case Tray - Slim - Bundle of 140                                                    4.00       $66.92        $267.68    C11832 Tenth Ward Distilling Co.
       TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-140CT          Invoice   9/30/2024   INV50329          Rollover Case Tray - Slim - Bundle of 140                                                   11.00       $38.00        $418.00    C12222 Just Enough Wines
       TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-140CT          Invoice   10/1/2024   INV50340          Rollover Case Tray - Slim - Bundle of 140                                                    4.00       $38.00        $152.00    C06237 Protector Cellars
       TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-180CT          Invoice   9/19/2024   INV49916          Rollover Case Tray - Slim - Bundle of 180                                                    2.00       $76.00        $148.46    C11392 BCAG
       TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-180CT          Invoice   9/25/2024   INV50072          Rollover Case Tray - Slim - Bundle of 180                                                    2.00       $76.00        $152.00    C11578 Salvation Coffee Company
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/3/2024    INV49494                                                                                                        1.00      $68.00         $68.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C07437 Klooz Brewz
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/3/2024    INV49520                                                                                                        1.00      $68.00         $68.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C02904 River Bluff Brewing
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/6/2024    INV49595                                                                                                        3.00      $68.00        $201.55
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C02071 Frontyard Brewing
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/9/2024    INV49645                                                                                                        1.00      $68.00         $68.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C08101 Maize Valley Brewery
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/10/2024   INV49692                                                                                                        2.00      $68.00        $136.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C02583 CODA Brewing Co.
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/10/2024   INV49689                                                                                                        2.00      $68.00        $136.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C07980 The filling station microbrewery
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/16/2024   INV49791                                                                                                        2.00      $68.00        $136.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C10870 Pets In Need
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/20/2024   INV49951                                                                                                        3.00      $68.00        $199.16
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C03002 Icebox Brewing Company
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/20/2024   INV49973                                                                                                        4.00      $68.00        $272.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C01201 Dorcol Distilling + Brewing Co.
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/23/2024   INV50011                                                                                                        4.00      $68.00        $272.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C01596 King Bean Coffee
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/23/2024   INV50004                                                                                                        4.00      $68.00        $272.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C11053 New Belgium Brewing
                                                                                                Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                                        Invoice   9/25/2024   INV50070                                                                                                        2.00      $58.00        $114.20
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                                    Uncoated, 100CT                                                                                                                  C01264 Hold Out Brewing
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                                                                        Sales by Item Detail
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Item                                           Type      Date        Document Number   Description                                                         Serial Numbers   Qty. Sold   Sales Price   Revenue                                             Customer
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/25/2024   INV50075                                                                                                   2.00      $58.00      $116.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C02230 Quirk Brewing
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/25/2024   INV50106                                                                                                   1.00      $58.00       $58.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C02068 Element Kombucha
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/25/2024   INV50057                                                                                                   4.00      $58.00      $232.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C11131 Dan Lawrence
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/26/2024   INV50162                                                                                                   6.00      $58.00      $344.46
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C04386 Ankrolab Brewing Co.
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/26/2024   INV50191                                                                                                   6.00      $56.00      $336.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C10870 Pets In Need
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/27/2024   INV50266                                                                                                   1.00      $58.00       $53.08
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C05692 Desert Monks
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/27/2024   INV50263                                                                                                   6.00      $58.00      $348.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C02071 Frontyard Brewing
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/27/2024   INV50202                                                                                                   1.00      $58.00       $58.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C08441 Canworks, Inc
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   9/30/2024   INV50312                                                                                                   1.00      $50.00       $50.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C02415 Vector Brewing
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   10/1/2024   INV50336                                                                                                   1.00      $50.00       $50.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C03194 Parleaux Beer Lab
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   10/3/2024   INV50418                                                                                                   1.00      $58.00       $57.19
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C01082 Austin Beer Garden & Brewery
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   10/4/2024   INV50444                                                                                                   6.00      $50.00      $300.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C01383 Red Horn Brewing
                                                                                       Standard, Auto-Locking Kraft Case Tray, 24 Can Capacity, 3" wall,
                                               Invoice   10/11/2024 INV50471                                                                                                    8.00      $30.00      $240.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-100CT                                           Uncoated, 100CT                                                                                                          C01201 Dorcol Distilling + Brewing Co.
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/3/2024    INV49491          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $59.21      $118.42   C01383 Red Horn Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/3/2024    INV49499          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       3.00       $59.21      $177.63   C12044 adventurous ales
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/4/2024    INV49557          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $59.21      $118.42   C10548 Fast Friends Beer Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/5/2024    INV49562          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C12027 Bobby Chacko
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/6/2024    INV49603          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C03615 Iowa Project Brewing Company LLC
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/6/2024    INV49590          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C01383 Red Horn Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/9/2024    INV49633          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C02280 Rally Cap Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/9/2024    INV49653          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C10868 Fermented Felon LLC
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/9/2024    INV49661          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $59.21      $236.84   C09617 Third Coast Coffee
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/12/2024   INV49732          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $59.21      $235.43   C10859 Corn Coast Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/12/2024   INV49761          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C04001 Camp Colvos Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/16/2024   INV49785          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       5.00       $59.21      $296.05   C01373 Pretoria Fields Collective
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/16/2024   INV49796          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $59.21      $233.45   C10296 Barry VanDyke
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/17/2024   INV49817          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C02487 Nearburg Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/17/2024   INV49828          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C11469 Voyager Cider
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/17/2024   INV49826          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       8.00       $59.21      $473.68   C10781 Pauwela Beverage Co.
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/18/2024   INV49877          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $59.21      $236.84   C08325 Daily Culture
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/18/2024   INV49846          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $57.70   C03659 Defiance Brewing Co.
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/18/2024   INV50460          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                      10.00       $59.21      $590.92   C06815 Mean Mule Distillery Co
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/19/2024   INV49905          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $59.21      $118.42   C11392 BCAG
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/20/2024   INV49928          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $59.21      $117.66   C06026 Roughhouse Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/23/2024   INV49977          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $52.00       $52.00   C01938 Border Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/23/2024   INV50024          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $59.21      $236.84   C03524 North Park Beer Co
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/23/2024   INV50036          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C01383 Red Horn Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/23/2024   INV50017          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $59.21      $118.41   C09379 Lawless Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/23/2024   INV50008          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $59.21       $59.21   C01951 Deviant Wolfe Brewing, LLC
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/23/2024   INV50000          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $59.21      $236.84   C12161 mark garramone
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/25/2024   INV50121          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $52.00      $104.00   C03659 Defiance Brewing Co.
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/25/2024   INV50147          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $52.00       $50.34   C02280 Rally Cap Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/25/2024   INV50060          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $52.00      $205.30   C09297 Casey Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/25/2024   INV50112          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       3.00       $52.00      $156.00   C12044 adventurous ales
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/26/2024   INV50184          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $52.00      $208.00   C01019 5 Stones Artisan Brewery
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/26/2024   INV50194          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       3.00       $48.00      $144.00   C11471 CCSWB
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/26/2024   INV50163          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $52.00      $102.17   C10729 Wackadoo Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/26/2024   INV50186          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       4.00       $59.21      $236.84   C10548 Fast Friends Beer Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/27/2024   INV50229          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $48.00       $96.00   C03498 Block Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/27/2024   INV50226          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $48.00       $48.00   C03169 Bear Fox LLC
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/27/2024   INV50212          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       3.00       $52.00      $151.08   C06026 Roughhouse Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/30/2024   INV50317          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $40.00       $80.00   C02501 Fairport Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/30/2024   INV50331          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $40.00       $80.00   C08443 JAFB Wooster Brewery
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   9/30/2024   INV50299          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       8.00       $52.00      $390.68   C08532 Low Road Brewing
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   10/2/2024   INV50362          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $40.00       $80.00   C12218 John Oglesbee
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   10/2/2024   INV50410          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       3.00       $40.00      $120.00   C11471 CCSWB
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   10/2/2024   INV50406          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $40.00       $40.00   C12233 Victoria Monroy
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   10/2/2024   INV50383          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       2.00       $40.00       $80.00   C12225 Wanderlust Brewing Company
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   10/3/2024   INV50429          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       5.00       $40.00      $200.00   C06278 Db Chem Inc
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-120CT   Invoice   10/4/2024   INV50455          Tray, Roll Over, Standard Cans, 24 cans, 3" wall, Uncoated, 120ct                       1.00       $38.00       $38.00   C08441 Canworks, Inc
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Item                                                   Type      Date      Document Number   Description                                            Serial Numbers     Qty. Sold   Sales Price      Revenue                                           Customer
       Victory Beverage - Throttle Punch (Ball)        Invoice   9/17/2024 INV49835          Victory Beverage - Throttle Punch                                       194,304.00        $0.11     $21,901.95   C10127 Victory Beverages
       CAN-12OZ-SLEEK-BPANI-BALL-14L                   Invoice   9/10/2024 INV49703          Can - 12oz Sleek Brite - BPANI - BALL                                    63,756.00        $0.16     $10,027.54   C03382 Okc Soda Co
       CAN-12OZ-SLEEK-BPANI-BALL-14L                   Invoice   9/10/2024 INV49698          Can - 12oz Sleek Brite - BPANI - BALL                                    14,168.00        $0.16      $2,260.64   C12091 Tom Fernandez
       CAN-12OZ-SLEEK-BPANI-BALL-14L                   Invoice   10/2/2024 INV50405          Can - 12oz Sleek Brite - BPANI - BALL                                    28,336.00        $0.10      $2,833.60   C01980 Citizen Cider
       CAN-12OZ-SLEEK-BPANI-BALL-14L                   Invoice   10/2/2024 INV50392          Can - 12oz Sleek Brite - BPANI - BALL                                    14,168.00        $0.10      $1,416.80   C12229 Tumbleroot
       CAN-12OZ-SLEEK-BPANI-BALL-16L                   Invoice   10/15/2024 INV50475         Can - 12oz Sleek Brite - BPANI - BALL                                    16,192.00        $0.04        $647.68   C01514 Belching Beaver Brewery
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   9/6/2024   INV49625         Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                         16,192.00        $0.16      $2,590.72   C01980 Citizen Cider
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   9/9/2024   INV49659         Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                          4,048.00        $0.16        $647.68   C01183 Community Beer Co.
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   9/12/2024 INV49734          Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                         24,288.00        $0.16      $3,820.02   C09654 Indigo
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   9/27/2024 INV50207          Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                          4,048.00        $0.13         $40.48   C06808 Saro Cider
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   9/27/2024 INV50246          Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                          4,048.00        $0.12        $485.76   C09868 Russell Powers
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   9/27/2024 INV50258          Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                         12,144.00        $0.13      $1,578.72   C06034 Botanical Brewing Co
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   10/2/2024 INV50345          Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                         24,288.00        $0.13      $1,249.49   C06034 Botanical Brewing Co
       CAN-12OZ-SLEEK-BPANI-BALL-8L                    Invoice   10/3/2024 INV50424          Can - 12oz Sleek Brite - BPANI - BALL - 8 Layers                          8,096.00        $0.12        $971.52   C12227 Joe Wood
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/3/2024   INV49520         Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $583.50   C02904 River Bluff Brewing
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/6/2024   INV49592         Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $583.50   C10649 Terry Hawbaker
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/10/2024 INV49699          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      7,780.00        $0.15      $1,157.77   C01045 Amalga Distillery LLC
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/10/2024 INV49697          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $583.50   C08173 3rd Level Brewing
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/12/2024 INV49731          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                     15,560.00        $0.15      $2,334.00   C08993 Wild River Brewing
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/13/2024 INV49768          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $583.14   C05581 Bowigens Beer Company
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/18/2024 INV49860          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $574.95   C09707 Fat Toad Brewing Company
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/18/2024 INV49861          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $583.50   C12131 Sharon Garman
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/20/2024 INV49954          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      7,780.00        $0.13        $930.41   C01451 Texas Beer Co
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/23/2024 INV50036          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $583.50   C01383 Red Horn Brewing
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/25/2024 INV50069          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.12        $465.63   C10755 Natural 20 Brewing Co.
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/25/2024 INV50091          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      7,780.00        $0.15      $1,167.00   C01300 Lazarus Brewing Co
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/26/2024 INV50184          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      7,780.00        $0.12        $933.60   C01019 5 Stones Artisan Brewery
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/26/2024 INV50183          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.12        $466.80   C10491 Rueggenbach Brewing Co LLC
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/26/2024 INV50186          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.15        $583.50   C10548 Fast Friends Beer Company
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/27/2024 INV50254          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.12        $466.80   C12195 Colorado State University
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/27/2024 INV50245          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                     11,670.00        $0.12      $1,269.87   C01280 Infamous Brewing Co.
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/27/2024 INV50261          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      7,780.00        $0.12        $891.17   C05581 Bowigens Beer Company
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/27/2024 INV50241          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.12        $466.80   C01494 Whitestone Brewery
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/27/2024 INV50204          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      7,780.00        $0.12        $905.66   C03067 Pearl Beach Brew Pub
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   9/30/2024 INV50299          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      3,890.00        $0.12        $438.38   C08532 Low Road Brewing
       CAN-12OZ-STANDARD-BPANI-BALL-10L                Invoice   10/3/2024 INV50421          Can - 12oz Standard Brite - BPANI - Ball - 10 Layers                      7,780.00        $0.12        $933.60   C10832 Zen Donkey Farms
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/6/2024   INV49630         Can - 12oz Standard Brite - BPANI - Ball                                  7,002.00        $0.15      $1,038.89   C01472 True Vine Brewing Co.
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/17/2024 INV49840          Can - 12oz Standard Brite - BPANI - Ball                                  7,002.00        $0.15      $1,042.10   C02587 Wanderlust Brewing Company
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/26/2024 INV50166          Can - 12oz Standard Brite - BPANI - Ball                                 14,004.00        $0.12      $1,680.48   C08455 National Food Lab
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/26/2024 INV50178          Can - 12oz Standard Brite - BPANI - Ball                                  7,002.00        $0.12        $840.24   C02280 Rally Cap Brewing Company
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/26/2024 INV50175          Can - 12oz Standard Brite - BPANI - Ball                                 14,004.00        $0.12      $1,680.48   C12172 Eagle Warehousing
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/27/2024 INV50262          Can - 12oz Standard Brite - BPANI - Ball                                 49,014.00        $0.09      $4,411.26   C02901 Nebraska Brewing Company
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/27/2024 INV50208          Can - 12oz Standard Brite - BPANI - Ball                                 28,008.00        $0.12      $3,360.96   C02961 Lazy Beach Brewing
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   9/30/2024 INV50244          Can - 12oz Standard Brite - BPANI - Ball                                 14,004.00        $0.12      $1,680.48   C08455 National Food Lab
       CAN-12OZ-STANDARD-BPANI-BALL-18L                Invoice   10/3/2024 INV50419          Can - 12oz Standard Brite - BPANI - Ball                                 14,004.00        $0.12      $1,680.48   C11667 Rusty Axe Brewing Company, LLC
       CAN-12OZ-STANDARD-BPANI-BALL-21L                Invoice   9/6/2024   INV49587         Can - 12oz Standard Brite - BPANI - Ball                                204,225.00        $0.11     $21,443.63   C09190 Altstadt Brewery
       CAN-12OZ-STANDARD-BPANI-BALL-21L                Invoice   10/4/2024 INV50454          Can - 12oz Standard Brite - BPANI - Ball                                204,225.00        $0.11     $21,443.63   C09190 Altstadt Brewery
       CAN-12OZ-STANDARD-BPANI-BALL-21L                Invoice   10/10/2024 INV50467         Can - 12oz Standard Brite - BPANI - Ball                                178,940.00        $0.04      $7,157.60   C09190 Altstadt Brewery
       CAN-12OZ-STANDARD-BPANI-BALL-21L                Invoice   10/23/2024 INV50477         Can - 12oz Standard Brite - BPANI - Ball                                204,225.00        $0.11     $21,443.63   C09190 Altstadt Brewery
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/6/2024   INV49631         Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.18        $980.28   C03011 West Mountain Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/6/2024   INV49589         Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.18        $980.28   C04065 Idyll Hounds Brewery
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/9/2024   INV49660         Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                     32,676.00        $0.18      $5,643.45   C06912 Junkyard Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/12/2024 INV49741          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.18        $980.28   C08078 White Rock Alehouse
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/16/2024 INV49834          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                     10,892.00        $0.18      $1,971.67   C01617 Crowling Rental Co
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/17/2024 INV49832          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.18        $980.28   C02280 Rally Cap Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/19/2024 INV49918          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.18        $980.28   C07871 Johnson City Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/20/2024 INV49957          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.18        $977.44   C04033 Love's Kombucha
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/20/2024 INV49969          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                     16,338.00        $0.18      $2,940.84   C02616 Buckstin Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/20/2024 INV49976          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                     10,892.00        $0.18      $1,960.56   C01291 Kuenstler Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/23/2024 INV50014          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.18        $980.28   C08317 Onsite Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/23/2024 INV49970          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                     16,338.00        $0.18      $2,940.84   C02616 Buckstin Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/25/2024 INV50078          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                     10,892.00        $0.14      $1,524.88   C02812 Short Story Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/25/2024 INV50086          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.14        $762.44   C04112 Division Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/25/2024 INV50090          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.14        $762.44   C02444 Whistle Punk Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/25/2024 INV50069          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.14        $760.53   C10755 Natural 20 Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/26/2024 INV50167          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.14        $752.09   C02956 Batch Craft Beer & Kolaches
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/26/2024 INV50175          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                     21,784.00        $0.14      $3,049.76   C12172 Eagle Warehousing
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/27/2024 INV50210          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.14        $762.44   C12184 Flying Tiger Brewery
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   9/27/2024 INV50243          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                        100.00        $0.14         $14.00   C09920 Marco Reyna
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   10/3/2024 INV50419          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.14        $762.44   C11667 Rusty Axe Brewing Company, LLC
       CAN-16OZ-STANDARD-BPANI-BALL-14L                Invoice   10/3/2024 INV50420          Can - 16oz Standard Brite - BPANI - Ball - 14 Layers                      5,446.00        $0.14        $762.44   C07490 Icarus Fermentation
       CAN-16OZ-STANDARD-BPANI-BALL-16L                Invoice   10/3/2024 INV50427          Can - 16oz - Standard Brite - BPANI - Ball                              136,928.00        $0.17     $23,620.08   C07251 Ranch House Brewery
       CAN-16OZ-STANDARD-BPANI-BALL-16L                Invoice   10/4/2024 INV50448          Can - 16oz - Standard Brite - BPANI - Ball                               57,961.00        $0.08      $4,636.88   C01617 Crowling Rental Co
                                    24-11673-smr Doc#1 Filed 12/31/24 Entered 12/31/24 20:25:12 Main Document Pg 82 of
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                                                                         American Canning LLC
                                                                Holding Company : American Canning LLC
                                                                       Sales by Item Detail
                                                               September 1, 2024 - December 31, 2024
Item                                          Type      Date        Document Number   Description                                             Serial Numbers    Qty. Sold   Sales Price     Revenue                                          Customer
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/4/2024    INV49559          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C09170 Save The World Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/4/2024    INV49555          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $559.95   C10984 Bullfrog Creek Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/6/2024    INV49629          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C07983 Gilla Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/6/2024    INV49591          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C02770 Wings a-Blazn'
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/6/2024    INV49593          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C02132 Rowley Farmhouse Ales
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/6/2024    INV49594          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C04042 Sceptre Brewing Arts
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/12/2024   INV49732          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.18     $1,113.63   C10859 Corn Coast Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/12/2024   INV49730          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.18     $1,109.88   C02266 Audacious Aleworks
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/12/2024   INV49735          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.12       $376.49   C01434 St. Elmo Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/13/2024   INV49767          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $559.96   C05613 Grains & Taps LLC
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/13/2024   INV49766          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C06946 Mountaintown Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/16/2024   INV49794          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.18     $1,109.83   C09170 Save The World Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/17/2024   INV49831          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $511.45   C01507 Zilker Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/17/2024   INV49822          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $559.55   C02487 Nearburg Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/17/2024   INV49819          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C09536 Great Raft Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/18/2024   INV50294          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.11       $342.32   C01434 St. Elmo Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/20/2024   INV49952          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $554.12   C01542 Bankhead Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/20/2024   INV49922          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C05166 Three Taverns Brewery
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/20/2024   INV49953          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C06738 Tent City Beer
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/23/2024   INV50016          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $547.21   C10801 Fait la Force Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/23/2024   INV50036          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C01383 Red Horn Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/23/2024   INV50018          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.18     $1,111.94   C07990 KAPA GROUP LLC DBA BOOCHMAN KOMBUCHA
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/23/2024   INV50035          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C11018 JOSH KEYWORTH
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/25/2024   INV50052          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $435.68   C01352 Oddwood Ales
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/25/2024   INV50066          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $435.68   C11314 TRVE Brewing AVL
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/25/2024   INV50050          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.14       $871.36   C08199 Cabin Creek Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/25/2024   INV50060          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     9,336.00        $0.14     $1,290.05   C09297 Casey Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/25/2024   INV50070          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.14       $857.87   C01264 Hold Out Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/25/2024   INV50067          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $433.91   C11995 James Scrogin
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/25/2024   INV50076          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                    15,560.00        $0.14     $2,125.73   C02219 Dos Sirenos Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/26/2024   INV50164          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $435.41   C01997 Steamworks Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/26/2024   INV50187          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.18     $1,118.40   C01458 The Brewtorium
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/26/2024   INV50186          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.18     $1,120.32   C10548 Fast Friends Beer Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/26/2024   INV50159          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $435.68   C03290 Barking Armadillo Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/27/2024   INV50265          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $435.68   C02041 Blue Heron Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/27/2024   INV50253          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                    18,672.00        $0.14     $2,227.27   C09170 Save The World Brewing Co.
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/27/2024   INV50214          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.18       $560.16   C01310 Longtab Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/27/2024   INV50261          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $415.88   C05581 Bowigens Beer Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/27/2024   INV50201          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $435.68   C03403 Stumptown Brewery
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/27/2024   INV50248          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.14       $435.68   C02211 Royal Palm Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   9/27/2024   INV50211          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                    12,448.00        $0.14     $1,721.91   C08184 Buddhas Brew
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   10/2/2024   INV50370          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     3,112.00        $0.11       $342.32   C05613 Grains & Taps LLC
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   10/3/2024   INV50422          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                    18,672.00        $0.11     $2,053.92   C12216 Junkyard Brewing Company
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   10/3/2024   INV50423          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     9,336.00        $0.11     $1,026.96   C12223 Bird Street Brewing
       CAN-16OZ-STANDARD-BPANI-BALL-8L        Invoice   10/4/2024   INV50456          Can - 16oz - Standard Brite - BPANI - Ball - 8 Layers                     6,224.00        $0.11       $684.64   C01434 St. Elmo Brewing Co.
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/13/2024   INV49770          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                    16,338.00        $0.18     $2,916.20   C06491 Jester King Brewery
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/13/2024   INV49773          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.18       $972.69   C05598 Flashpoint Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/23/2024   INV50028          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                    27,230.00        $0.18     $4,830.90   C06491 Jester King Brewery
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/23/2024   INV49959          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.18       $977.11   C03194 Parleaux Beer Lab
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/25/2024   INV50053          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.14       $752.58   C01365 Palisade Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/26/2024   INV50169          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.14       $759.44   C10651 Tanner Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/26/2024   INV50163          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.14       $749.01   C10729 Wackadoo Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/27/2024   INV50251          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                    10,892.00        $0.12     $1,206.72   C03002 Icebox Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/27/2024   INV50260          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                    10,892.00        $0.14     $1,270.44   C06491 Jester King Brewery
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/27/2024   INV50259          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.14       $711.26   C06491 Jester King Brewery
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   9/27/2024   INV50257          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.12       $653.52   C09120 Earths Brew
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/2/2024   INV50366          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                    10,892.00        $0.10     $1,089.20   C01291 Kuenstler Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/2/2024   INV50357          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.10       $544.60   C03194 Parleaux Beer Lab
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/2/2024   INV50353          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.10       $544.60   C02961 Lazy Beach Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/2/2024   INV50349          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.10       $544.60   C01217 Fairhope Brewing Co.
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/2/2024   INV50408          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.10       $544.60   C10129 Traust Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/2/2024   INV50380          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.10       $544.60   C02280 Rally Cap Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/4/2024   INV50447          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                    38,122.00        $0.09     $3,430.98   C06080 prison brewing co llc
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/4/2024   INV50444          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                     5,446.00        $0.10       $544.60   C01383 Red Horn Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-14L       Invoice   10/4/2024   INV50445          Can - 16oz - Standard Brite - Epoxy - Ball - 14 Layer                    10,892.00        $0.10     $1,089.20   C01617 Crowling Rental Co
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/6/2024    INV49583          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                      3,112.00        $0.18       $562.03   C08319 Ink Factory Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/17/2024   INV49839          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                      3,112.00        $0.18       $560.16   C06407 Vacancy Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/19/2024   INV49919          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                      3,112.00        $0.18       $560.16   C08194 Manhattan Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/23/2024   INV50017          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                      3,112.00        $0.18       $560.09   C09379 Lawless Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/23/2024   INV50030          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                      3,112.00        $0.18       $560.16   C01300 Lazarus Brewing Co
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/25/2024   INV50088          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                      3,112.00        $0.14       $433.91   C03493 Coastal County Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/26/2024   INV50162          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                     12,448.00        $0.14     $1,725.00   C04386 Ankrolab Brewing Co.
       CAN-16OZ-STANDARD-EPOXY-BALL-8L        Invoice   9/26/2024   INV50184          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                      6,224.00        $0.14       $871.36   C01019 5 Stones Artisan Brewery
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                                                                             115


                                                                                    American Canning LLC
                                                                           Holding Company : American Canning LLC
                                                                                  Sales by Item Detail
                                                                          September 1, 2024 - December 31, 2024
Item                                                 Type          Date      Document Number   Description                                                 Serial Numbers     Qty. Sold   Sales Price     Revenue                                                Customer
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       9/27/2024 INV50272          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.18        $562.03 C08319 Ink Factory Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       9/27/2024 INV50255          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.12        $373.44 C03850 Riverside Rhapsody
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       9/27/2024 INV50249          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           6,224.00       $0.12        $700.52 C11182 Black Pearl Fisheries, llc
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       9/27/2024 INV50247          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.12        $373.44 C02211 Royal Palm Brewing Company
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       9/27/2024 INV50245          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           6,224.00       $0.12        $677.27 C01280 Infamous Brewing Co.
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       9/27/2024 INV50240          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.12        $373.44 C08799 Pneumatic Scale Angelus
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       9/27/2024 INV50266          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.14        $398.72 C05692 Desert Monks
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       10/2/2024 INV50362          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                          12,448.00       $0.10      $1,244.80 C12218 John Oglesbee
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       10/2/2024 INV50396          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.10        $311.20 C03196 Cypress Grove Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       10/2/2024 INV50384          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.10        $311.20 C01036 Ale Spike
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       10/3/2024 INV50431          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                           3,112.00       $0.14        $400.57 C06407 Vacancy Brewing
       CAN-16OZ-STANDARD-EPOXY-BALL-8L               Invoice       10/4/2024 INV50447          Can - 16oz - Standard Brite - Epoxy - Ball - 8 Layer                          37,344.00       $0.09      $3,360.96 C06080 prison brewing co llc
       CAN-187ML-SLIM-BPANI-BALL-11L                 Invoice       9/25/2024 INV50079          Can - 187mL Slim Brite - BPANI - Ball - 11 Layers                              6,446.00       $0.23      $1,472.72 C10924 Rinna Lee
       CAN-192OZ-STANDARD-BPANI-BALL-13L             Invoice       10/4/2024 INV50448          Can - 19.2oz Standard Brite - BPANI - Ball                                    60,684.00       $0.11      $6,675.24 C01617 Crowling Rental Co
       CAN-192OZ-STANDARD-BPANI-BALL-13L             Invoice       10/15/2024 INV50475         Can - 19.2oz Standard Brite - BPANI - Ball                                    25,285.00       $0.04      $1,011.40 C01514 Belching Beaver Brewery
       CAN-192OZ-STANDARD-BPANI-BALL-6L              Invoice       9/12/2024 INV49730          Can - 19.2oz Standard Brite - BPANI - Ball - 6L                                2,334.00       $0.29        $670.55 C02266 Audacious Aleworks
       CAN-192OZ-STANDARD-BPANI-BALL-6L              Invoice       9/16/2024 INV49834          Can - 19.2oz Standard Brite - BPANI - Ball - 6L                                4,668.00       $0.30      $1,390.97 C01617 Crowling Rental Co
       CAN-192OZ-STANDARD-BPANI-BALL-6L              Invoice       9/18/2024 INV49863          Can - 19.2oz Standard Brite - BPANI - Ball - 6L                                2,334.00       $0.29        $676.86 C02819 Weekend Brewing Company
       CAN-192OZ-STANDARD-BPANI-BALL-6L              Invoice       9/27/2024 INV50253          Can - 19.2oz Standard Brite - BPANI - Ball - 6L                                4,668.00       $0.22        $875.00 C09170 Save The World Brewing Co.
       CAN-192OZ-STANDARD-BPANI-BALL-6L              Invoice       10/2/2024 INV50400          Can - 19.2oz Standard Brite - BPANI - Ball - 6L                                9,336.00       $0.19      $1,773.84 C01617 Crowling Rental Co
       CAN-200ML-SLIM-BPANI-BALL-11L                 Invoice       10/7/2024 INV50459          Can - 200mL Slim Brite - BPANI - Ball -11L                                    25,784.00       $0.19      $4,913.91 C02158 Greenhook Ginsmiths
       CAN-200ML-SLIM-BPANI-BALL-20L                 Invoice       10/7/2024 INV50459          Can - 200mL Slim Brite - BPANI - Ball - 20L                                   46,880.00       $0.19      $8,934.39 C02158 Greenhook Ginsmiths
       CAN-200ML-SLIM-BPANI-BALL-22L                 Invoice       9/10/2024 INV49695          Can - 200mL Slim Brite - BPANI - Ball                                             30.00       $0.19        ($19.28) C12075 Gristmill Distillers
       CAN-250ML-SLIM-BPANI-GLOBAL-BALL-9L           Invoice       9/26/2024 INV50185          Can - 250mL Slim Brite - BPANI - Ball - GLOBAL - 9 layers                     15,822.00       $0.18      $2,768.85 C11832 Tenth Ward Distilling Co.
       CAN-250ML-SLIM-BPANI-GLOBAL-BALL-9L           Invoice       9/30/2024 INV50306          Can - 250mL Slim Brite - BPANI - Ball - GLOBAL - 9 layers                      5,274.00       $0.16        $843.84 C12206 Sistine Spritz
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/12/2024 INV49737          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.49      $1,171.44 C12100 The Growler Spot
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/16/2024 INV49834          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.50      $1,188.05 C01617 Crowling Rental Co
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/16/2024 INV49834          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.50      $1,496.59 C01617 Crowling Rental Co
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/23/2024 INV49980          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.36        $864.00 C03806 Bluffview Growler
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/23/2024 INV49979          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.36        $864.00 C12100 The Growler Spot
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/25/2024 INV50080          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.40        $960.00 C02646 Beers Looking At You
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/25/2024 INV50091          Can - 32oz Crowler Brite - BPANI - Ball                                        1,200.00       $0.39        $468.60 C01300 Lazarus Brewing Co
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/25/2024 INV50075          Can - 32oz Crowler Brite - BPANI - Ball                                        1,200.00       $0.36        $432.00 C02230 Quirk Brewing
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/25/2024 INV50054          Can - 32oz Crowler Brite - BPANI - Ball                                        1,200.00       $0.36        $432.00 C03491 Living the Dream Brewing Company
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/25/2024 INV50061          Can - 32oz Crowler Brite - BPANI - Ball                                        1,200.00       $0.36        $432.00 C06924 Krootz Brewing Co
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/27/2024 INV50197          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.34        $768.00 C11269 The Corner Craft Beer
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/27/2024 INV50209          Can - 32oz Crowler Brite - BPANI - Ball                                        1,200.00       $0.44        $484.03 C05646 Fly Llama Brewing
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/27/2024 INV50198          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.34        $771.24 C03583 Reservoir Brewing
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/30/2024 INV50304          Can - 32oz Crowler Brite - BPANI - Ball                                        1,200.00       $0.34        $408.00 C01746 Antietam Brewery
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       9/30/2024 INV50299          Can - 32oz Crowler Brite - BPANI - Ball                                        1,200.00       $0.44        $495.86 C08532 Low Road Brewing
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       10/2/2024 INV50390          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.30        $720.00 C10993 NINE GIANT BREWING
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       10/2/2024 INV50385          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.30        $720.00 C02907 Chicago Brew Werks
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       10/3/2024 INV50430          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.20        $480.00 C01617 Crowling Rental Co
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       10/4/2024 INV50448          Can - 32oz Crowler Brite - BPANI - Ball                                        2,400.00       $0.20        $480.00 C01617 Crowling Rental Co
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       10/4/2024 INV50445          Can - 32oz Crowler Brite - BPANI - Ball                                        4,800.00       $0.30      $1,440.00 C01617 Crowling Rental Co
       CAN-32OZ-CROWLER-BPANI-BALL                   Invoice       10/11/2024 INV50464         Can - 32oz Crowler Brite - BPANI - Ball                                        4,080.00       $0.20        $816.00 C11333 DECA Beer Company
       CAN-750ML-CROWLER-BPANI-BALL                  Invoice       9/23/2024 INV50025          Can - 750mL Crowler Brite - BPANI - BALL                                       5,760.00       $0.46      $2,649.60 C02349 Deft Brewing LLC
       CAN-750ML-CROWLER-BPANI-BALL                  Invoice       10/2/2024 INV50370          Can - 750mL Crowler Brite - BPANI - BALL                                       1,440.00       $0.28        $403.20 C05613 Grains & Taps LLC
       CAN-750ML-CROWLER-BPANI-BALL                  Invoice       10/2/2024 INV50416          Can - 750mL Crowler Brite - BPANI - BALL                                       8,640.00       $0.28      $2,419.20 C01368 Pinthouse Pizza, LLC
       CAN-750ML-CROWLER-BPANI-BALL                  Invoice       10/2/2024 INV50387          Can - 750mL Crowler Brite - BPANI - BALL                                       5,760.00       $0.28      $1,612.80 C10581 Buckin Nuts
       CAN-750ML-CROWLER-BPANI-BALL                  Invoice       10/3/2024 INV50430          Can - 750mL Crowler Brite - BPANI - BALL                                      14,400.00       $0.18      $2,592.00 C01617 Crowling Rental Co
       CAN-750ML-CROWLER-BPANI-BALL                  Invoice       10/4/2024 INV50448          Can - 750mL Crowler Brite - BPANI - BALL                                       5,760.00       $0.18      $1,036.80 C01617 Crowling Rental Co
       CAN-750ML-CROWLER-BPANI-BALL                  Invoice       10/4/2024 INV50445          Can - 750mL Crowler Brite - BPANI - BALL                                       7,200.00       $0.28      $2,016.00 C01617 Crowling Rental Co
       CAN-75OZ-SLEEK-BPANI-BALL-12L                 Invoice       10/10/2024 INV50466         Can - 7.5 oz Sleek Brite - BPANI - Ball -12L                                  66,792.00       $0.04      $2,671.68 C08432 WilCraft Can
       CAN-75OZ-SLEEK-BPANI-BALL-21L                 Invoice       10/3/2024 INV50425          Can - 7.5 oz Sleek Brite - BPANI - Ball -21L                                  10,626.00       $0.09        $956.34 C11503 Jarek Elmasian
       CAN-75OZ-SLEEK-BPANI-BALL-21L                 Invoice       10/10/2024 INV50466         Can - 7.5 oz Sleek Brite - BPANI - Ball -21L                                  42,504.00       $0.04      $1,700.16 C08432 WilCraft Can
       CAN-75OZ-SLEEK-BPANI-BALL-21L                 Credit Memo   10/31/2024 CM1553           Can - 7.5 oz Sleek Brite - BPANI - Ball -21L                                 -10,626.00       $0.04       ($425.04) C08432 WilCraft Can
       CAN-75OZ-SLEEK-BPANI-BALL-24L                 Invoice       9/17/2024 INV49838          Can - 7.5 oz Sleek Brite - BPANI - Ball -024L                                     60.00       $0.14          $8.34 C11032 FuelX Technologies
       CAN-75OZ-SLEEK-BPANI-BALL-24L                 Invoice       10/10/2024 INV50466         Can - 7.5 oz Sleek Brite - BPANI - Ball -024L                                 12,114.00       $0.04        $484.56 C08432 WilCraft Can
       END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/27/2024 INV50203          End, Slim, CDL-W, Ball, BPANI, 10ST                                               36.00      $32.24      $1,052.74 C11415 Wondry Wine
       END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       10/1/2024 INV50340          End, Slim, CDL-W, Ball, BPANI, 10ST                                               12.00      $23.76        $285.12 C06237 Protector Cellars
       END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       10/4/2024 INV50446          End, Slim, CDL-W, Ball, BPANI, 10ST                                               48.00      $23.76      $1,140.48 C11300 Canned Fun LLC
       END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-575    Invoice       9/6/2024   INV49613         End, Slim, CDL-W, Ball, BPANI, 10ST                                               35.00      $34.93      $1,183.00 C12077 DIO Cocktails
       END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-575    Invoice       9/20/2024 INV49941          End, Slim, CDL-W, Ball, BPANI, 10ST                                               64.00      $34.93      $2,096.00 C10549 Ventura Spirits Co.
       END-200-CDLW-10ST-SLVR-SLVR-BALL-BPANI-575    Invoice       9/25/2024 INV50079          End, Slim, CDL-W, Ball, BPANI, 10ST                                               12.00      $34.93        $416.37 C10924 Rinna Lee
       END-200-CDLW-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/26/2024 INV50185          End, Slim, CDL-W, Ball, BPANI                                                     36.00      $24.84        $894.24 C11832 Tenth Ward Distilling Co.
       END-202-CDL-10ST-GLD-SLVR-BALL-BPANI-600      Invoice       9/16/2024 INV49811          End, 202 CDL+, Gold Shell, 10ST, Ball, BPANI                                       1.00      $26.16         $26.16 C10584 Creek Leaf Wellness dba Easy Hemp Co.
       END-202-CDL-10ST-GLD-SLVR-BALL-BPANI-600      Invoice       9/20/2024 INV49925          End, 202 CDL+, Gold Shell, 10ST, Ball, BPANI                                     168.00      $24.69      $4,147.92 C10584 Creek Leaf Wellness dba Easy Hemp Co.
       END-202-CDL-10ST-GLD-SLVR-BALL-BPANI-600      Invoice       10/1/2024 INV50335          End, 202 CDL+, Gold Shell, 10ST, Ball, BPANI                                      24.00      $17.20        $412.80 C06681 Clouds Brewing
       END-202-CDL-10ST-GLD-SLVR-BALL-BPANI-600      Invoice       10/1/2024 INV50338          End, 202 CDL+, Gold Shell, 10ST, Ball, BPANI                                      24.00      $17.20        $412.80 C02260 Bold Monk Brewing Co
       END-202-CDL-10ST-GLD-SLVR-BALL-BPANI-600      Invoice       10/2/2024 INV50362          End, 202 CDL+, Gold Shell, 10ST, Ball, BPANI                                      12.00      $17.20        $206.40 C12218 John Oglesbee
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600     Invoice       9/4/2024   INV49523         End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                     1.00      $26.16         $25.80 C10779 Christian Perez
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600     Invoice       9/5/2024   INV49578         End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                     7.00      $26.16        $183.12 C02651 Holzlager Brewing LLC
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                                                                             Sales by Item Detail
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Item                                                Type      Date        Document Number   Description                                                     Serial Numbers   Qty. Sold   Sales Price      Revenue                                                  Customer
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600    Invoice   9/20/2024   INV49957          End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                     10.00       $26.16         $260.84   C04033 Love's Kombucha
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600    Invoice   9/26/2024   INV50152          End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                     36.00       $21.74         $782.64   C06034 Botanical Brewing Co
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600    Invoice   9/27/2024   INV50258          End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                     12.00       $21.74         $260.88   C06034 Botanical Brewing Co
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600    Invoice   10/1/2024   INV50339          End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                     24.00       $16.20         $388.80   C12229 Tumbleroot
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600    Invoice   10/2/2024   INV50382          End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                    432.00       $16.20       $6,998.40   C12224 Pier-Luca Bruno
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600    Invoice   10/3/2024   INV50424          End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                     12.00       $16.20         $194.40   C12227 Joe Wood
       END-202-CDL-10ST-SLVR-SLVR-BALL-BPANI-600    Invoice   10/4/2024   INV50451          End, 202 CDL+, Silver Shell, 10ST, Ball, BPANI                                    201.00       $12.00       $2,412.00   C01083 Austin Beerworks
       END-202-CDL-5ST-SLVR-SLVR-BALL-BPANI-600     Invoice   9/10/2024   INV49704          End, 202 CDL+, Silver Shell, 5ST, Ball, BPANI                                     637.00       $20.00      $12,738.73   C10127 Victory Beverages
       END-202-CDL-BLANK-SLVR-SLVR-BALL-BPANI-600   Invoice   10/2/2024   INV50382          End, 202 CDL+, Silver Shell, BLANK, Ball, BPANI                                   128.00       $16.60       $2,124.80   C12224 Pier-Luca Bruno
       END-202-CDL-BLANK-SLVR-SLVR-BALL-BPANI-600   Invoice   10/2/2024   INV50396          End, 202 CDL+, Silver Shell, BLANK, Ball, BPANI                                    12.00       $16.60         $199.20   C03196 Cypress Grove Brewing
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/3/2024    INV49490          End, 202 LOE/B-64, Gold 10ST, BPANI                                                46.00       $25.57       $1,176.22   C07772 (512) Brewing Co
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/3/2024    INV49516          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 6.00       $25.57         $153.42   C06309 Suite B34
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/4/2024    INV49532          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $296.88   C05765 Bellwether Brewing
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/4/2024    INV49558          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 2.00       $25.57          $51.14   C11118 Green Ape Coffee Roasters
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/4/2024    INV49560          End, 202 LOE/B-64, Gold 10ST, BPANI                                                22.00       $24.74         $544.29   C07749 Palate Pack
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/5/2024    INV49570          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 5.00       $25.57         $102.85   C10815 Southern Revere Cellars
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/5/2024    INV49568          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 4.00       $25.57         $102.28   C01352 Oddwood Ales
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/6/2024    INV49602          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $304.52   C12080 James Woods
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/6/2024    INV49592          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 4.00       $25.57         $102.28   C10649 Terry Hawbaker
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/9/2024    INV49640          End, 202 LOE/B-64, Gold 10ST, BPANI                                                25.00       $25.57         $637.49   C12091 Tom Fernandez
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/9/2024    INV49634          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $301.12   C09629 Transparent Brewing Company
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/10/2024   INV49692          End, 202 LOE/B-64, Gold 10ST, BPANI                                                10.00       $25.57         $255.70   C02583 CODA Brewing Co.
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/10/2024   INV49687          End, 202 LOE/B-64, Gold 10ST, BPANI                                                18.00       $25.57         $454.50   C04008 Electric Brewing co
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/10/2024   INV49702          End, 202 LOE/B-64, Gold 10ST, BPANI                                               320.00       $23.72       $7,590.22   C01438 Stormalong Cider
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/11/2024   INV49712          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 2.00       $25.57          $50.02   C05312 Mary Rooney
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/12/2024   INV49727          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $303.00   C11525 TightKnit Brewing Co.
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/12/2024   INV49756          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 1.00       $25.57          $25.57   C08078 White Rock Alehouse
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/13/2024   INV49779          End, 202 LOE/B-64, Gold 10ST, BPANI                                                20.00       $25.57         $505.00   C07047 Movement Brewing Co.
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/16/2024   INV49797          End, 202 LOE/B-64, Gold 10ST, BPANI                                                24.00       $25.57         $606.00   C05151 Forest and Main Brewing Company
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/18/2024   INV49888          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 2.00       $25.57          $51.14   C02382 Community Beer Works
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/18/2024   INV49855          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 6.00       $25.57         $150.74   C07188 Lucky Luke Brewing
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/18/2024   INV49852          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $303.00   C03085 False Idol Brewing
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/18/2024   INV50460          End, 202 LOE/B-64, Gold 10ST, BPANI                                                24.00       $25.57         $612.46   C06815 Mean Mule Distillery Co
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/18/2024   INV50294          End, 202 LOE/B-64, Gold 10ST, BPANI                                                80.00       $17.34       $1,387.20   C01434 St. Elmo Brewing Co.
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/20/2024   INV49939          End, 202 LOE/B-64, Gold 10ST, BPANI                                                16.00       $25.57         $409.12   C11525 TightKnit Brewing Co.
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/20/2024   INV49950          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $303.00   C07188 Lucky Luke Brewing
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/20/2024   INV49934          End, 202 LOE/B-64, Gold 10ST, BPANI                                                11.00       $25.57         $281.27   C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/20/2024   INV49947          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $306.84   C07744 Wye Hill Kitchen & Brewing
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/20/2024   INV49935          End, 202 LOE/B-64, Gold 10ST, BPANI                                                11.00       $25.57         $281.27   C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/23/2024   INV50016          End, 202 LOE/B-64, Gold 10ST, BPANI                                                36.00       $25.57         $899.24   C10801 Fait la Force Brewing Company
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/23/2024   INV50017          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 7.00       $25.57         $178.97   C09379 Lawless Brewing Company
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/23/2024   INV50012          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 1.00       $25.57          $25.52   C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/23/2024   INV49985          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $303.00   C01980 Citizen Cider
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/23/2024   INV50029          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $306.84   C01291 Kuenstler Brewing
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/25/2024   INV50142          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $306.84   C05812 Fort Point Beer Co
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/25/2024   INV50118          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $22.30         $267.60   C11762 Potosi Beverage Co
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/25/2024   INV50069          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $306.08   C10755 Natural 20 Brewing Co.
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/25/2024   INV50130          End, 202 LOE/B-64, Gold 10ST, BPANI                                                24.00       $25.57         $613.68   C07772 (512) Brewing Co
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/26/2024   INV50184          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $306.84   C01019 5 Stones Artisan Brewery
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/26/2024   INV50151          End, 202 LOE/B-64, Gold 10ST, BPANI                                                 8.00       $19.51         $156.08   C10315 Addison Lippert
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/26/2024   INV50173          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $305.46   C01133 Black Star Co-op
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/27/2024   INV50204          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $22.30         $259.59   C03067 Pearl Beach Brew Pub
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/27/2024   INV50214          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $25.57         $306.84   C01310 Longtab Brewing Company
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   9/30/2024   INV50298          End, 202 LOE/B-64, Gold 10ST, BPANI                                               259.00       $15.98       $4,138.82   C09320 1220 Spirits
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   10/2/2024   INV50414          End, 202 LOE/B-64, Gold 10ST, BPANI                                               342.00       $17.34       $5,930.28   C10584 Creek Leaf Wellness dba Easy Hemp Co.
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   10/2/2024   INV50416          End, 202 LOE/B-64, Gold 10ST, BPANI                                                48.00       $20.81         $998.88   C01368 Pinthouse Pizza, LLC
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   10/3/2024   INV50418          End, 202 LOE/B-64, Gold 10ST, BPANI                                                12.00       $22.30         $263.87   C01082 Austin Beer Garden & Brewery
       END-202-LOE-10ST-GLD-SLVR-BALL-BPANI-552     Invoice   10/4/2024   INV50456          End, 202 LOE/B-64, Gold 10ST, BPANI                                               180.00       $17.34       $3,121.20   C01434 St. Elmo Brewing Co.
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/3/2024    INV49505          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      11.00       $25.57         $281.27   C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/3/2024    INV49509          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $306.84   C07120 Candy Cloud
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/4/2024    INV49554          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       8.00       $25.57         $204.56   C11194 Moon Flower
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/4/2024    INV49526          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $25.57         $920.52   C11370 Candy Cloud
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/4/2024    INV49545          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $306.84   C06979 Dark Matter Coffee
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/4/2024    INV49555          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       6.00       $25.57         $153.36   C10984 Bullfrog Creek Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/5/2024    INV49565          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       5.00       $25.57         $127.85   C11392 BCAG
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/5/2024    INV49577          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      35.00       $25.57         $894.95   C10917 Indigo
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/6/2024    INV49628          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      48.00       $25.57       $1,227.36   C09464 Big Hat Spirits
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/6/2024    INV49583          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       6.00       $25.17         $151.03   C08319 Ink Factory Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/6/2024    INV49617          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       2.00       $25.57          $51.02   C05371 Nathan Doerfler
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/9/2024    INV49632          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       2.00       $25.57          $51.02   C09328 Fistful of Ale
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/9/2024    INV49638          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      20.00       $25.57         $493.60   C12044 adventurous ales
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/9/2024    INV49637          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       1.00       $25.57          $25.57   C09544 Givaudan
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552     Invoice   9/10/2024   INV49688          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      20.00       $25.57         $486.40   C11400 Nishesh Patel
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       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/11/2024 INV49720          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       6.00       $25.57         $153.42 C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/11/2024 INV49712          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       2.00       $25.57          $50.02 C05312 Mary Rooney
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/12/2024 INV49734          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      44.00       $23.60       $1,038.31 C09654 Indigo
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/12/2024 INV49754          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       2.00       $25.57          $51.02 C03053 13th Child Brewing LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/12/2024 INV49732          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $305.01 C10859 Corn Coast Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/13/2024 INV49767          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       4.00       $25.57         $102.24 C05613 Grains & Taps LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/13/2024 INV49768          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       8.00       $25.57         $204.44 C05581 Bowigens Beer Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/13/2024 INV49766          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $25.57         $920.52 C06946 Mountaintown Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/16/2024 INV49796          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $302.45 C10296 Barry VanDyke
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/16/2024 INV49814          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $25.57         $878.99 C08589 Greenbrier Valley Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/16/2024 INV49815          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      24.00       $25.57         $592.32 C09962 Faith Springs, LLC dba H2forLife
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/18/2024 INV49842          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       6.00       $25.57         $153.42 C11477 Tara Wrage
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/18/2024 INV49859          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $306.84 C06979 Dark Matter Coffee
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/18/2024 INV49845          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       7.00       $25.57         $178.57 C08972 Magic 13
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/18/2024 INV49876          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $306.84 C07120 Candy Cloud
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/18/2024 INV49864          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $25.57         $920.52 C08263 The Brewery at Tirrito Farm
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/18/2024 INV49867          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      48.00       $25.57       $1,147.68 C07193 Barrow Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/19/2024 INV49910          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       4.00       $25.57         $102.21 C08640 Knotty Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/19/2024 INV49912          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      14.00       $25.57         $345.52 C05162 Pig Minds Brewing Co
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/19/2024 INV49916          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $299.70 C11392 BCAG
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49962          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      11.00       $25.57         $280.61 C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49933          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       4.00       $25.57         $102.17 C11665 Cedar City Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49955          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      60.00       $25.57       $1,534.20 C06979 Dark Matter Coffee
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49952          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $303.53 C01542 Bankhead Brewing Co.
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49964          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                     144.00       $25.57       $3,337.92 C11017 The Mills Beer
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49966          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       3.00       $25.57          $76.53 C09794 Cedars Brewpub LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49949          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       4.00       $25.57         $102.04 C09544 Givaudan
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49948          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $25.57         $860.76 C08993 Wild River Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/20/2024 INV49944          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      60.00       $25.57       $1,534.20 C12156 Candy Cloud Glenview
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/23/2024 INV50011          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $306.84 C01596 King Bean Coffee
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/23/2024 INV50017          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       4.00       $25.57         $102.27 C09379 Lawless Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/23/2024 INV50012          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      10.00       $25.57         $255.15 C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/23/2024 INV50018          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $304.54 C07990 KAPA GROUP LLC DBA BOOCHMAN KOMBUCHA
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/23/2024 INV50035          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $306.84 C11018 JOSH KEYWORTH
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/23/2024 INV49970          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      60.00       $25.57       $1,534.20 C02616 Buckstin Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/25/2024 INV50139          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      60.00       $25.57       $1,434.60 C01262 Hidden Springs Ale Works
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/25/2024 INV50077          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       8.00       $25.57         $204.43 C11194 Moon Flower
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/25/2024 INV50137          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                     108.00       $25.57       $2,582.28 C10917 Indigo
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50164          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       6.00       $25.57         $153.33 C01997 Steamworks Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50148          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $21.32         $255.84 C09120 Earths Brew
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50154          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $22.84         $274.08 C11440 Ocelot Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50171          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      60.00       $25.57       $1,534.20 C03052 Pedal Haus Brewery
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50170          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $25.57         $860.76 C08993 Wild River Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50184          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $306.84 C01019 5 Stones Artisan Brewery
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50162          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $25.57         $303.72 C04386 Ankrolab Brewing Co.
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50161          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      72.00       $22.84       $1,439.28 C10296 Barry VanDyke
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50155          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                     108.00       $22.84       $2,031.48 C09023 Throwback Brewery
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/26/2024 INV50158          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $22.84         $274.08 C10868 Fermented Felon LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50272          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $24.36         $292.32 C08319 Ink Factory Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50249          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $21.32         $239.96 C11182 Black Pearl Fisheries, llc
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50219          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      60.00       $16.43         $985.80 C09529 Black Spruce Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50208          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      72.00       $22.84       $1,644.48 C02961 Lazy Beach Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50261          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      15.00       $22.84         $327.03 C05581 Bowigens Beer Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50256          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                     108.00       $21.32       $1,978.31 C07571 The Southern Growl Beer Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50204          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $22.84         $265.88 C03067 Pearl Beach Brew Pub
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50267          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                     192.00       $21.32       $3,231.36 C06979 Dark Matter Coffee
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/27/2024 INV50248          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      12.00       $21.32         $255.84 C02211 Royal Palm Brewing Company
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       9/30/2024 INV50312          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                       7.00       $16.43         $115.01 C02415 Vector Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       10/1/2024 INV50334          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $16.43         $591.48 C01147 Brazos Valley Brewing
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       10/3/2024 INV50427          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                     248.00       $22.50       $5,580.00 C07251 Ranch House Brewery
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Invoice       10/3/2024 INV50419          End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                      36.00       $21.32         $767.52 C11667 Rusty Axe Brewing Company, LLC
       END-202-LOE-10ST-SLVR-BLK-BALL-BPANI-552    Credit Memo   10/29/2024 CM1551           End, 202 LOE/B-64, Silver Shell, Black Tab, 10ST, Ball, BPANI                     -17.00       $22.50        ($382.50) C07251 Ranch House Brewery
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/3/2024   INV49491         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                        6.00       $25.57         $153.42 C01383 Red Horn Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/3/2024   INV49520         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                        7.00       $25.57         $178.99 C02904 River Bluff Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/4/2024   INV49535         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                       12.00       $25.57         $296.88 C01380 Ranger Creek Brewing & Distilling
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/4/2024   INV49528         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                       12.00       $25.57         $296.50 C07261 Our Mutual Friend Brewing Co.
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/4/2024   INV49546         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                       12.00       $25.57         $304.47 C05598 Flashpoint Brewing Company
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/4/2024   INV49537         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                       12.00       $25.57         $296.88 C10502 Bradley Gaines
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/6/2024   INV49587         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                      637.00       $19.32      $12,306.84 C09190 Altstadt Brewery
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/6/2024   INV49591         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                        4.00       $25.57         $102.28 C02770 Wings a-Blazn'
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/6/2024   INV49590         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                       10.00       $25.57         $255.70 C01383 Red Horn Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/9/2024   INV49636         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                       36.00       $25.57         $920.52 C02425 Goodwood Brewing Co.
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552   Invoice       9/9/2024   INV49634         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                                       12.00       $25.57         $301.12 C09629 Transparent Brewing Company
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                                                                                   American Canning LLC
                                                                          Holding Company : American Canning LLC
                                                                                 Sales by Item Detail
                                                                         September 1, 2024 - December 31, 2024
Item                                                Type          Date      Document Number   Description                                    Serial Numbers   Qty. Sold   Sales Price      Revenue                                            Customer
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/9/2024   INV49661         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                        7.00      $25.57         $178.99 C09617 Third Coast Coffee
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/9/2024   INV49660         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                      144.00      $25.57       $3,532.95 C06912 Junkyard Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/9/2024   INV49635         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                        2.00      $25.57          $50.34 C08640 Knotty Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/9/2024   INV49639         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                        3.00      $25.57          $75.51 C12086 Peggy Teufel
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/11/2024 INV49720          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                        5.00      $25.57         $127.85 C11282 HIVEMIND BEVERAGE LLC
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Credit Memo   9/11/2024 CM1473            End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                      -10.00      $25.57        ($255.70) C07186 Justin Cloud
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/11/2024 INV49705          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       10.00      $25.57         $218.34 C07186 Justin Cloud
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/12/2024 INV49738          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       28.00      $24.36         $682.07 C12021 Sunny Bev LLC
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/12/2024 INV49762          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       20.00      $25.57         $487.20 C04804 Ole Shed Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/12/2024 INV49735          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       12.00      $24.74         $296.89 C01434 St. Elmo Brewing Co.
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/13/2024 INV49770          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       31.00      $25.57         $786.03 C06491 Jester King Brewery
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/13/2024 INV49780          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       12.00      $25.57         $300.28 C07878 Crooked Thumb Brewery
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/16/2024 INV49794          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       12.00      $25.57         $303.97 C09170 Save The World Brewing Co.
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/16/2024 INV49834          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       40.00      $23.97         $958.71 C01617 Crowling Rental Co
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/16/2024 INV49793          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       48.00      $25.57       $1,132.80 C09617 Third Coast Coffee
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/17/2024 INV49839          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                        6.00      $25.51         $153.06 C06407 Vacancy Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/17/2024 INV49828          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                        8.00      $25.17         $201.37 C11469 Voyager Cider
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/17/2024 INV49826          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       38.00      $23.60         $896.72 C10781 Pauwela Beverage Co.
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/17/2024 INV49837          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       18.00      $24.90         $448.21 C01194 Cuvee Coffee Co
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/18/2024 INV49855          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       12.00      $25.57         $301.49 C07188 Lucky Luke Brewing
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/20/2024 INV49974          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                      578.00      $17.94      $10,369.32 C04472 Live Oak Brewing CO.
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/20/2024 INV49924          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                        1.00      $25.57          $25.56 C12140 MAG Formulations
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       9/20/2024 INV49926          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                       48.00      $25.57       $1,132.80 C01380 Ranger Creek Brewing & Distilling
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       10/2/2024 INV50416          End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                      637.00      $17.94      $11,427.78 C01368 Pinthouse Pizza, LLC
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       10/16/2024 INV50479         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                      637.00      $19.32      $12,306.84 C09190 Altstadt Brewery
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       10/17/2024 INV50478         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                    1,274.00      $19.32      $24,613.68 C10064 Sovany
       END-202-LOE-10ST-SLVR-SLVR-BALL-BPANI-552    Invoice       10/23/2024 INV50477         End, 202 LOE/B-64, Silver, 10ST, Ball, BPANI                      637.00      $19.32      $12,306.84 C09190 Altstadt Brewery
       END-202-LOE-4ST-SLVR-SLVR-BALL-BPANI-552     Invoice       10/4/2024 INV50448          End, 202 LOE/B-64, Silver, 4ST, Ball, BPANI                       652.00      $15.18       $9,897.36 C01617 Crowling Rental Co
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/3/2024   INV49490         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       46.00      $25.57       $1,176.22 C07772 (512) Brewing Co
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/3/2024   INV49512         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        4.00      $25.57         $102.28 C02230 Quirk Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/5/2024   INV49574         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       36.00      $25.57         $920.52 C07730 Parsons North Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/6/2024   INV49629         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        4.00      $25.57         $102.28 C07983 Gilla Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/6/2024   INV49595         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       14.00      $25.57         $353.67 C02071 Frontyard Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/6/2024   INV49608         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        1.00      $25.57          $25.17 C12084 Mucho Mate
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/6/2024   INV49630         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       18.00      $24.74         $445.33 C01472 True Vine Brewing Co.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/9/2024   INV49633         End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        5.00      $25.57         $127.85 C02280 Rally Cap Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/10/2024 INV49703          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                      117.00      $23.60       $2,760.97 C03382 Okc Soda Co
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/10/2024 INV49686          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       40.00      $25.57         $944.00 C03371 Irwin Brewing CO
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/10/2024 INV49697          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        8.00      $25.57         $204.56 C08173 3rd Level Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/10/2024 INV49680          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        2.00      $25.57          $50.34 C05169 Copper Club
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/10/2024 INV49699          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       15.00      $25.57         $380.52 C01045 Amalga Distillery LLC
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/11/2024 INV49719          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        8.00      $25.57         $204.56 C08810 MoonGoat Coffee
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/11/2024 INV49712          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       24.00      $25.57         $600.29 C05312 Mary Rooney
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/11/2024 INV49715          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        4.00      $25.57         $102.28 C10491 Rueggenbach Brewing Co LLC
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/12/2024 INV49730          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       22.00      $25.57         $557.30 C02266 Audacious Aleworks
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/13/2024 INV49769          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       44.00      $25.57       $1,038.40 C01168 Celis Brewery
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/17/2024 INV49822          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        2.00      $25.57          $51.08 C02487 Nearburg Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/18/2024 INV49860          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $302.35 C09707 Fat Toad Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/18/2024 INV49846          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $299.00 C03659 Defiance Brewing Co.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/18/2024 INV49861          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        8.00      $25.57         $204.56 C12131 Sharon Garman
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/19/2024 INV49909          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        4.00      $25.57         $100.68 C12146 Jimmy's Java Inc.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49928          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       10.00      $25.57         $254.06 C06026 Roughhouse Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49975          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       44.00      $25.57       $1,108.90 C06491 Jester King Brewery
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49973          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       18.00      $24.36         $438.48 C01201 Dorcol Distilling + Brewing Co.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49938          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       36.00      $25.57         $864.65 C05312 Mary Rooney
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49953          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        6.00      $25.57         $153.42 C06738 Tent City Beer
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49947          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $306.84 C07744 Wye Hill Kitchen & Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49946          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       60.00      $25.57       $1,416.00 C05504 Townline Ciderworks
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49936          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        4.00      $25.57         $100.68 C10085 The Busted Cup Brewhouse
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49951          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $299.56 C03002 Icebox Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/20/2024 INV49958          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       10.00      $25.57         $254.87 C03194 Parleaux Beer Lab
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/23/2024 INV50014          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       10.00      $25.57         $255.70 C08317 Onsite Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/23/2024 INV50032          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $306.84 C02812 Short Story Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/23/2024 INV50037          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $306.84 C02444 Whistle Punk Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/23/2024 INV50036          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        8.00      $25.57         $204.56 C01383 Red Horn Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50121          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $21.67         $260.04 C03659 Defiance Brewing Co.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50091          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $306.84 C01300 Lazarus Brewing Co
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50147          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $297.02 C02280 Rally Cap Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50146          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       24.00      $25.57         $613.68 C08455 National Food Lab
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50138          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $306.84 C03008 Spring Branch Kombucha
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50136          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00      $25.57         $292.32 C12183 Mitchell Zost
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50060          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       17.00      $25.57         $429.04 C09297 Casey Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice       9/25/2024 INV50130          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       48.00      $25.57       $1,227.36 C07772 (512) Brewing Co
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                                                                               American Canning LLC
                                                                      Holding Company : American Canning LLC
                                                                             Sales by Item Detail
                                                                     September 1, 2024 - December 31, 2024
Item                                                Type      Date        Document Number   Description                                     Serial Numbers   Qty. Sold   Sales Price     Revenue                                              Customer
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50141          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $25.57        $306.84   C04112 Division Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50140          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       50.00       $25.57      $1,180.00   C08589 Greenbrier Valley Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50070          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $25.57        $302.09   C01264 Hold Out Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50067          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        6.00       $25.57        $152.79   C11995 James Scrogin
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50088          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        6.00       $25.57        $152.79   C03493 Coastal County Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50076          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       36.00       $25.57        $898.26   C02219 Dos Sirenos Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50144          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       10.00       $25.57        $254.70   C10651 Tanner Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50143          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       48.00       $25.57      $1,132.80   C04252 Crooked Pecker Brewing Co
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/25/2024   INV50145          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $25.57        $302.67   C02956 Batch Craft Beer & Kolaches
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50159          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        6.00       $21.67        $130.02   C03290 Barking Armadillo Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50174          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       60.00       $25.57      $1,416.00   C12172 Eagle Warehousing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50187          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        6.00       $25.57        $153.16   C01458 The Brewtorium
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50157          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C10129 Traust Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50153          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C02046 Rock Stacker LLC
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50180          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                        6.00       $25.57        $153.42   C06681 Clouds Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50163          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $25.57        $301.44   C10729 Wackadoo Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/26/2024   INV50186          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       24.00       $25.57        $613.68   C10548 Fast Friends Beer Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50236          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       20.00       $21.67        $361.08   C06491 Jester King Brewery
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50255          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C03850 Riverside Rhapsody
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50246          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C09868 Russell Powers
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50245          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       48.00       $21.67        $943.21   C01280 Infamous Brewing Co.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50235          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       36.00       $21.67        $780.12   C08455 National Food Lab
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50234          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C07490 Icarus Fermentation
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50263          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       24.00       $21.67        $520.08   C02071 Frontyard Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50259          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $242.58   C06491 Jester King Brewery
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50226          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C03169 Bear Fox LLC
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50201          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C03403 Stumptown Brewery
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50196          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C01201 Dorcol Distilling + Brewing Co.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50212          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $25.57        $297.16   C06026 Roughhouse Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50211          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       23.00       $25.57        $581.09   C08184 Buddhas Brew
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50265          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C02041 Blue Heron Brewing Co.
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50254          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $260.04   C12195 Colorado State University
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/27/2024   INV50239          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       26.00       $21.67        $525.98   C01437 Stesti Brewing Company
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/30/2024   INV50301          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       22.00       $21.67        $395.75   C02567 The Thirsty Growler
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   9/30/2024   INV50299          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       12.00       $21.67        $244.21   C08532 Low Road Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   10/3/2024   INV50431          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       10.00       $21.67        $199.24   C06407 Vacancy Brewing
       END-202-LOE-BLANK-SLVR-SLVR-BALL-BPANI-552   Invoice   10/4/2024   INV50443          End, 202 LOE/B-64, Silver Blank, Ball, BPANI                       24.00       $21.67        $464.55   C07772 (512) Brewing Co
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/6/2024    INV49616          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      10.00       $24.41        $244.10   C10915 Township Brewing
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/12/2024   INV49757          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                       4.00       $24.00         $96.00   C08061 Tennfold Brewing
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/13/2024   INV49784          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      24.00       $24.00        $576.00   C02901 Nebraska Brewing Company
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/13/2024   INV49782          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      24.00       $24.00        $576.00   C09989 Michael Pearson
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/16/2024   INV49785          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      27.00       $24.00        $648.00   C01373 Pretoria Fields Collective
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/17/2024   INV49833          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                     361.00       $24.00      $7,885.19   C01507 Zilker Brewing Company
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/19/2024   INV49895          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      48.00       $24.00      $1,152.00   C03138 Daredevil Brewing Co
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/19/2024   INV49894          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      48.00       $24.00      $1,116.00   C03138 Daredevil Brewing Co
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/23/2024   INV50009          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      24.00       $24.00        $576.00   C07391 Schoolcraft College
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/23/2024   INV50010          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      75.00       $24.00      $1,743.75   C02901 Nebraska Brewing Company
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/26/2024   INV50160          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                     108.00       $20.00      $1,566.00   C01904 8-Bit Aleworks
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/27/2024   INV50266          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      12.00       $20.00        $219.64   C05692 Desert Monks
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/27/2024   INV50218          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      96.00       $12.20      $1,171.20   C03138 Daredevil Brewing Co
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/27/2024   INV50241          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      12.00       $16.57        $198.84   C01494 Whitestone Brewery
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   9/27/2024   INV50230          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      36.00       $16.57        $596.52   C03498 Block Brewing Company
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   10/1/2024   INV50344          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                     624.00       $11.60      $7,238.40   C01278 Independence Brewing Co.
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   10/1/2024   INV50342          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      12.00       $12.20        $146.40   C03245 Symbiotik Kombucha
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   10/2/2024   INV50349          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      24.00       $12.20        $292.80   C01217 Fairhope Brewing Co.
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   10/3/2024   INV50421          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                      24.00       $16.57        $397.68   C10832 Zen Donkey Farms
       END-202-SUPR-10ST-SLVR-SLVR-CRWN-BPANI-580   Invoice   10/4/2024   INV50450          End, 202 SuperEnd®, Silver 10ST, Crown, BPANI                     624.00       $13.05      $8,143.20   C11052 Four Corners Brewing Company
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/3/2024    INV49507          End, 300, King, Silver, 10ST, Ball, BPANI                           2.00       $59.36        $118.72   C12051 Edward Liversidge
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/3/2024    INV49517          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.36   C01746 Antietam Brewery
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/4/2024    INV49540          End, 300, King, Silver, 10ST, Ball, BPANI                           3.00       $59.36        $178.08   C09730 Zorn Brew Works
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/4/2024    INV49525          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.18   C11643 Other Lands
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/4/2024    INV49555          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.34   C10984 Bullfrog Creek Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/6/2024    INV49629          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.36   C07983 Gilla Brewing Company
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/6/2024    INV49612          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.36   C03927 42 North Brewing Company
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/6/2024    INV49584          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.68         $59.68   C01083 Austin Beerworks
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/10/2024   INV49690          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.36   C10070 Cooper House Project
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/11/2024   INV49713          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.18   C02873 Cloven Hoof Brewing Co.
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/11/2024   INV49709          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.36   C01775 Hops Hill
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/12/2024   INV49737          End, 300, King, Silver, 10ST, Ball, BPANI                           7.00       $58.61        $384.87   C12100 The Growler Spot
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/12/2024   INV49753          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.07   C12109 Brewed & Bottled, LLC
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/12/2024   INV49723          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $58.61   C09991 Creekside Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/12/2024   INV49736          End, 300, King, Silver, 10ST, Ball, BPANI                           3.00       $58.61        $175.82   C03950 Ooga Brewing Company
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384    Invoice   9/12/2024   INV49746          End, 300, King, Silver, 10ST, Ball, BPANI                           1.00       $59.36         $59.36   C01298 Last Stand Brewing Company
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                                                                     Holding Company : American Canning LLC
                                                                            Sales by Item Detail
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Item                                               Type      Date        Document Number   Description                                 Serial Numbers   Qty. Sold   Sales Price     Revenue                                                       Customer
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/16/2024   INV49792          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $59.36         $59.14   C12126 Ken Beaujean
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/16/2024   INV49789          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $59.36         $59.18   C05527 Greg Speicher
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/16/2024   INV49834          End, 300, King, Silver, 10ST, Ball, BPANI                      20.00       $59.36      $1,187.25   C01617 Crowling Rental Co
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/18/2024   INV49853          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $59.36         $59.23   C02683 Edgewise Eight Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/18/2024   INV49880          End, 300, King, Silver, 10ST, Ball, BPANI                       2.00       $59.36        $118.72   C11530 Boese Brother Brewery
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/20/2024   INV49956          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $59.36         $59.18   C09940 Cody Craft Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/20/2024   INV49963          End, 300, King, Silver, 10ST, Ball, BPANI                       4.00       $59.36        $235.76   C03806 Bluffview Growler
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/23/2024   INV49995          End, 300, King, Silver, 10ST, Ball, BPANI                       2.00       $44.00         $88.00   C10856 Local Pint
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/23/2024   INV50025          End, 300, King, Silver, 10ST, Ball, BPANI                      15.00       $59.36        $890.40   C02349 Deft Brewing LLC
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/23/2024   INV50034          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $59.36         $59.17   C01325 Megaton Brewery
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/23/2024   INV50013          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $44.00         $44.00   C03968 Dead Armadillo Craft Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/23/2024   INV49996          End, 300, King, Silver, 10ST, Ball, BPANI                       2.00       $44.00         $88.00   C10617 Need Pizza
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/23/2024   INV49991          End, 300, King, Silver, 10ST, Ball, BPANI                       2.00       $44.00         $88.00   C01367 Peoria Artisan Brewery
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/23/2024   INV49989          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $44.00         $44.00   C07813 Five Dollar Ranch Brewing Co
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/25/2024   INV50115          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $42.25         $42.25   C02865 Elkton Brewing Company
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/25/2024   INV50061          End, 300, King, Silver, 10ST, Ball, BPANI                       4.00       $42.25        $169.00   C06924 Krootz Brewing Co
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/25/2024   INV50083          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $58.61         $58.61   C01607 Nomadic Beerworks
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/25/2024   INV50080          End, 300, King, Silver, 10ST, Ball, BPANI                       7.00       $44.00        $308.00   C02646 Beers Looking At You
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/26/2024   INV50181          End, 300, King, Silver, 10ST, Ball, BPANI                       7.00       $44.00        $308.00   C12100 The Growler Spot
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/26/2024   INV50182          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $42.25         $42.25   C01647 GretchenBrew LLC DBA Little Dog Brewing Co
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/27/2024   INV50269          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $44.00         $44.00   C02754 Southern Roots Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/27/2024   INV50209          End, 300, King, Silver, 10ST, Ball, BPANI                       4.00       $42.25        $154.93   C05646 Fly Llama Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/27/2024   INV50213          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $42.25         $42.25   C10592 The Hop Doctor, LLC
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/27/2024   INV50270          End, 300, King, Silver, 10ST, Ball, BPANI                       1.00       $59.36         $59.06   C01382 Real Ale Brewing Company
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   9/30/2024   INV50299          End, 300, King, Silver, 10ST, Ball, BPANI                       4.00       $42.25        $158.71   C08532 Low Road Brewing
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   10/2/2024   INV50416          End, 300, King, Silver, 10ST, Ball, BPANI                      23.00       $37.00        $851.00   C01368 Pinthouse Pizza, LLC
       END-300-LRG-10ST-SLVR-SLVR-BALL-BPANI-384   Invoice   10/4/2024   INV50458          End, 300, King, Silver, 10ST, Ball, BPANI                       4.00       $42.25        $169.00   C11230 Prost Alehouse
         PAK-3PKCRW-BLACK                          Invoice   9/3/2024    INV49500          PakTech®, 3Pak, Crowler, Black                                  1.00       $89.00         $89.00   C02017 Scratchtown Brewing LLC
         PAK-3PKCRW-BLACK                          Invoice   9/3/2024    INV49508          PakTech®, 3Pak, Crowler, Black                                  3.00       $89.00        $267.00   C03702 Twin Can Company Inc.
         PAK-3PKCRW-BLACK                          Invoice   9/3/2024    INV49511          PakTech®, 3Pak, Crowler, Black                                  5.00       $89.00        $445.00   C05403 Rapids Brewing Company
         PAK-3PKCRW-BLACK                          Invoice   9/5/2024    INV49575          PakTech®, 3Pak, Crowler, Black                                  1.00       $89.00         $89.00   C03253 Mccues nebraska taproom
         PAK-3PKCRW-BLACK                          Invoice   9/11/2024   INV49716          PakTech®, 3Pak, Crowler, Black                                  1.00       $89.00         $89.00   C02865 Elkton Brewing Company
         PAK-3PKCRW-BLACK                          Invoice   9/13/2024   INV49783          PakTech®, 3Pak, Crowler, Black                                  1.00       $89.00         $89.00   C04643 Odell Brewing Co
         PAK-3PKCRW-BLACK                          Invoice   9/18/2024   INV49858          PakTech®, 3Pak, Crowler, Black                                  3.00       $89.00        $267.00   C09911 Mad Chef Craft Brewing
         PAK-3PKCRW-BLACK                          Invoice   9/19/2024   INV49898          PakTech®, 3Pak, Crowler, Black                                  1.00       $89.00         $89.00   C12152 John McMains
         PAK-3PKCRW-BLACK                          Invoice   9/23/2024   INV49983          PakTech®, 3Pak, Crowler, Black                                  2.00       $70.00        $140.00   C12166 BierHall Brewing Co
         PAK-3PKCRW-BLACK                          Invoice   9/23/2024   INV50025          PakTech®, 3Pak, Crowler, Black                                  2.00       $89.00        $178.00   C02349 Deft Brewing LLC
         PAK-3PKCRW-BLACK                          Invoice   9/23/2024   INV49992          PakTech®, 3Pak, Crowler, Black                                  2.00       $70.00        $140.00   C04132 Some Nerve Brewing Co.
         PAK-3PKCRW-BLACK                          Invoice   9/25/2024   INV50099          PakTech®, 3Pak, Crowler, Black                                  1.00       $70.00         $70.00   C12188 LIQUID ROOTS BREWING PROJECT
         PAK-3PKCRW-BLACK                          Invoice   9/25/2024   INV50058          PakTech®, 3Pak, Crowler, Black                                  2.00       $70.00        $140.00   C04145 Fitger's Brewhouse
         PAK-3PKCRW-BLACK                          Invoice   9/25/2024   INV50061          PakTech®, 3Pak, Crowler, Black                                  1.00       $70.00         $70.00   C06924 Krootz Brewing Co
         PAK-3PKCRW-BLACK                          Invoice   9/25/2024   INV50104          PakTech®, 3Pak, Crowler, Black                                  3.00       $70.00        $210.00   C03789 Fat Hill Brewing LLC
         PAK-3PKCRW-BLACK                          Invoice   9/25/2024   INV50101          PakTech®, 3Pak, Crowler, Black                                  4.00       $70.00         $40.00   C11107 Campsite Brewing Company
         PAK-3PKCRW-BLACK                          Invoice   9/25/2024   INV50064          PakTech®, 3Pak, Crowler, Black                                  3.00       $70.00        $210.00   C12173 Erie Brewing Company
         PAK-3PKCRW-BLACK                          Invoice   9/27/2024   INV50217          PakTech®, 3Pak, Crowler, Black                                  1.00       $60.00         $60.00   C01099 Baileson Brewing Co.
         PAK-3PKCRW-BLACK                          Invoice   9/27/2024   INV50226          PakTech®, 3Pak, Crowler, Black                                  1.00       $66.00         $66.00   C03169 Bear Fox LLC
         PAK-3PKCRW-BLACK                          Invoice   9/27/2024   INV50198          PakTech®, 3Pak, Crowler, Black                                  2.00       $66.00        $124.76   C03583 Reservoir Brewing
         PAK-3PKCRW-BLACK                          Invoice   9/30/2024   INV50316          PakTech®, 3Pak, Crowler, Black                                  1.00       $60.00         $60.00   C01650 Route 51 Brewing Company
         PAK-3PKCRW-BLACK                          Invoice   9/30/2024   INV50333          PakTech®, 3Pak, Crowler, Black                                  1.00       $60.00         $60.00   C12231 Pondaseta Brewing Co
         PAK-3PKCRW-BLACK                          Invoice   9/30/2024   INV50326          PakTech®, 3Pak, Crowler, Black                                  1.00       $60.00         $60.00   C05646 Fly Llama Brewing
         PAK-3PKCRW-BLACK                          Invoice   9/30/2024   INV50296          PakTech®, 3Pak, Crowler, Black                                  4.00       $89.00        $356.00   C01617 Crowling Rental Co
         PAK-3PKCRW-BLACK                          Invoice   10/2/2024   INV50398          PakTech®, 3Pak, Crowler, Black                                  4.00       $60.00        $240.00   C01940 Old Coast Ales
         PAK-3PKCRW-BLACK                          Invoice   10/2/2024   INV50416          PakTech®, 3Pak, Crowler, Black                                  9.00       $60.00        $540.00   C01368 Pinthouse Pizza, LLC
         PAK-3PKCRW-BLACK                          Invoice   10/4/2024   INV50458          PakTech®, 3Pak, Crowler, Black                                  4.00       $70.00        $280.00   C11230 Prost Alehouse
         PAK-4PKSLEEK-BLACK                        Invoice   9/3/2024    INV49496          PakTech®, QuadPak, Sleek, Black                                 2.00      $141.00        $282.00   C04910 Simplicity Cocktails
         PAK-4PKSLEEK-BLACK                        Invoice   9/3/2024    INV49506          PakTech®, QuadPak, Sleek, Black                                 1.00      $141.00        $141.00   C11553 Andrea Marley
         PAK-4PKSLEEK-BLACK                        Invoice   9/3/2024    INV49497          PakTech®, QuadPak, Sleek, Black                                 1.00      $141.00        $141.00   C12046 Tara Siragusa
         PAK-4PKSLEEK-BLACK                        Invoice   9/4/2024    INV49542          PakTech®, QuadPak, Sleek, Black                                 3.00      $141.00        $423.00   C09574 Beverage Solution Partners
         PAK-4PKSLEEK-BLACK                        Invoice   9/4/2024    INV49538          PakTech®, QuadPak, Sleek, Black                                 5.00      $141.00        $705.00   C12060 Roastery of Cave Creek
         PAK-4PKSLEEK-BLACK                        Invoice   9/4/2024    INV49545          PakTech®, QuadPak, Sleek, Black                                 2.00      $141.00        $282.00   C06979 Dark Matter Coffee
         PAK-4PKSLEEK-BLACK                        Invoice   9/4/2024    INV49561          PakTech®, QuadPak, Sleek, Black                                 1.00      $141.00        $141.00   C10638 Edwin's Edibles
         PAK-4PKSLEEK-BLACK                        Invoice   9/5/2024    INV49577          PakTech®, QuadPak, Sleek, Black                                 5.00      $141.00        $705.00   C10917 Indigo
         PAK-4PKSLEEK-BLACK                        Invoice   9/6/2024    INV49621          PakTech®, QuadPak, Sleek, Black                                 2.00      $141.00        $282.00   C12072 Brooklyn Roasting Works LLC
         PAK-4PKSLEEK-BLACK                        Invoice   9/12/2024   INV49734          PakTech®, QuadPak, Sleek, Black                                 5.00      $141.00        $705.00   C09654 Indigo
         PAK-4PKSLEEK-BLACK                        Invoice   9/12/2024   INV49758          PakTech®, QuadPak, Sleek, Black                                 1.00      $141.00        $116.00   C12115 Court Ave Brewing Company
         PAK-4PKSLEEK-BLACK                        Invoice   9/17/2024   INV49821          PakTech®, QuadPak, Sleek, Black                                 3.00      $141.00        $415.02   C10700 Jenesa Lukac
         PAK-4PKSLEEK-BLACK                        Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Sleek, Black                                 2.00      $141.00        $282.00   C09243 Packform
         PAK-4PKSLEEK-BLACK                        Invoice   9/18/2024   INV49859          PakTech®, QuadPak, Sleek, Black                                 2.00      $141.00        $282.00   C06979 Dark Matter Coffee
         PAK-4PKSLEEK-BLACK                        Invoice   9/20/2024   INV49921          PakTech®, QuadPak, Sleek, Black                                 1.00      $141.00        $141.00   C09810 trimtab brewing co
         PAK-4PKSLEEK-BLACK                        Invoice   9/23/2024   INV50003          PakTech®, QuadPak, Sleek, Black                                 8.00      $141.00      $1,128.00   C12160 ALBERT DE BOCK
         PAK-4PKSLEEK-BLACK                        Invoice   9/23/2024   INV49988          PakTech®, QuadPak, Sleek, Black                                 3.00      $141.00        $423.00   C04910 Simplicity Cocktails
         PAK-4PKSLEEK-BLACK                        Invoice   9/23/2024   INV50023          PakTech®, QuadPak, Sleek, Black                                 7.00      $141.00        $987.00   C12072 Brooklyn Roasting Works LLC
         PAK-4PKSLEEK-BLACK                        Invoice   9/25/2024   INV50071          PakTech®, QuadPak, Sleek, Black                                 1.00      $141.00        $136.00   C11277 Running Lights
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                                                               Holding Company : American Canning LLC
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Item                                     Type          Date        Document Number   Description                                 Serial Numbers   Qty. Sold   Sales Price      Revenue                                                    Customer
       PAK-4PKSLEEK-BLACK                Invoice       9/25/2024   INV50059          PakTech®, QuadPak, Sleek, Black                                12.00      $141.00       $1,692.00 C11569 Right Coast Brands
       PAK-4PKSLEEK-BLACK                Invoice       9/26/2024   INV50152          PakTech®, QuadPak, Sleek, Black                                15.00      $120.00       $1,800.00 C06034 Botanical Brewing Co
       PAK-4PKSLEEK-BLACK                Invoice       9/27/2024   INV50202          PakTech®, QuadPak, Sleek, Black                                 1.00      $130.00         $130.00 C08441 Canworks, Inc
       PAK-4PKSLEEK-BLACK                Invoice       9/27/2024   INV50223          PakTech®, QuadPak, Sleek, Black                                 2.00      $120.00         $240.00 C06979 Dark Matter Coffee
       PAK-4PKSLEEK-BLACK                Invoice       9/27/2024   INV50258          PakTech®, QuadPak, Sleek, Black                                15.00      $120.00       $1,800.00 C06034 Botanical Brewing Co
       PAK-4PKSLEEK-BLACK                Invoice       9/30/2024   INV50314          PakTech®, QuadPak, Sleek, Black                                 1.00      $102.00         $102.00 C10965 John Wicka
       PAK-4PKSLEEK-DARKPINK             Invoice       9/4/2024    INV49561          PakTech®, QuadPak, Sleek, Dark Pink                             3.00      $141.00         $423.00 C10638 Edwin's Edibles
       PAK-4PKSLEEK-DARKPINK             Invoice       9/25/2024   INV50096          PakTech®, QuadPak, Sleek, Dark Pink                             2.00      $130.00         $260.00 C01984 Flying Panda Specialty Beverage Company
       PAK-4PKSLEEK-DARKPINK             Invoice       9/25/2024   INV50071          PakTech®, QuadPak, Sleek, Dark Pink                             1.00      $141.00         $136.00 C11277 Running Lights
       PAK-4PKSLEEK-DARKPINK             Invoice       9/26/2024   INV50190          PakTech®, QuadPak, Sleek, Dark Pink                            17.00      $120.00       $1,734.00 C10242 Reddi Beverage
       PAK-4PKSLEEK-DARKPINK             Invoice       9/26/2024   INV50189          PakTech®, QuadPak, Sleek, Dark Pink                             2.00      $120.00         $240.00 C07496 Yesfolk LLC
       PAK-4PKSLEEK-DARKPINK             Invoice       10/1/2024   INV50343          PakTech®, QuadPak, Sleek, Dark Pink                             8.00      $141.00       $1,128.00 C07276 The Brewing Projekt
       PAK-4PKSLEEK-DARKPINK             Invoice       10/2/2024   INV50368          PakTech®, QuadPak, Sleek, Dark Pink                             2.00      $102.00         $204.00 C01984 Flying Panda Specialty Beverage Company
       PAK-4PKSLEEK-DARKPINK             Invoice       10/3/2024   INV50425          PakTech®, QuadPak, Sleek, Dark Pink                             3.00      $102.00         $306.00 C11503 Jarek Elmasian
       PAK-4PKSLEEK-IRIS                 Invoice       9/10/2024   INV49703          PakTech®, QuadPak, Sleek, Iris                                  9.00      $141.00       $1,269.00 C03382 Okc Soda Co
       PAK-4PKSLEEK-IRIS                 Invoice       9/19/2024   INV49914          PakTech®, QuadPak, Sleek, Iris                                  3.00      $141.00         $423.00 C01984 Flying Panda Specialty Beverage Company
       PAK-4PKSLEEK-IRIS                 Invoice       9/26/2024   INV50190          PakTech®, QuadPak, Sleek, Iris                                  7.00      $120.00         $714.00 C10242 Reddi Beverage
       PAK-4PKSLEEK-IRIS                 Invoice       10/1/2024   INV50343          PakTech®, QuadPak, Sleek, Iris                                  8.00      $141.00       $1,128.00 C07276 The Brewing Projekt
       PAK-4PKSLEEK-MARIGOLD             Invoice       9/26/2024   INV50149          PakTech®, QuadPak, Sleek, Marigold                              2.00      $120.00         $240.00 C09537 Artet, LLC
       PAK-4PKSLEEK-TROPGRN              Invoice       9/6/2024    INV49614          PakTech®, QuadPak, Sleek, Tropical Green                        4.00      $141.00         $564.00 C12076 Cahaba Brewing Company
       PAK-4PKSLEEK-TROPGRN              Invoice       9/10/2024   INV49684          PakTech®, QuadPak, Sleek, Tropical Green                        5.00      $141.00         $705.00 C11569 Right Coast Brands
       PAK-4PKSLEEK-TROPGRN              Invoice       9/12/2024   INV49726          PakTech®, QuadPak, Sleek, Tropical Green                        4.00      $141.00        ($521.70) C12076 Cahaba Brewing Company
       PAK-4PKSLEEK-TROPGRN              Invoice       9/26/2024   INV50190          PakTech®, QuadPak, Sleek, Tropical Green                        9.00      $120.00         $918.00 C10242 Reddi Beverage
       PAK-4PKSLEEK-TROPGRN              Invoice       10/2/2024   INV50371          PakTech®, QuadPak, Sleek, Tropical Green                        8.00      $102.00         $816.00 C11047 Clint Kirby
       PAK-4PKSLEEK-TROPLIME             Invoice       9/25/2024   INV50071          PakTech®, QuadPak, Sleek, Trop Lime                             1.00      $141.00         $136.00 C11277 Running Lights
       PAK-4PKSLEEK-TROPLIME             Invoice       10/2/2024   INV50368          PakTech®, QuadPak, Sleek, Trop Lime                             2.00      $102.00         $204.00 C01984 Flying Panda Specialty Beverage Company
       PAK-4PKSLEEK-TROPLIME             Invoice       10/2/2024   INV50378          PakTech®, QuadPak, Sleek, Trop Lime                            10.00      $102.00       $1,020.00 C10912 Aeppeltreow Inc
       PAK-4PKSLEEK-TROPORNG             Invoice       9/3/2024    INV49496          PakTech®, QuadPak, Sleek, Tropical Orange                       1.00      $141.00         $141.00 C04910 Simplicity Cocktails
       PAK-4PKSLEEK-TROPORNG             Invoice       9/5/2024    INV49571          PakTech®, QuadPak, Sleek, Tropical Orange                       2.00      $141.00         $282.00 C01984 Flying Panda Specialty Beverage Company
       PAK-4PKSLEEK-TROPORNG             Invoice       9/25/2024   INV50071          PakTech®, QuadPak, Sleek, Tropical Orange                       1.00      $141.00         $136.00 C11277 Running Lights
       PAK-4PKSLEEK-TROPORNG             Invoice       10/1/2024   INV50343          PakTech®, QuadPak, Sleek, Tropical Orange                       8.00      $141.00       $1,128.00 C07276 The Brewing Projekt
       PAK-4PKSLEEK-TROPORNG             Invoice       10/2/2024   INV50368          PakTech®, QuadPak, Sleek, Tropical Orange                       2.00      $102.00         $204.00 C01984 Flying Panda Specialty Beverage Company
       PAK-4PKSLEEK-ULTBLUE              Invoice       10/2/2024   INV50413          PakTech®, QuadPak, Sleek, Ultra Blue                            1.00      $102.00         $102.00 C07348 Inner Mission Inc
       PAK-4PKSLEEK-WHITE                Invoice       9/4/2024    INV49561          PakTech®, QuadPak, Sleek, White                                 3.00      $141.00         $423.00 C10638 Edwin's Edibles
       PAK-4PKSLEEK-WHITE                Invoice       9/6/2024    INV49607          PakTech®, QuadPak, Sleek, White                                 3.00      $141.00         $423.00 C12083 Brandon Yee
       PAK-4PKSLEEK-WHITE                Invoice       9/10/2024   INV49703          PakTech®, QuadPak, Sleek, White                                 6.00      $141.00         $846.00 C03382 Okc Soda Co
       PAK-4PKSLEEK-WHITE                Invoice       9/10/2024   INV49683          PakTech®, QuadPak, Sleek, White                                 4.00      $141.00         $564.00 C12076 Cahaba Brewing Company
       PAK-4PKSLEEK-WHITE                Invoice       9/17/2024   INV49821          PakTech®, QuadPak, Sleek, White                                18.00      $141.00       $2,490.15 C10700 Jenesa Lukac
       PAK-4PKSLEEK-WHITE                Invoice       9/25/2024   INV50047          PakTech®, QuadPak, Sleek, White                                 3.00      $141.00         $408.00 C05702 Bella Terra Vineyards
       PAK-4PKSLEEK-WHITE                Invoice       9/25/2024   INV50102          PakTech®, QuadPak, Sleek, White                                 2.00      $130.00         $260.00 C01127 Bishop Cider Co.
       PAK-4PKSLEEK-WHITE                Invoice       9/26/2024   INV50189          PakTech®, QuadPak, Sleek, White                                 4.00      $120.00         $480.00 C07496 Yesfolk LLC
       PAK-4PKSLEEK-WHITE                Invoice       9/27/2024   INV50237          PakTech®, QuadPak, Sleek, White                                10.00      $120.00       $1,140.00 C10991 Woods Distribution Solutions
       PAK-4PKSLEEK-WHITE                Invoice       9/30/2024   INV50315          PakTech®, QuadPak, Sleek, White                                10.00      $102.00       $1,020.00 C12215 Black Flannel Brewing
       PAK-4PKSLEEK-WHITE                Invoice       10/1/2024   INV50343          PakTech®, QuadPak, Sleek, White                                16.00      $141.00       $2,256.00 C07276 The Brewing Projekt
       PAK-4PKSLEEK-WHITE                Invoice       10/2/2024   INV50371          PakTech®, QuadPak, Sleek, White                                 4.00      $102.00         $408.00 C11047 Clint Kirby
       PAK-4PKSLEEK-WHITE                Invoice       10/2/2024   INV50375          PakTech®, QuadPak, Sleek, White                                 1.00      $102.00         $102.00 C09868 Russell Powers
       PAK-4PKSLEEK-WHITE                Invoice       10/4/2024   INV50455          PakTech®, QuadPak, Sleek, White                               145.00       $97.67      $14,162.15 C08441 Canworks, Inc
       PAK-4PKSLEEK-YELLOW               Invoice       9/10/2024   INV49703          PakTech®, QuadPak, Sleek, Yellow                                9.00      $141.00       $1,269.00 C03382 Okc Soda Co
       PAK-4PKSLEEK-YELLOW               Invoice       9/10/2024   INV49693          PakTech®, QuadPak, Sleek, Yellow                                4.00      $143.70         $549.43 C10987 Morning Star Organics Inc. dba Wolf Willow Winery
       PAK-4PKSLEEK-YELLOW               Invoice       9/16/2024   INV49788          PakTech®, QuadPak, Sleek, Yellow                                1.00      $141.00         $141.00 C05137 Battery Steele Brewing
       PAK-4PKSLEEK-YELLOW               Invoice       9/23/2024   INV50005          PakTech®, QuadPak, Sleek, Yellow                                2.00      $141.00         $282.00 C12165 Benjamin Krysiak
       PAK-4PKSLEEK-YELLOW               Invoice       9/26/2024   INV50149          PakTech®, QuadPak, Sleek, Yellow                                2.00      $120.00         $240.00 C09537 Artet, LLC
       PAK-4PKSLEEK-YELLOW               Invoice       9/26/2024   INV50189          PakTech®, QuadPak, Sleek, Yellow                                1.00      $120.00         $120.00 C07496 Yesfolk LLC
       PAK-4PKSLEEK-YELLOW               Invoice       10/2/2024   INV50368          PakTech®, QuadPak, Sleek, Yellow                                2.00      $102.00         $204.00 C01984 Flying Panda Specialty Beverage Company
       PAK-4PKSLIM-BLACK                 Invoice       9/13/2024   INV49776          PakTech®, QuadPak, Slim, Black                                  1.00      $137.00         $137.00 C12120 cold spring beverages
       PAK-4PKSLIM-BLACK                 Invoice       9/18/2024   INV49892          PakTech®, QuadPak, Slim, Black                                 13.00      $137.00       $1,781.00 C08969 End of Days Distillery, LLC
       PAK-4PKSLIM-BLACK                 Credit Memo   9/19/2024   CM1539            PakTech®, QuadPak, Slim, Black                                 -1.00      $137.00        ($109.60) C11862 SwiftPOD LLC
       PAK-4PKSLIM-BLACK                 Invoice       9/25/2024   INV50079          PakTech®, QuadPak, Slim, Black                                  1.00      $137.00         $136.09 C10924 Rinna Lee
       PAK-4PKSLIM-BLACK                 Invoice       9/30/2024   INV50321          PakTech®, QuadPak, Slim, Black                                  1.00       $88.00          $88.00 C11892 Nobleberry
       PAK-4PKSLIM-BLACK                 Invoice       9/30/2024   INV50300          PakTech®, QuadPak, Slim, Black                                 16.00       $98.00       $1,568.00 C08969 End of Days Distillery, LLC
       PAK-4PKSLIM-GOLD                  Invoice       10/4/2024   INV50446          PakTech®, QuadPak, Slim, Gold                                   7.00       $88.00         $616.00 C11300 Canned Fun LLC
       PAK-4PKSLIM-WHITE                 Invoice       9/9/2024    INV49649          PakTech®, QuadPak, Slim, White                                  1.00      $137.00         $137.00 C12092 Point 5
       PAK-4PKSLIM-WHITE                 Invoice       9/18/2024   INV49850          PakTech®, QuadPak, Slim, White                                 15.00      $137.00       $1,995.00 C07098 Rosie Cheeks Distillery
       PAK-4PKSLIM-WHITE                 Credit Memo   9/19/2024   CM1541            PakTech®, QuadPak, Slim, White                                 -1.00      $137.00         ($89.60) C11948 UCB
       PAK-4PKSLIM-WHITE                 Credit Memo   9/19/2024   CM1540            PakTech®, QuadPak, Slim, White                                 -3.00      $137.00        ($328.80) C11952 FCI Wholesale
       PAK-4PKSLIM-WHITE                 Invoice       9/20/2024   INV49937          PakTech®, QuadPak, Slim, White                                  1.00      $137.00         $137.00 C06018 SPARC LLC
       PAK-4PKSLIM-WHITE                 Invoice       9/25/2024   INV50108          PakTech®, QuadPak, Slim, White                                 13.00      $137.00       $1,612.00 C04710 Just Enough Wines LLC
       PAK-4PKSLIM-WHITE                 Invoice       9/30/2024   INV50300          PakTech®, QuadPak, Slim, White                                 15.00       $98.00       $1,470.00 C08969 End of Days Distillery, LLC
       PAK-4PKSLIM-WHITE                 Invoice       10/4/2024   INV50446          PakTech®, QuadPak, Slim, White                                 20.00       $88.00       $1,760.00 C11300 Canned Fun LLC
       PAK-4PKSTD-BLACK                  Invoice       9/3/2024    INV49513          PakTech®, QuadPak, Standard, Black                              1.00      $124.00         $124.00 C03992 Valcour Brewing Company
       PAK-4PKSTD-BLACK                  Invoice       9/3/2024    INV49512          PakTech®, QuadPak, Standard, Black                              1.00      $124.00         $124.00 C02230 Quirk Brewing
       PAK-4PKSTD-BLACK                  Invoice       9/4/2024    INV49542          PakTech®, QuadPak, Standard, Black                              4.00      $124.00         $496.00 C09574 Beverage Solution Partners
       PAK-4PKSTD-BLACK                  Invoice       9/4/2024    INV49533          PakTech®, QuadPak, Standard, Black                              1.00      $124.00         $124.00 C03085 False Idol Brewing
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                                                               American Canning LLC
                                                      Holding Company : American Canning LLC
                                                             Sales by Item Detail
                                                     September 1, 2024 - December 31, 2024
Item                                Type      Date        Document Number   Description                          Serial Numbers   Qty. Sold   Sales Price     Revenue                                             Customer
       PAK-4PKSTD-BLACK             Invoice   9/5/2024    INV49567          PakTech®, QuadPak, Standard, Black                       6.00      $124.00        $744.00   C01321 Manhattan Project Beer Co.
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49598          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $248.00   C05486 Brouwerij West
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49630          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C01472 True Vine Brewing Co.
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49594          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C04042 Sceptre Brewing Arts
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49583          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C08319 Ink Factory Brewing
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49624          PakTech®, QuadPak, Standard, Black                       4.00      $124.00        $496.00   C04729 Topa Topa Brewing Co
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49603          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C03615 Iowa Project Brewing Company LLC
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49586          PakTech®, QuadPak, Standard, Black                      15.00      $114.00      $1,710.00   C06404 Straight To Ale Brands, Inc.
       PAK-4PKSTD-BLACK             Invoice   9/6/2024    INV49601          PakTech®, QuadPak, Standard, Black                      10.00      $124.00      $1,240.00   C02028 Keg Grove Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/9/2024    INV49642          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C01852 Six Shooter LLC
       PAK-4PKSTD-BLACK             Invoice   9/9/2024    INV49655          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $248.00   C03135 Silva Brewing
       PAK-4PKSTD-BLACK             Invoice   9/9/2024    INV49633          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C02280 Rally Cap Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/10/2024   INV49681          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C03085 False Idol Brewing
       PAK-4PKSTD-BLACK             Invoice   9/10/2024   INV49689          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $248.00   C07980 The filling station microbrewery
       PAK-4PKSTD-BLACK             Invoice   9/11/2024   INV49718          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C05364 Trinken Brewing Co
       PAK-4PKSTD-BLACK             Invoice   9/11/2024   INV49710          PakTech®, QuadPak, Standard, Black                       3.00      $124.00        $372.00   C05486 Brouwerij West
       PAK-4PKSTD-BLACK             Invoice   9/12/2024   INV49744          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C11315 The 377 Brewery
       PAK-4PKSTD-BLACK             Invoice   9/12/2024   INV49740          PakTech®, QuadPak, Standard, Black                       6.00      $124.00        $744.00   C07284 Tired Hands Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/12/2024   INV49729          PakTech®, QuadPak, Standard, Black                      80.00      $124.00      $9,120.00   C07284 Tired Hands Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/13/2024   INV49766          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C06946 Mountaintown Brewing
       PAK-4PKSTD-BLACK             Invoice   9/16/2024   INV49810          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $248.00   C08590 Firetrucker Brewery
       PAK-4PKSTD-BLACK             Invoice   9/16/2024   INV49816          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $248.00   C01621 Left Coast Brewing Co.
       PAK-4PKSTD-BLACK             Invoice   9/16/2024   INV49813          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C12131 Sharon Garman
       PAK-4PKSTD-BLACK             Invoice   9/18/2024   INV50294          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C01434 St. Elmo Brewing Co.
       PAK-4PKSTD-BLACK             Invoice   9/18/2024   INV49883          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C09213 MARTO BREWING COMPANY
       PAK-4PKSTD-BLACK             Invoice   9/18/2024   INV49881          PakTech®, QuadPak, Standard, Black                       4.00      $124.00        $496.00   C02728 WildEdge Brewing Collective
       PAK-4PKSTD-BLACK             Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Standard, Black                      14.00      $120.00      $1,680.00   C09243 Packform
       PAK-4PKSTD-BLACK             Invoice   9/18/2024   INV49855          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $243.67   C07188 Lucky Luke Brewing
       PAK-4PKSTD-BLACK             Invoice   9/19/2024   INV49908          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C01852 Six Shooter LLC
       PAK-4PKSTD-BLACK             Invoice   9/19/2024   INV49917          PakTech®, QuadPak, Standard, Black                      20.00      $124.00      $2,400.00   C08188 Karl Strauss Brewing Co
       PAK-4PKSTD-BLACK             Invoice   9/20/2024   INV49942          PakTech®, QuadPak, Standard, Black                       4.00      $124.00        $496.00   C01416 Sigma Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/20/2024   INV49973          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C01201 Dorcol Distilling + Brewing Co.
       PAK-4PKSTD-BLACK             Invoice   9/20/2024   INV49954          PakTech®, QuadPak, Standard, Black                       4.00      $116.00        $426.85   C01451 Texas Beer Co
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV50016          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $242.27   C10801 Fait la Force Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV50032          PakTech®, QuadPak, Standard, Black                       4.00      $124.00        $496.00   C02812 Short Story Brewing
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV50021          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C03504 Random Row Brewing Co
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV49981          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $120.00   C12167 Audio Graph Beer Co.
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV50033          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C01321 Manhattan Project Beer Co.
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV50020          PakTech®, QuadPak, Standard, Black                       4.00      $124.00        $496.00   C12158 Infusion Brewing Co
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV50004          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $248.00   C11053 New Belgium Brewing
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV49987          PakTech®, QuadPak, Standard, Black                       3.00      $124.00        $356.02   C09013 Breeyan Edwards
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV49990          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $248.00   C12164 Bound Beverages
       PAK-4PKSTD-BLACK             Invoice   9/23/2024   INV49978          PakTech®, QuadPak, Standard, Black                       5.00      $124.00        $620.00   C06384 Jeter Mountain Farm LLC
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50048          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $120.00   C05486 Brouwerij West
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50147          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $120.03   C02280 Rally Cap Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50123          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $243.49   C12186 Mike Skelton
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50055          PakTech®, QuadPak, Standard, Black                      18.00      $124.00      $1,944.00   C01245 Golden City Brewery
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50060          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $244.77   C09297 Casey Brewing
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50041          PakTech®, QuadPak, Standard, Black                       5.00      $124.00        $600.00   C08310 Woven Water Brewing
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50046          PakTech®, QuadPak, Standard, Black                       2.00      $124.00        $232.00   C10295 Bierstadt Lagerhaus
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50124          PakTech®, QuadPak, Standard, Black                       5.00      $124.00        $600.00   C03320 Adventurous Brewing
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50094          PakTech®, QuadPak, Standard, Black                      10.00      $120.00      $1,120.00   C10574 Three Wide Brewing
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50057          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C11131 Dan Lawrence
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50065          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $120.00   C08572 Toll Road Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50087          PakTech®, QuadPak, Standard, Black                       3.00      $124.00        $360.00   C10337 D-S Beverages
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50070          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $122.08   C01264 Hold Out Brewing
       PAK-4PKSTD-BLACK             Invoice   9/25/2024   INV50076          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $121.00   C02219 Dos Sirenos Brewing
       PAK-4PKSTD-BLACK             Invoice   9/26/2024   INV50159          PakTech®, QuadPak, Standard, Black                       2.00      $120.00        $240.00   C03290 Barking Armadillo Brewing
       PAK-4PKSTD-BLACK             Invoice   9/26/2024   INV50193          PakTech®, QuadPak, Standard, Black                       1.00      $112.00        $103.40   C03002 Icebox Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/26/2024   INV50172          PakTech®, QuadPak, Standard, Black                       4.00      $124.00        $464.00   C05575 Eureka Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/26/2024   INV50171          PakTech®, QuadPak, Standard, Black                      10.00      $124.00      $1,240.00   C03052 Pedal Haus Brewery
       PAK-4PKSTD-BLACK             Invoice   9/26/2024   INV50168          PakTech®, QuadPak, Standard, Black                       6.00      $124.00        $648.00   C11485 Glacier Brewing Co.
       PAK-4PKSTD-BLACK             Invoice   9/26/2024   INV50162          PakTech®, QuadPak, Standard, Black                       5.00      $124.00        $613.70   C04386 Ankrolab Brewing Co.
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50272          PakTech®, QuadPak, Standard, Black                       1.00      $124.00        $124.00   C08319 Ink Factory Brewing
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50233          PakTech®, QuadPak, Standard, Black                      10.00      $112.00      $1,060.00   C01321 Manhattan Project Beer Co.
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50209          PakTech®, QuadPak, Standard, Black                       6.00      $124.00        $682.04   C05646 Fly Llama Brewing
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50226          PakTech®, QuadPak, Standard, Black                       1.00      $112.00        $112.00   C03169 Bear Fox LLC
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50205          PakTech®, QuadPak, Standard, Black                      60.00      $120.00      $5,640.00   C11141 Asher Bradley
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50202          PakTech®, QuadPak, Standard, Black                       1.00      $120.00        $120.00   C08441 Canworks, Inc
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50200          PakTech®, QuadPak, Standard, Black                       3.00      $112.00        $336.00   C10681 Wild Barley Kitchen and Brewery
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50228          PakTech®, QuadPak, Standard, Black                       2.00      $112.00        $224.00   C03498 Block Brewing Company
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50225          PakTech®, QuadPak, Standard, Black                       1.00      $112.00        $112.00   C07571 The Southern Growl Beer Company
       PAK-4PKSTD-BLACK             Invoice   9/27/2024   INV50222          PakTech®, QuadPak, Standard, Black                       3.00       $94.00        $282.00   C03056 Schoolhouse Brewing
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                                                                  American Canning LLC
                                                         Holding Company : American Canning LLC
                                                                Sales by Item Detail
                                                        September 1, 2024 - December 31, 2024
Item                                   Type      Date        Document Number   Description                                  Serial Numbers   Qty. Sold   Sales Price      Revenue                                                   Customer
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50322          PakTech®, QuadPak, Standard, Black                               3.00       $94.00         $282.00   C01094 Saints and Sinners Brewing Company LLC
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50318          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C11272 Hourglass Brewing
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50331          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C08443 JAFB Wooster Brewery
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50328          PakTech®, QuadPak, Standard, Black                               1.00       $94.00          $94.00   C01852 Six Shooter LLC
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50330          PakTech®, QuadPak, Standard, Black                               2.00       $94.00         $188.00   C07885 Glenbrook Brewery LLC
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50307          PakTech®, QuadPak, Standard, Black                              80.00       $94.00       $7,280.00   C07284 Tired Hands Brewing Company
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50310          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C08888 South O Brewing Company
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50332          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C12221 lost boy cider
       PAK-4PKSTD-BLACK                Invoice   9/30/2024   INV50327          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C08058 Bright Penny Brewing
       PAK-4PKSTD-BLACK                Invoice   10/1/2024   INV50415          PakTech®, QuadPak, Standard, Black                               2.00      $116.00         $232.00   C01278 Independence Brewing Co.
       PAK-4PKSTD-BLACK                Invoice   10/2/2024   INV50358          PakTech®, QuadPak, Standard, Black                              40.00       $94.00       $3,760.00   C07154 Coppercraft Distillery / Craft Co
       PAK-4PKSTD-BLACK                Invoice   10/2/2024   INV50373          PakTech®, QuadPak, Standard, Black                              37.00       $94.00       $3,478.00   C02028 Keg Grove Brewing Company
       PAK-4PKSTD-BLACK                Invoice   10/2/2024   INV50367          PakTech®, QuadPak, Standard, Black                             120.00       $94.00      $11,280.00   C02176 Schulz Brau Brewing
       PAK-4PKSTD-BLACK                Invoice   10/2/2024   INV50361          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C05590 Triceratops Brewing Co
       PAK-4PKSTD-BLACK                Invoice   10/2/2024   INV50347          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-BLACK                Invoice   10/2/2024   INV50362          PakTech®, QuadPak, Standard, Black                               4.00       $94.00         $376.00   C12218 John Oglesbee
       PAK-4PKSTD-BLACK                Invoice   10/3/2024   INV50419          PakTech®, QuadPak, Standard, Black                               2.00      $112.00         $224.00   C11667 Rusty Axe Brewing Company, LLC
       PAK-4PKSTD-BLACK                Invoice   10/4/2024   INV50443          PakTech®, QuadPak, Standard, Black                               5.00      $112.00         $500.21   C07772 (512) Brewing Co
       PAK-4PKSTD-BROWN                Invoice   9/3/2024    INV49514          PakTech®, QuadPak, Standard, Brown                               4.00      $124.00         $496.00   C01866 Bend Cider Co
       PAK-4PKSTD-BROWN                Invoice   9/16/2024   INV49812          PakTech®, QuadPak, Standard, Brown                               1.00      $124.00         $124.00   C01562 Pollyanna Brewing Company
       PAK-4PKSTD-BROWN                Invoice   9/18/2024   INV49879          PakTech®, QuadPak, Standard, Brown                               1.00      $124.00         $124.00   C01987 Lost Cabin Beer Co.
       PAK-4PKSTD-BROWN                Invoice   9/18/2024   INV49886          PakTech®, QuadPak, Standard, Brown                               1.00      $124.00         $124.00   C10298 Invictus brewing co.
       PAK-4PKSTD-BROWN                Invoice   9/25/2024   INV50043          PakTech®, QuadPak, Standard, Brown                               6.00      $124.00         $720.00   C08336 Kern River Brewing Company
       PAK-4PKSTD-BROWN                Invoice   9/26/2024   INV50168          PakTech®, QuadPak, Standard, Brown                               5.00      $124.00         $540.00   C11485 Glacier Brewing Co.
       PAK-4PKSTD-BROWN                Invoice   9/30/2024   INV50308          PakTech®, QuadPak, Standard, Brown                               2.00       $94.00         $188.00   C05311 Xul Beer
       PAK-4PKSTD-BROWN                Invoice   9/30/2024   INV50325          PakTech®, QuadPak, Standard, Brown                               1.00       $94.00          $94.00   C11057 Avenue T Brands LLC
       PAK-4PKSTD-BROWN                Invoice   10/2/2024   INV50411          PakTech®, QuadPak, Standard, Brown                               4.00       $94.00         $376.00   C08336 Kern River Brewing Company
       PAK-4PKSTD-BROWN                Invoice   10/2/2024   INV50377          PakTech®, QuadPak, Standard, Brown                               4.00       $94.00         $376.00   C09064 Boxing Bear Brewing Co.
       PAK-4PKSTD-BURGUNDY             Invoice   9/4/2024    INV49530          PakTech®, QuadPak, Standard, Burgundy                            1.00      $124.00         $124.00   C12062 John Logan
       PAK-4PKSTD-BURGUNDY             Invoice   9/18/2024   INV49856          PakTech®, QuadPak, Standard, Burgundy                            1.00      $124.00         $124.00   C07571 The Southern Growl Beer Company
       PAK-4PKSTD-BURGUNDY             Invoice   10/2/2024   INV50364          PakTech®, QuadPak, Standard, Burgundy                            2.00       $94.00         $188.00   C12219 Payette Brewing
       PAK-4PKSTD-BURGUNDY             Invoice   10/2/2024   INV50383          PakTech®, QuadPak, Standard, Burgundy                            2.00       $94.00         $188.00   C12225 Wanderlust Brewing Company
       PAK-4PKSTD-EMRLDGRN             Invoice   9/4/2024    INV49539          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $124.00   C10161 Millpond Brewing Company
       PAK-4PKSTD-EMRLDGRN             Invoice   9/4/2024    INV49557          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $124.00   C10548 Fast Friends Beer Company
       PAK-4PKSTD-EMRLDGRN             Invoice   9/9/2024    INV49641          PakTech®, QuadPak, Standard, Emerald Green                       2.00      $124.00         $248.00   C02608 Eleventh Hour Brewing Company
       PAK-4PKSTD-EMRLDGRN             Invoice   9/11/2024   INV49712          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $121.29   C05312 Mary Rooney
       PAK-4PKSTD-EMRLDGRN             Invoice   9/12/2024   INV49761          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $124.00   C04001 Camp Colvos Brewing
       PAK-4PKSTD-EMRLDGRN             Invoice   9/16/2024   INV49812          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $124.00   C01562 Pollyanna Brewing Company
       PAK-4PKSTD-EMRLDGRN             Invoice   9/17/2024   INV49822          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $123.87   C02487 Nearburg Brewing
       PAK-4PKSTD-EMRLDGRN             Invoice   9/18/2024   INV49888          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $124.00   C02382 Community Beer Works
       PAK-4PKSTD-EMRLDGRN             Invoice   9/18/2024   INV49857          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $124.00         $124.00   C06948 Sour Not Sorry Brewing
       PAK-4PKSTD-EMRLDGRN             Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Standard, Emerald Green                      10.00      $120.00       $1,200.00   C09243 Packform
       PAK-4PKSTD-EMRLDGRN             Invoice   9/19/2024   INV49902          PakTech®, QuadPak, Standard, Emerald Green                       2.00      $124.00         $248.00   C01977 Dreaming Creek Brewery
       PAK-4PKSTD-EMRLDGRN             Invoice   9/23/2024   INV50026          PakTech®, QuadPak, Standard, Emerald Green                       1.00      $126.10         $126.10   C12001 9 Mile Legacy Brewing Co.
       PAK-4PKSTD-GOLD                 Invoice   9/4/2024    INV49548          PakTech®, QuadPak, Standard, Gold                               14.00      $124.00       $1,736.00   C02143 SLO Brewing Co, LLC
       PAK-4PKSTD-GOLD                 Invoice   9/4/2024    INV49557          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C10548 Fast Friends Beer Company
       PAK-4PKSTD-GOLD                 Invoice   9/6/2024    INV49597          PakTech®, QuadPak, Standard, Gold                                2.00      $124.00         $248.00   C12078 Deschutes Brewery, Inc.
       PAK-4PKSTD-GOLD                 Invoice   9/6/2024    INV49615          PakTech®, QuadPak, Standard, Gold                                2.00      $124.00         $248.00   C08473 farmhouse cider
       PAK-4PKSTD-GOLD                 Invoice   9/9/2024    INV49644          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C01562 Pollyanna Brewing Company
       PAK-4PKSTD-GOLD                 Invoice   9/9/2024    INV49655          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C03135 Silva Brewing
       PAK-4PKSTD-GOLD                 Invoice   9/9/2024    INV49648          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C03045 Bow & Arrow Brewing Co.
       PAK-4PKSTD-GOLD                 Invoice   9/10/2024   INV49692          PakTech®, QuadPak, Standard, Gold                                2.00      $124.00         $248.00   C02583 CODA Brewing Co.
       PAK-4PKSTD-GOLD                 Invoice   9/11/2024   INV49712          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $121.29   C05312 Mary Rooney
       PAK-4PKSTD-GOLD                 Invoice   9/13/2024   INV49775          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C04644 MacLeod Ale Brewing Co.
       PAK-4PKSTD-GOLD                 Invoice   9/18/2024   INV49888          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C02382 Community Beer Works
       PAK-4PKSTD-GOLD                 Invoice   9/18/2024   INV50294          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C01434 St. Elmo Brewing Co.
       PAK-4PKSTD-GOLD                 Invoice   9/19/2024   INV49902          PakTech®, QuadPak, Standard, Gold                                2.00      $124.00         $248.00   C01977 Dreaming Creek Brewery
       PAK-4PKSTD-GOLD                 Invoice   9/19/2024   INV49913          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C03045 Bow & Arrow Brewing Co.
       PAK-4PKSTD-GOLD                 Invoice   9/20/2024   INV49947          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C07744 Wye Hill Kitchen & Brewing
       PAK-4PKSTD-GOLD                 Invoice   9/20/2024   INV49938          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $116.48   C05312 Mary Rooney
       PAK-4PKSTD-GOLD                 Invoice   9/23/2024   INV50026          PakTech®, QuadPak, Standard, Gold                                1.00      $126.10         $126.10   C12001 9 Mile Legacy Brewing Co.
       PAK-4PKSTD-GOLD                 Invoice   9/23/2024   INV50017          PakTech®, QuadPak, Standard, Gold                                2.00      $124.00         $247.97   C09379 Lawless Brewing Company
       PAK-4PKSTD-GOLD                 Invoice   9/25/2024   INV50073          PakTech®, QuadPak, Standard, Gold                               18.00      $124.00       $2,088.00   C04373 Peculier Ales LLC
       PAK-4PKSTD-GOLD                 Invoice   9/27/2024   INV50214          PakTech®, QuadPak, Standard, Gold                                1.00      $124.00         $124.00   C01310 Longtab Brewing Company
       PAK-4PKSTD-GOLD                 Invoice   10/2/2024   INV50414          PakTech®, QuadPak, Standard, Gold                               20.00      $112.00       $2,240.00   C10584 Creek Leaf Wellness dba Easy Hemp Co.
       PAK-4PKSTD-GRAPHITE             Invoice   9/18/2024   INV49884          PakTech®, QuadPak, Standard, Graphite                            1.00      $124.00         $124.00   C03194 Parleaux Beer Lab
       PAK-4PKSTD-GRAPHITE             Invoice   9/20/2024   INV49933          PakTech®, QuadPak, Standard, Graphite                            1.00      $124.00         $123.87   C11665 Cedar City Brewing Company
       PAK-4PKSTD-GRAPHITE             Invoice   9/23/2024   INV50014          PakTech®, QuadPak, Standard, Graphite                            2.00      $124.00         $248.00   C08317 Onsite Brewing Company
       PAK-4PKSTD-GRAPHITE             Invoice   9/25/2024   INV50076          PakTech®, QuadPak, Standard, Graphite                            1.00      $124.00         $121.00   C02219 Dos Sirenos Brewing
       PAK-4PKSTD-GRAPHITE             Invoice   9/25/2024   INV50109          PakTech®, QuadPak, Standard, Graphite                            2.00      $124.00         $240.00   C12179 GRAND SCHEME BREWING
       PAK-4PKSTD-GRAPHITE             Invoice   9/26/2024   INV50180          PakTech®, QuadPak, Standard, Graphite                            1.00      $124.00         $124.00   C06681 Clouds Brewing
       PAK-4PKSTD-HAZELNUT             Invoice   9/5/2024    INV49566          PakTech®, QuadPak, Standard, Hazelnut                            1.00      $124.00         $124.00   C08628 Coastal Brew Works LLC
       PAK-4PKSTD-HAZELNUT             Invoice   9/18/2024   INV49885          PakTech®, QuadPak, Standard, Hazelnut                           12.00      $124.00       $1,488.00   C11387 Horse Hollow Distillery
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                                                                  American Canning LLC
                                                         Holding Company : American Canning LLC
                                                                Sales by Item Detail
                                                        September 1, 2024 - December 31, 2024
Item                                   Type      Date        Document Number   Description                                Serial Numbers   Qty. Sold   Sales Price     Revenue                                             Customer
       PAK-4PKSTD-HAZELNUT             Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Standard, Hazelnut                          2.00      $120.00        $240.00   C09243 Packform
       PAK-4PKSTD-HAZELNUT             Invoice   9/18/2024   INV49862          PakTech®, QuadPak, Standard, Hazelnut                          4.00      $124.00        $496.00   C04895 Insight Brewing Company
       PAK-4PKSTD-HAZELNUT             Invoice   9/19/2024   INV49899          PakTech®, QuadPak, Standard, Hazelnut                          1.00      $124.00        $124.00   C10818 Hop secret brewing co
       PAK-4PKSTD-HAZELNUT             Invoice   9/30/2024   INV50323          PakTech®, QuadPak, Standard, Hazelnut                          1.00       $94.00         $94.00   C12217 Mother Road Beverage Company
       PAK-4PKSTD-IRIS                 Invoice   9/4/2024    INV49544          PakTech®, QuadPak, Standard, Iris                              1.00      $124.00        $124.00   C12055 La Verne Brewing Company
       PAK-4PKSTD-IRIS                 Invoice   9/4/2024    INV49557          PakTech®, QuadPak, Standard, Iris                              1.00      $124.00        $124.00   C10548 Fast Friends Beer Company
       PAK-4PKSTD-IRIS                 Invoice   9/6/2024    INV49586          PakTech®, QuadPak, Standard, Iris                             10.00      $114.00      $1,140.00   C06404 Straight To Ale Brands, Inc.
       PAK-4PKSTD-IRIS                 Invoice   9/6/2024    INV49619          PakTech®, QuadPak, Standard, Iris                              2.00      $124.00        $248.00   C04540 Screech Owl Brewing
       PAK-4PKSTD-IRIS                 Invoice   9/6/2024    INV49606          PakTech®, QuadPak, Standard, Iris                              2.00      $124.00        $248.00   C04652 supernatural brewing and spirits
       PAK-4PKSTD-IRIS                 Invoice   9/18/2024   INV49856          PakTech®, QuadPak, Standard, Iris                              1.00      $124.00        $124.00   C07571 The Southern Growl Beer Company
       PAK-4PKSTD-IRIS                 Invoice   9/18/2024   INV49866          PakTech®, QuadPak, Standard, Iris                             13.00      $124.00      $1,482.00   C10422 Mother Road Beverage Co
       PAK-4PKSTD-IRIS                 Invoice   9/20/2024   INV49947          PakTech®, QuadPak, Standard, Iris                              1.00      $124.00        $124.00   C07744 Wye Hill Kitchen & Brewing
       PAK-4PKSTD-IRIS                 Invoice   9/23/2024   INV49970          PakTech®, QuadPak, Standard, Iris                              2.00      $124.00        $248.00   C02616 Buckstin Brewing Company
       PAK-4PKSTD-IRIS                 Invoice   9/25/2024   INV50057          PakTech®, QuadPak, Standard, Iris                              1.00      $124.00        $124.00   C11131 Dan Lawrence
       PAK-4PKSTD-IRIS                 Invoice   9/25/2024   INV50081          PakTech®, QuadPak, Standard, Iris                              2.00      $124.00        $248.00   C06491 Jester King Brewery
       PAK-4PKSTD-IRIS                 Invoice   9/26/2024   INV50168          PakTech®, QuadPak, Standard, Iris                              2.00      $124.00        $216.00   C11485 Glacier Brewing Co.
       PAK-4PKSTD-IRIS                 Invoice   9/26/2024   INV50172          PakTech®, QuadPak, Standard, Iris                              2.00      $124.00        $232.00   C05575 Eureka Brewing Company
       PAK-4PKSTD-IRIS                 Invoice   9/26/2024   INV50186          PakTech®, QuadPak, Standard, Iris                              1.00      $124.00        $124.00   C10548 Fast Friends Beer Company
       PAK-4PKSTD-MARIGOLD             Invoice   9/9/2024    INV49657          PakTech®, QuadPak, Standard, Marigold                          1.00      $124.00        $124.00   C01423 Smith & Lentz Brewing Co.
       PAK-4PKSTD-MARIGOLD             Invoice   9/11/2024   INV49712          PakTech®, QuadPak, Standard, Marigold                          1.00      $124.00        $121.29   C05312 Mary Rooney
       PAK-4PKSTD-MARIGOLD             Invoice   9/18/2024   INV49878          PakTech®, QuadPak, Standard, Marigold                          1.00      $124.00        $124.00   C11399 Honest Abe
       PAK-4PKSTD-MARIGOLD             Invoice   9/18/2024   INV49890          PakTech®, QuadPak, Standard, Marigold                          2.00      $124.00        $248.00   C01433 SpindleTap Brewery
       PAK-4PKSTD-MARIGOLD             Invoice   9/18/2024   INV49888          PakTech®, QuadPak, Standard, Marigold                          1.00      $124.00        $124.00   C02382 Community Beer Works
       PAK-4PKSTD-MARIGOLD             Invoice   9/19/2024   INV49900          PakTech®, QuadPak, Standard, Marigold                          3.00      $124.00        $372.00   C07488 Smartmouth Brewing
       PAK-4PKSTD-MARIGOLD             Invoice   9/25/2024   INV50046          PakTech®, QuadPak, Standard, Marigold                          3.00      $124.00        $348.00   C10295 Bierstadt Lagerhaus
       PAK-4PKSTD-MARIGOLD             Invoice   9/25/2024   INV50045          PakTech®, QuadPak, Standard, Marigold                          3.00      $124.00        $362.46   C01433 SpindleTap Brewery
       PAK-4PKSTD-MARIGOLD             Invoice   9/25/2024   INV50093          PakTech®, QuadPak, Standard, Marigold                          2.00      $120.00        $240.00   C07374 Resolute Brewing Company
       PAK-4PKSTD-MARIGOLD             Invoice   9/25/2024   INV50081          PakTech®, QuadPak, Standard, Marigold                          3.00      $124.00        $372.00   C06491 Jester King Brewery
       PAK-4PKSTD-MARIGOLD             Invoice   9/26/2024   INV50150          PakTech®, QuadPak, Standard, Marigold                          1.00      $112.00        $112.00   C08652 Wellspent Brewing co
       PAK-4PKSTD-MARIGOLD             Invoice   9/30/2024   INV50308          PakTech®, QuadPak, Standard, Marigold                          2.00       $94.00        $188.00   C05311 Xul Beer
       PAK-4PKSTD-MARIGOLD             Invoice   9/30/2024   INV50332          PakTech®, QuadPak, Standard, Marigold                          2.00       $94.00        $188.00   C12221 lost boy cider
       PAK-4PKSTD-MARIGOLD             Invoice   10/2/2024   INV50395          PakTech®, QuadPak, Standard, Marigold                          2.00       $94.00        $188.00   C05716 River North Brewery
       PAK-4PKSTD-MARIGOLD             Invoice   10/2/2024   INV50347          PakTech®, QuadPak, Standard, Marigold                          4.00       $94.00        $376.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-NAVYBLUE             Invoice   9/3/2024    INV49510          PakTech®, QuadPak, Standard, Navy Blue                         1.00      $124.00        $124.00   C04637 Beer Church
       PAK-4PKSTD-NAVYBLUE             Invoice   9/6/2024    INV49609          PakTech®, QuadPak, Standard, Navy Blue                         2.00      $124.00        $248.00   C10612 Hardball Beverage Inc
       PAK-4PKSTD-NAVYBLUE             Invoice   9/9/2024    INV49641          PakTech®, QuadPak, Standard, Navy Blue                         2.00      $124.00        $248.00   C02608 Eleventh Hour Brewing Company
       PAK-4PKSTD-NAVYBLUE             Invoice   9/18/2024   INV49888          PakTech®, QuadPak, Standard, Navy Blue                         2.00      $124.00        $248.00   C02382 Community Beer Works
       PAK-4PKSTD-NAVYBLUE             Invoice   9/19/2024   INV49901          PakTech®, QuadPak, Standard, Navy Blue                         4.00      $124.00        $496.00   C06749 Denver Packaging Company
       PAK-4PKSTD-NAVYBLUE             Invoice   9/19/2024   INV49913          PakTech®, QuadPak, Standard, Navy Blue                         1.00      $124.00        $124.00   C03045 Bow & Arrow Brewing Co.
       PAK-4PKSTD-NAVYBLUE             Invoice   9/25/2024   INV50076          PakTech®, QuadPak, Standard, Navy Blue                         1.00      $124.00        $121.00   C02219 Dos Sirenos Brewing
       PAK-4PKSTD-NAVYBLUE             Invoice   9/25/2024   INV50062          PakTech®, QuadPak, Standard, Navy Blue                         2.00      $124.00        $240.00   C01210 East Nashville Beer Works, LLC
       PAK-4PKSTD-NAVYBLUE             Invoice   9/27/2024   INV50216          PakTech®, QuadPak, Standard, Navy Blue                         2.00       $94.00        $188.00   C12212 Jenni Weber
       PAK-4PKSTD-NAVYBLUE             Invoice   10/1/2024   INV50337          PakTech®, QuadPak, Standard, Navy Blue                         1.00       $94.00         $94.00   C08873 Short Story Brewing
       PAK-4PKSTD-NAVYBLUE             Invoice   10/2/2024   INV50347          PakTech®, QuadPak, Standard, Navy Blue                         4.00       $94.00        $376.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-NAVYBLUE             Invoice   10/2/2024   INV50409          PakTech®, QuadPak, Standard, Navy Blue                         1.00       $94.00         $94.00   C01908 Scorched Earth Brewing LLC
       PAK-4PKSTD-NAVYBLUE             Invoice   10/2/2024   INV50406          PakTech®, QuadPak, Standard, Navy Blue                         1.00       $94.00         $94.00   C12233 Victoria Monroy
       PAK-4PKSTD-NAVYBLUE             Invoice   10/2/2024   INV50349          PakTech®, QuadPak, Standard, Navy Blue                         2.00       $94.00        $188.00   C01217 Fairhope Brewing Co.
       PAK-4PKSTD-NAVYBLUE             Invoice   10/3/2024   INV50429          PakTech®, QuadPak, Standard, Navy Blue                         2.00       $92.00        $184.00   C06278 Db Chem Inc
       PAK-4PKSTD-NAVYBLUE             Invoice   10/4/2024   INV50447          PakTech®, QuadPak, Standard, Navy Blue                        19.00       $92.00      $1,748.00   C06080 prison brewing co llc
       PAK-4PKSTD-ORCHID               Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Standard, Orchid                            2.00      $120.00        $240.00   C09243 Packform
       PAK-4PKSTD-PEARL                Invoice   9/9/2024    INV49657          PakTech®, QuadPak, Standard, Pearl                             1.00      $124.00        $124.00   C01423 Smith & Lentz Brewing Co.
       PAK-4PKSTD-PEARL                Invoice   9/12/2024   INV49747          PakTech®, QuadPak, Standard, Pearl                            10.00      $124.00      $1,240.00   C01980 Citizen Cider
       PAK-4PKSTD-PEARL                Invoice   9/16/2024   INV49794          PakTech®, QuadPak, Standard, Pearl                             1.00      $124.00        $122.84   C09170 Save The World Brewing Co.
       PAK-4PKSTD-PEARL                Invoice   9/18/2024   INV49848          PakTech®, QuadPak, Standard, Pearl                             1.00      $124.00        $124.00   C06960 Gotahold Brewing Company
       PAK-4PKSTD-PEARL                Invoice   9/20/2024   INV49947          PakTech®, QuadPak, Standard, Pearl                             1.00      $124.00        $124.00   C07744 Wye Hill Kitchen & Brewing
       PAK-4PKSTD-PEARL                Invoice   9/27/2024   INV50238          PakTech®, QuadPak, Standard, Pearl                            11.00       $94.00      $1,034.00   C09170 Save The World Brewing Co.
       PAK-4PKSTD-PEARL                Invoice   10/2/2024   INV50347          PakTech®, QuadPak, Standard, Pearl                             4.00       $94.00        $376.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-PINK                 Invoice   9/4/2024    INV49528          PakTech®, QuadPak, Standard, Pink                              1.00      $124.00        $119.82   C07261 Our Mutual Friend Brewing Co.
       PAK-4PKSTD-PINK                 Invoice   9/6/2024    INV49599          PakTech®, QuadPak, Standard, Pink                              1.00      $124.00        $119.34   C04258 Springfield Brewing Company
       PAK-4PKSTD-PINK                 Invoice   9/6/2024    INV49619          PakTech®, QuadPak, Standard, Pink                              2.00      $124.00        $248.00   C04540 Screech Owl Brewing
       PAK-4PKSTD-PINK                 Invoice   9/9/2024    INV49634          PakTech®, QuadPak, Standard, Pink                              1.00      $124.00        $121.69   C09629 Transparent Brewing Company
       PAK-4PKSTD-PINK                 Invoice   9/10/2024   INV49699          PakTech®, QuadPak, Standard, Pink                              4.00      $124.00        $492.08   C01045 Amalga Distillery LLC
       PAK-4PKSTD-PINK                 Invoice   9/17/2024   INV49833          PakTech®, QuadPak, Standard, Pink                              3.00      $124.00        $338.56   C01507 Zilker Brewing Company
       PAK-4PKSTD-PINK                 Invoice   9/17/2024   INV49830          PakTech®, QuadPak, Standard, Pink                              5.00      $124.00        $620.00   C09453 Good Spirits Beverages
       PAK-4PKSTD-PINK                 Invoice   9/17/2024   INV49827          PakTech®, QuadPak, Standard, Pink                             40.00      $114.00      $4,560.00   C01368 Pinthouse Pizza, LLC
       PAK-4PKSTD-PINK                 Invoice   9/18/2024   INV49888          PakTech®, QuadPak, Standard, Pink                              1.00      $124.00        $124.00   C02382 Community Beer Works
       PAK-4PKSTD-PINK                 Invoice   9/18/2024   INV49889          PakTech®, QuadPak, Standard, Pink                              1.00      $124.00        $124.00   C01365 Palisade Brewing Company
       PAK-4PKSTD-PINK                 Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Standard, Pink                              2.00      $120.00        $240.00   C09243 Packform
       PAK-4PKSTD-PINK                 Invoice   9/25/2024   INV50057          PakTech®, QuadPak, Standard, Pink                              1.00      $124.00        $124.00   C11131 Dan Lawrence
       PAK-4PKSTD-PINK                 Invoice   9/25/2024   INV50055          PakTech®, QuadPak, Standard, Pink                             12.00      $124.00      $1,296.00   C01245 Golden City Brewery
       PAK-4PKSTD-POWDBLUE             Invoice   9/5/2024    INV49572          PakTech®, QuadPak, Standard, Powder Blue                       1.00      $124.00        $124.00   C01977 Dreaming Creek Brewery
       PAK-4PKSTD-POWDBLUE             Invoice   9/9/2024    INV49634          PakTech®, QuadPak, Standard, Powder Blue                       1.00      $124.00        $121.70   C09629 Transparent Brewing Company
       PAK-4PKSTD-POWDBLUE             Invoice   9/12/2024   INV49748          PakTech®, QuadPak, Standard, Powder Blue                       8.00      $124.00        $992.00   C01980 Citizen Cider
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                                                         Holding Company : American Canning LLC
                                                                Sales by Item Detail
                                                        September 1, 2024 - December 31, 2024
Item                                   Type      Date      Document Number   Description                                  Serial Numbers   Qty. Sold   Sales Price     Revenue                                             Customer
       PAK-4PKSTD-POWDBLUE             Invoice   9/12/2024 INV49730          PakTech®, QuadPak, Standard, Powder Blue                         4.00      $124.00        $491.37   C02266 Audacious Aleworks
       PAK-4PKSTD-POWDBLUE             Invoice   9/13/2024 INV49775          PakTech®, QuadPak, Standard, Powder Blue                         1.00      $124.00        $124.00   C04644 MacLeod Ale Brewing Co.
       PAK-4PKSTD-POWDBLUE             Invoice   9/13/2024 INV49780          PakTech®, QuadPak, Standard, Powder Blue                         1.00      $124.00        $121.34   C07878 Crooked Thumb Brewery
       PAK-4PKSTD-POWDBLUE             Invoice   9/18/2024 INV49878          PakTech®, QuadPak, Standard, Powder Blue                         1.00      $124.00        $124.00   C11399 Honest Abe
       PAK-4PKSTD-POWDBLUE             Invoice   9/18/2024 INV49884          PakTech®, QuadPak, Standard, Powder Blue                         1.00      $124.00        $124.00   C03194 Parleaux Beer Lab
       PAK-4PKSTD-POWDBLUE             Invoice   9/19/2024 INV49917          PakTech®, QuadPak, Standard, Powder Blue                         4.00      $124.00        $480.00   C08188 Karl Strauss Brewing Co
       PAK-4PKSTD-POWDBLUE             Invoice   9/20/2024 INV49947          PakTech®, QuadPak, Standard, Powder Blue                         1.00      $124.00        $124.00   C07744 Wye Hill Kitchen & Brewing
       PAK-4PKSTD-POWDBLUE             Invoice   9/25/2024 INV50046          PakTech®, QuadPak, Standard, Powder Blue                         3.00      $124.00        $348.00   C10295 Bierstadt Lagerhaus
       PAK-4PKSTD-POWDBLUE             Invoice   9/26/2024 INV50168          PakTech®, QuadPak, Standard, Powder Blue                         7.00      $124.00        $756.00   C11485 Glacier Brewing Co.
       PAK-4PKSTD-POWDBLUE             Invoice   9/26/2024 INV50172          PakTech®, QuadPak, Standard, Powder Blue                         2.00      $124.00        $232.00   C05575 Eureka Brewing Company
       PAK-4PKSTD-POWDBLUE             Invoice   10/2/2024 INV50347          PakTech®, QuadPak, Standard, Powder Blue                         5.00       $94.00        $470.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-RED                  Invoice   9/4/2024   INV49541         PakTech®, QuadPak, Standard, Red                                 1.00      $124.00        $124.00   C01562 Pollyanna Brewing Company
       PAK-4PKSTD-RED                  Invoice   9/6/2024   INV49609         PakTech®, QuadPak, Standard, Red                                 1.00      $124.00        $124.00   C10612 Hardball Beverage Inc
       PAK-4PKSTD-RED                  Invoice   9/6/2024   INV49619         PakTech®, QuadPak, Standard, Red                                 2.00      $124.00        $248.00   C04540 Screech Owl Brewing
       PAK-4PKSTD-RED                  Invoice   9/6/2024   INV49586         PakTech®, QuadPak, Standard, Red                                 5.00      $114.00        $570.00   C06404 Straight To Ale Brands, Inc.
       PAK-4PKSTD-RED                  Invoice   9/9/2024   INV49641         PakTech®, QuadPak, Standard, Red                                 2.00      $124.00        $248.00   C02608 Eleventh Hour Brewing Company
       PAK-4PKSTD-RED                  Invoice   9/9/2024   INV49651         PakTech®, QuadPak, Standard, Red                                 3.00      $124.00        $372.00   C02159 Scotty's Bierwerks LLC
       PAK-4PKSTD-RED                  Invoice   9/11/2024 INV49712          PakTech®, QuadPak, Standard, Red                                 1.00      $124.00        $121.31   C05312 Mary Rooney
       PAK-4PKSTD-RED                  Invoice   9/13/2024 INV49775          PakTech®, QuadPak, Standard, Red                                 1.00      $124.00        $124.00   C04644 MacLeod Ale Brewing Co.
       PAK-4PKSTD-RED                  Invoice   9/13/2024 INV49780          PakTech®, QuadPak, Standard, Red                                 2.00      $124.00        $242.70   C07878 Crooked Thumb Brewery
       PAK-4PKSTD-RED                  Invoice   9/17/2024 INV49830          PakTech®, QuadPak, Standard, Red                                 4.00      $124.00        $496.00   C09453 Good Spirits Beverages
       PAK-4PKSTD-RED                  Invoice   9/18/2024 INV49878          PakTech®, QuadPak, Standard, Red                                 4.00      $124.00        $496.00   C11399 Honest Abe
       PAK-4PKSTD-RED                  Invoice   9/18/2024 INV49871          PakTech®, QuadPak, Standard, Red                                 2.00      $120.00        $240.00   C09243 Packform
       PAK-4PKSTD-RED                  Invoice   9/19/2024 INV49897          PakTech®, QuadPak, Standard, Red                                 2.00      $124.00        $248.00   C10818 Hop secret brewing co
       PAK-4PKSTD-RED                  Invoice   9/20/2024 INV49928          PakTech®, QuadPak, Standard, Red                                 1.00      $124.00        $123.20   C06026 Roughhouse Brewing
       PAK-4PKSTD-RED                  Invoice   9/20/2024 INV49947          PakTech®, QuadPak, Standard, Red                                 1.00      $124.00        $124.00   C07744 Wye Hill Kitchen & Brewing
       PAK-4PKSTD-RED                  Invoice   9/23/2024 INV49970          PakTech®, QuadPak, Standard, Red                                 3.00      $124.00        $372.00   C02616 Buckstin Brewing Company
       PAK-4PKSTD-RED                  Invoice   9/25/2024 INV50057          PakTech®, QuadPak, Standard, Red                                 1.00      $124.00        $124.00   C11131 Dan Lawrence
       PAK-4PKSTD-RED                  Invoice   9/25/2024 INV50081          PakTech®, QuadPak, Standard, Red                                 3.00      $124.00        $372.00   C06491 Jester King Brewery
       PAK-4PKSTD-RED                  Invoice   9/25/2024 INV50095          PakTech®, QuadPak, Standard, Red                                 2.00      $120.00        $240.00   C10616 Chappell Brewing
       PAK-4PKSTD-RED                  Invoice   9/25/2024 INV50062          PakTech®, QuadPak, Standard, Red                                 4.00      $124.00        $480.00   C01210 East Nashville Beer Works, LLC
       PAK-4PKSTD-RED                  Invoice   9/27/2024 INV50225          PakTech®, QuadPak, Standard, Red                                 1.00      $112.00        $112.00   C07571 The Southern Growl Beer Company
       PAK-4PKSTD-RED                  Invoice   9/27/2024 INV50242          PakTech®, QuadPak, Standard, Red                                 8.00      $112.00        $728.00   C01110 Beachwood Brewing
       PAK-4PKSTD-RED                  Invoice   9/27/2024 INV50259          PakTech®, QuadPak, Standard, Red                                 3.00      $120.00        $335.83   C06491 Jester King Brewery
       PAK-4PKSTD-RED                  Invoice   9/30/2024 INV50332          PakTech®, QuadPak, Standard, Red                                 4.00       $94.00        $376.00   C12221 lost boy cider
       PAK-4PKSTD-RED                  Invoice   9/30/2024 INV50330          PakTech®, QuadPak, Standard, Red                                 1.00       $94.00         $94.00   C07885 Glenbrook Brewery LLC
       PAK-4PKSTD-RED                  Invoice   10/2/2024 INV50395          PakTech®, QuadPak, Standard, Red                                 2.00       $94.00        $188.00   C05716 River North Brewery
       PAK-4PKSTD-RED                  Invoice   10/2/2024 INV50347          PakTech®, QuadPak, Standard, Red                                 4.00       $94.00        $376.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-RED                  Invoice   10/10/2024 INV50462         PakTech®, QuadPak, Standard, Red                                 1.00       $60.00         $60.00   C02041 Blue Heron Brewing Co.
       PAK-4PKSTD-SILVER               Invoice   9/11/2024 INV49712          PakTech®, QuadPak, Standard, Silver                              1.00      $124.00        $121.29   C05312 Mary Rooney
       PAK-4PKSTD-SILVER               Invoice   9/18/2024 INV49862          PakTech®, QuadPak, Standard, Silver                             14.00      $124.00      $1,736.00   C04895 Insight Brewing Company
       PAK-4PKSTD-SILVER               Invoice   9/18/2024 INV49871          PakTech®, QuadPak, Standard, Silver                              2.00      $120.00        $240.00   C09243 Packform
       PAK-4PKSTD-SILVER               Invoice   9/20/2024 INV49938          PakTech®, QuadPak, Standard, Silver                              1.00      $124.00        $116.47   C05312 Mary Rooney
       PAK-4PKSTD-SILVER               Invoice   9/25/2024 INV50076          PakTech®, QuadPak, Standard, Silver                              1.00      $124.00        $121.01   C02219 Dos Sirenos Brewing
       PAK-4PKSTD-SILVER               Invoice   9/25/2024 INV50109          PakTech®, QuadPak, Standard, Silver                              2.00      $124.00        $240.00   C12179 GRAND SCHEME BREWING
       PAK-4PKSTD-SILVER               Invoice   9/25/2024 INV50044          PakTech®, QuadPak, Standard, Silver                              4.00      $124.00        $496.00   C01563 Heber Valley Brewing Company
       PAK-4PKSTD-SILVER               Invoice   9/26/2024 INV50187          PakTech®, QuadPak, Standard, Silver                              1.00      $124.00        $123.78   C01458 The Brewtorium
       PAK-4PKSTD-SILVER               Invoice   10/2/2024 INV50347          PakTech®, QuadPak, Standard, Silver                              2.00       $94.00        $188.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-SPRNGGRN             Invoice   9/12/2024 INV49732          PakTech®, QuadPak, Standard, Spring Green                        1.00      $124.00        $123.25   C10859 Corn Coast Brewing Company
       PAK-4PKSTD-SPRNGGRN             Invoice   9/12/2024 INV49763          PakTech®, QuadPak, Standard, Spring Green                        1.00      $124.00        $124.00   C02211 Royal Palm Brewing Company
       PAK-4PKSTD-SPRNGGRN             Invoice   9/18/2024 INV49886          PakTech®, QuadPak, Standard, Spring Green                        1.00      $124.00        $124.00   C10298 Invictus brewing co.
       PAK-4PKSTD-SPRNGGRN             Invoice   9/18/2024 INV49856          PakTech®, QuadPak, Standard, Spring Green                        1.00      $124.00        $124.00   C07571 The Southern Growl Beer Company
       PAK-4PKSTD-SPRNGGRN             Invoice   9/20/2024 INV49928          PakTech®, QuadPak, Standard, Spring Green                        1.00      $124.00        $123.20   C06026 Roughhouse Brewing
       PAK-4PKSTD-SPRNGGRN             Invoice   9/23/2024 INV50022          PakTech®, QuadPak, Standard, Spring Green                        3.00      $124.00        $372.00   C03099 Able Baker Brewing Company
       PAK-4PKSTD-SPRNGGRN             Invoice   9/25/2024 INV50046          PakTech®, QuadPak, Standard, Spring Green                        3.00      $124.00        $348.00   C10295 Bierstadt Lagerhaus
       PAK-4PKSTD-SPRNGGRN             Invoice   9/26/2024 INV50186          PakTech®, QuadPak, Standard, Spring Green                        1.00      $124.00        $124.00   C10548 Fast Friends Beer Company
       PAK-4PKSTD-SPRNGGRN             Invoice   9/27/2024 INV50225          PakTech®, QuadPak, Standard, Spring Green                        1.00      $112.00        $112.00   C07571 The Southern Growl Beer Company
       PAK-4PKSTD-SPRNGGRN             Invoice   9/27/2024 INV50242          PakTech®, QuadPak, Standard, Spring Green                       20.00      $112.00      $1,820.00   C01110 Beachwood Brewing
       PAK-4PKSTD-SPRNGGRN             Invoice   9/27/2024 INV50259          PakTech®, QuadPak, Standard, Spring Green                        2.00      $120.00        $223.89   C06491 Jester King Brewery
       PAK-4PKSTD-SPRNGGRN             Invoice   9/30/2024 INV50309          PakTech®, QuadPak, Standard, Spring Green                       40.00       $94.00      $3,640.00   C10229 George Martin
       PAK-4PKSTD-SPRNGGRN             Invoice   10/2/2024 INV50347          PakTech®, QuadPak, Standard, Spring Green                        4.00       $94.00        $376.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-SUNSTRED             Invoice   9/5/2024   INV49569         PakTech®, QuadPak, Standard, Sunst Red                           3.00      $124.00        $372.00   C08197 Sincere Cider
       PAK-4PKSTD-SUNSTRED             Invoice   9/12/2024 INV49724          PakTech®, QuadPak, Standard, Sunst Red                           1.00      $124.00        $124.00   C06218 Brick & Feather Brewery, Inc
       PAK-4PKSTD-SUNSTRED             Invoice   9/18/2024 INV49862          PakTech®, QuadPak, Standard, Sunst Red                           6.00      $124.00        $744.00   C04895 Insight Brewing Company
       PAK-4PKSTD-SUNSTRED             Invoice   9/25/2024 INV50100          PakTech®, QuadPak, Standard, Sunst Red                           3.00      $120.00        $360.00   C06323 Forward Brewing
       PAK-4PKSTD-SUNSTRED             Invoice   9/30/2024 INV50308          PakTech®, QuadPak, Standard, Sunst Red                          14.00       $94.00      $1,316.00   C05311 Xul Beer
       PAK-4PKSTD-SUNSTRED             Invoice   10/1/2024 INV50336          PakTech®, QuadPak, Standard, Sunst Red                           1.00       $94.00         $94.00   C03194 Parleaux Beer Lab
       PAK-4PKSTD-SUNSTRED             Invoice   10/1/2024 INV50337          PakTech®, QuadPak, Standard, Sunst Red                           1.00       $94.00         $94.00   C08873 Short Story Brewing
       PAK-4PKSTD-TROPLIME             Invoice   9/10/2024 INV49699          PakTech®, QuadPak, Standard, Tropical Lime                       2.00      $124.00        $246.03   C01045 Amalga Distillery LLC
       PAK-4PKSTD-TROPLIME             Invoice   9/12/2024 INV49751          PakTech®, QuadPak, Standard, Tropical Lime                       4.00      $124.00        $496.00   C03839 Templin Family Brewing
       PAK-4PKSTD-TROPLIME             Invoice   9/12/2024 INV49752          PakTech®, QuadPak, Standard, Tropical Lime                       1.00      $124.00        $124.00   C11385 SunMed Growers
       PAK-4PKSTD-TROPLIME             Invoice   9/13/2024 INV49770          PakTech®, QuadPak, Standard, Tropical Lime                       3.00      $124.00        $368.89   C06491 Jester King Brewery
       PAK-4PKSTD-TROPLIME             Invoice   9/13/2024 INV49775          PakTech®, QuadPak, Standard, Tropical Lime                       1.00      $124.00        $124.00   C04644 MacLeod Ale Brewing Co.
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                                                         Holding Company : American Canning LLC
                                                                Sales by Item Detail
                                                        September 1, 2024 - December 31, 2024
Item                                   Type      Date        Document Number   Description                                    Serial Numbers   Qty. Sold   Sales Price     Revenue                                             Customer
       PAK-4PKSTD-TROPLIME             Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Standard, Tropical Lime                         2.00      $120.00        $240.00   C09243 Packform
       PAK-4PKSTD-TROPLIME             Invoice   9/18/2024   INV49884          PakTech®, QuadPak, Standard, Tropical Lime                         1.00      $124.00        $124.00   C03194 Parleaux Beer Lab
       PAK-4PKSTD-TROPLIME             Invoice   9/18/2024   INV49866          PakTech®, QuadPak, Standard, Tropical Lime                        12.00      $124.00      $1,368.00   C10422 Mother Road Beverage Co
       PAK-4PKSTD-TROPLIME             Invoice   9/19/2024   INV49910          PakTech®, QuadPak, Standard, Tropical Lime                         2.00      $124.00        $247.83   C08640 Knotty Brewing
       PAK-4PKSTD-TROPLIME             Invoice   9/20/2024   INV49947          PakTech®, QuadPak, Standard, Tropical Lime                         1.00      $124.00        $124.00   C07744 Wye Hill Kitchen & Brewing
       PAK-4PKSTD-TROPLIME             Invoice   9/20/2024   INV49952          PakTech®, QuadPak, Standard, Tropical Lime                         1.00      $124.00        $122.67   C01542 Bankhead Brewing Co.
       PAK-4PKSTD-TROPLIME             Invoice   9/25/2024   INV50109          PakTech®, QuadPak, Standard, Tropical Lime                         1.00      $124.00        $120.00   C12179 GRAND SCHEME BREWING
       PAK-4PKSTD-TROPLIME             Invoice   9/25/2024   INV50068          PakTech®, QuadPak, Standard, Tropical Lime                         4.00      $124.00        $480.00   C03810 Illuminated Brew Works
       PAK-4PKSTD-TROPLIME             Invoice   9/26/2024   INV50168          PakTech®, QuadPak, Standard, Tropical Lime                         7.00      $124.00        $756.00   C11485 Glacier Brewing Co.
       PAK-4PKSTD-TROPLIME             Invoice   9/26/2024   INV50172          PakTech®, QuadPak, Standard, Tropical Lime                         2.00      $124.00        $232.00   C05575 Eureka Brewing Company
       PAK-4PKSTD-TROPLIME             Invoice   9/30/2024   INV50308          PakTech®, QuadPak, Standard, Tropical Lime                         2.00       $94.00        $188.00   C05311 Xul Beer
       PAK-4PKSTD-TROPLIME             Invoice   9/30/2024   INV50318          PakTech®, QuadPak, Standard, Tropical Lime                         2.00       $94.00        $188.00   C11272 Hourglass Brewing
       PAK-4PKSTD-TROPLIME             Invoice   9/30/2024   INV50323          PakTech®, QuadPak, Standard, Tropical Lime                         9.00       $94.00        $846.00   C12217 Mother Road Beverage Company
       PAK-4PKSTD-TROPLIME             Invoice   10/1/2024   INV50336          PakTech®, QuadPak, Standard, Tropical Lime                         1.00       $94.00         $94.00   C03194 Parleaux Beer Lab
       PAK-4PKSTD-TROPLIME             Invoice   10/2/2024   INV50347          PakTech®, QuadPak, Standard, Tropical Lime                         4.00       $94.00        $376.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-TROPORNG             Invoice   9/3/2024    INV49510          PakTech®, QuadPak, Standard, Tropical Orange                       1.00      $124.00        $124.00   C04637 Beer Church
       PAK-4PKSTD-TROPORNG             Invoice   9/4/2024    INV49524          PakTech®, QuadPak, Standard, Tropical Orange                       5.00      $124.00        $620.00   C03898 Take 16 Brewing
       PAK-4PKSTD-TROPORNG             Invoice   9/6/2024    INV49586          PakTech®, QuadPak, Standard, Tropical Orange                      10.00      $114.00      $1,140.00   C06404 Straight To Ale Brands, Inc.
       PAK-4PKSTD-TROPORNG             Invoice   9/9/2024    INV49641          PakTech®, QuadPak, Standard, Tropical Orange                       2.00      $124.00        $248.00   C02608 Eleventh Hour Brewing Company
       PAK-4PKSTD-TROPORNG             Invoice   9/10/2024   INV49685          PakTech®, QuadPak, Standard, Tropical Orange                       1.00      $124.00        $124.00   C06844 Monday Night Brewing
       PAK-4PKSTD-TROPORNG             Invoice   9/12/2024   INV49751          PakTech®, QuadPak, Standard, Tropical Orange                       6.00      $124.00        $744.00   C03839 Templin Family Brewing
       PAK-4PKSTD-TROPORNG             Invoice   9/13/2024   INV49770          PakTech®, QuadPak, Standard, Tropical Orange                       3.00      $124.00        $368.88   C06491 Jester King Brewery
       PAK-4PKSTD-TROPORNG             Invoice   9/18/2024   INV49879          PakTech®, QuadPak, Standard, Tropical Orange                       2.00      $124.00        $248.00   C01987 Lost Cabin Beer Co.
       PAK-4PKSTD-TROPORNG             Invoice   9/18/2024   INV49866          PakTech®, QuadPak, Standard, Tropical Orange                      13.00      $124.00      $1,482.00   C10422 Mother Road Beverage Co
       PAK-4PKSTD-TROPORNG             Invoice   9/18/2024   INV49875          PakTech®, QuadPak, Standard, Tropical Orange                       2.00      $124.00        $248.00   C08484 Bent Water Brewing
       PAK-4PKSTD-TROPORNG             Invoice   9/18/2024   INV49878          PakTech®, QuadPak, Standard, Tropical Orange                       4.00      $124.00        $496.00   C11399 Honest Abe
       PAK-4PKSTD-TROPORNG             Invoice   9/20/2024   INV49947          PakTech®, QuadPak, Standard, Tropical Orange                       1.00      $124.00        $124.00   C07744 Wye Hill Kitchen & Brewing
       PAK-4PKSTD-TROPORNG             Invoice   9/23/2024   INV49970          PakTech®, QuadPak, Standard, Tropical Orange                       3.00      $124.00        $372.00   C02616 Buckstin Brewing Company
       PAK-4PKSTD-TROPORNG             Invoice   9/23/2024   INV50008          PakTech®, QuadPak, Standard, Tropical Orange                       1.00      $124.00        $124.00   C01951 Deviant Wolfe Brewing, LLC
       PAK-4PKSTD-TROPORNG             Invoice   9/25/2024   INV50068          PakTech®, QuadPak, Standard, Tropical Orange                       2.00      $124.00        $240.00   C03810 Illuminated Brew Works
       PAK-4PKSTD-WHITE                Invoice   9/3/2024    INV49510          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $124.00   C04637 Beer Church
       PAK-4PKSTD-WHITE                Invoice   9/3/2024    INV49512          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $124.00   C02230 Quirk Brewing
       PAK-4PKSTD-WHITE                Invoice   9/4/2024    INV49541          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $124.00   C01562 Pollyanna Brewing Company
       PAK-4PKSTD-WHITE                Invoice   9/4/2024    INV49533          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $248.00   C03085 False Idol Brewing
       PAK-4PKSTD-WHITE                Invoice   9/5/2024    INV49563          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $248.00   C01059 Apiary Cider & Mead
       PAK-4PKSTD-WHITE                Invoice   9/6/2024    INV49609          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $248.00   C10612 Hardball Beverage Inc
       PAK-4PKSTD-WHITE                Invoice   9/9/2024    INV49644          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $248.00   C01562 Pollyanna Brewing Company
       PAK-4PKSTD-WHITE                Invoice   9/9/2024    INV49655          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $124.00   C03135 Silva Brewing
       PAK-4PKSTD-WHITE                Invoice   9/9/2024    INV49658          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $124.00   C07134 Bayou City Hemp
       PAK-4PKSTD-WHITE                Invoice   9/10/2024   INV49681          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $124.00   C03085 False Idol Brewing
       PAK-4PKSTD-WHITE                Invoice   9/10/2024   INV49700          PakTech®, QuadPak, Standard, White                                20.00      $124.00      $2,480.00   C07298 Uinta Brewing Company
       PAK-4PKSTD-WHITE                Invoice   9/12/2024   INV49759          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $248.00   C03045 Bow & Arrow Brewing Co.
       PAK-4PKSTD-WHITE                Invoice   9/13/2024   INV49778          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $248.00   C04414 Wild Cider
       PAK-4PKSTD-WHITE                Invoice   9/13/2024   INV49777          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $248.00   C04414 Wild Cider
       PAK-4PKSTD-WHITE                Invoice   9/16/2024   INV49816          PakTech®, QuadPak, Standard, White                                 4.00      $124.00        $496.00   C01621 Left Coast Brewing Co.
       PAK-4PKSTD-WHITE                Invoice   9/17/2024   INV49839          PakTech®, QuadPak, Standard, White                                 4.00      $124.00        $496.00   C06407 Vacancy Brewing
       PAK-4PKSTD-WHITE                Invoice   9/18/2024   INV49878          PakTech®, QuadPak, Standard, White                                 3.00      $124.00        $372.00   C11399 Honest Abe
       PAK-4PKSTD-WHITE                Invoice   9/18/2024   INV49883          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $124.00   C09213 MARTO BREWING COMPANY
       PAK-4PKSTD-WHITE                Invoice   9/18/2024   INV49866          PakTech®, QuadPak, Standard, White                                 2.00      $124.00        $228.00   C10422 Mother Road Beverage Co
       PAK-4PKSTD-WHITE                Invoice   9/18/2024   INV49871          PakTech®, QuadPak, Standard, White                                 2.00      $120.00        $240.00   C09243 Packform
       PAK-4PKSTD-WHITE                Invoice   9/18/2024   INV49862          PakTech®, QuadPak, Standard, White                                12.00      $124.00      $1,488.00   C04895 Insight Brewing Company
       PAK-4PKSTD-WHITE                Invoice   9/18/2024   INV49855          PakTech®, QuadPak, Standard, White                                 1.00      $124.00        $121.84   C07188 Lucky Luke Brewing
       PAK-4PKSTD-WHITE                Invoice   9/18/2024   INV49849          PakTech®, QuadPak, Standard, White                                 5.00      $124.00        $620.00   C07045 Hog Molly Brewing Co.
       PAK-4PKSTD-YELLOW               Invoice   9/3/2024    INV49510          PakTech®, QuadPak, Standard, Yellow                                2.00      $124.00        $248.00   C04637 Beer Church
       PAK-4PKSTD-YELLOW               Invoice   9/3/2024    INV49518          PakTech®, QuadPak, Standard, Yellow                                2.00      $124.00        $248.00   C06491 Jester King Brewery
       PAK-4PKSTD-YELLOW               Invoice   9/6/2024    INV49620          PakTech®, QuadPak, Standard, Yellow                                7.00      $124.00        $868.00   C09810 trimtab brewing co
       PAK-4PKSTD-YELLOW               Invoice   9/9/2024    INV49659          PakTech®, QuadPak, Standard, Yellow                                4.00      $124.00        $496.00   C01183 Community Beer Co.
       PAK-4PKSTD-YELLOW               Invoice   9/9/2024    INV49634          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $121.69   C09629 Transparent Brewing Company
       PAK-4PKSTD-YELLOW               Invoice   9/9/2024    INV49648          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $124.00   C03045 Bow & Arrow Brewing Co.
       PAK-4PKSTD-YELLOW               Invoice   9/12/2024   INV49748          PakTech®, QuadPak, Standard, Yellow                                8.00      $124.00        $992.00   C01980 Citizen Cider
       PAK-4PKSTD-YELLOW               Invoice   9/18/2024   INV49843          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $124.00   C10920 Caffee Luxxe
       PAK-4PKSTD-YELLOW               Invoice   9/18/2024   INV49890          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $124.00   C01433 SpindleTap Brewery
       PAK-4PKSTD-YELLOW               Invoice   9/18/2024   INV49878          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $124.00   C11399 Honest Abe
       PAK-4PKSTD-YELLOW               Invoice   9/23/2024   INV50019          PakTech®, QuadPak, Standard, Yellow                                3.00      $124.00        $372.00   C04979 Precarious Beer Project
       PAK-4PKSTD-YELLOW               Invoice   9/23/2024   INV50006          PakTech®, QuadPak, Standard, Yellow                                8.00      $124.00        $960.00   C01980 Citizen Cider
       PAK-4PKSTD-YELLOW               Invoice   9/25/2024   INV50057          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $124.00   C11131 Dan Lawrence
       PAK-4PKSTD-YELLOW               Invoice   9/25/2024   INV50045          PakTech®, QuadPak, Standard, Yellow                                3.00      $124.00        $362.46   C01433 SpindleTap Brewery
       PAK-4PKSTD-YELLOW               Invoice   9/25/2024   INV50114          PakTech®, QuadPak, Standard, Yellow                                3.00      $124.00        $372.00   C02151 Bainbridge Brewing
       PAK-4PKSTD-YELLOW               Invoice   9/26/2024   INV50168          PakTech®, QuadPak, Standard, Yellow                                5.00      $124.00        $540.00   C11485 Glacier Brewing Co.
       PAK-4PKSTD-YELLOW               Invoice   9/26/2024   INV50163          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $121.82   C10729 Wackadoo Brewing
       PAK-4PKSTD-YELLOW               Invoice   9/27/2024   INV50212          PakTech®, QuadPak, Standard, Yellow                                1.00      $124.00        $120.08   C06026 Roughhouse Brewing
       PAK-4PKSTD-YELLOW               Invoice   9/27/2024   INV50242          PakTech®, QuadPak, Standard, Yellow                               12.00      $112.00      $1,092.00   C01110 Beachwood Brewing
       PAK-4PKSTD-YELLOW               Invoice   9/30/2024   INV50330          PakTech®, QuadPak, Standard, Yellow                                1.00       $94.00         $94.00   C07885 Glenbrook Brewery LLC
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                                                          Holding Company : American Canning LLC
                                                                 Sales by Item Detail
                                                         September 1, 2024 - December 31, 2024
Item                                    Type      Date        Document Number   Description                           Serial Numbers   Qty. Sold   Sales Price      Revenue                                              Customer
       PAK-4PKSTD-YELLOW                Invoice   10/1/2024   INV50336          PakTech®, QuadPak, Standard, Yellow                       1.00       $94.00          $94.00   C03194 Parleaux Beer Lab
       PAK-4PKSTD-YELLOW                Invoice   10/1/2024   INV50337          PakTech®, QuadPak, Standard, Yellow                       1.00       $94.00          $94.00   C08873 Short Story Brewing
       PAK-4PKSTD-YELLOW                Invoice   10/2/2024   INV50360          PakTech®, QuadPak, Standard, Yellow                       2.00       $94.00         $188.00   C07896 Lake Pleasant Brewing
       PAK-4PKSTD-YELLOW                Invoice   10/2/2024   INV50391          PakTech®, QuadPak, Standard, Yellow                       4.00       $94.00         $376.00   C05486 Brouwerij West
       PAK-4PKSTD-YELLOW                Invoice   10/2/2024   INV50377          PakTech®, QuadPak, Standard, Yellow                       2.00       $94.00         $188.00   C09064 Boxing Bear Brewing Co.
       PAK-4PKSTD-YELLOW                Invoice   10/2/2024   INV50349          PakTech®, QuadPak, Standard, Yellow                       3.00       $94.00         $282.00   C01217 Fairhope Brewing Co.
       PAK-4PKSTD-YELLOW                Invoice   10/2/2024   INV50347          PakTech®, QuadPak, Standard, Yellow                       5.00       $94.00         $470.00   C07684 Elder Pine Brewing & Blending Co
       PAK-4PKSTD-YELLOW                Invoice   10/2/2024   INV50407          PakTech®, QuadPak, Standard, Yellow                       6.00       $94.00         $564.00   C01980 Citizen Cider
       PAK-4PKSTD-YELLOW                Invoice   10/2/2024   INV50395          PakTech®, QuadPak, Standard, Yellow                       2.00       $94.00         $188.00   C05716 River North Brewery
       PAK-4PKSTD-YELLOW                Invoice   10/3/2024   INV50431          PakTech®, QuadPak, Standard, Yellow                       1.00      $120.00         $110.33   C06407 Vacancy Brewing
       PAK-4PKSTD-YELLOW                Invoice   10/3/2024   INV50418          PakTech®, QuadPak, Standard, Yellow                       2.00      $124.00         $244.54   C01082 Austin Beer Garden & Brewery
       PAK-6PKSLEEK-BLACK               Invoice   9/6/2024    INV49605          PakTech®, 6 Pak, Sleek, Black                             2.00      $119.00         $238.00   C08265 Plaza Liquors
       PAK-6PKSLEEK-BLACK               Invoice   9/18/2024   INV49887          PakTech®, 6 Pak, Sleek, Black                             4.00      $119.00         $476.00   C12144 Good Feels
       PAK-6PKSLEEK-BLACK               Invoice   9/18/2024   INV49851          PakTech®, 6 Pak, Sleek, Black                             1.00      $119.00         $119.00   C07395 Spiros Liquor Inc
       PAK-6PKSLEEK-BLACK               Invoice   9/19/2024   INV49906          PakTech®, 6 Pak, Sleek, Black                             4.00      $119.00         $476.00   C01262 Hidden Springs Ale Works
       PAK-6PKSLEEK-BLACK               Invoice   9/20/2024   INV49921          PakTech®, 6 Pak, Sleek, Black                             4.00      $119.00         $476.00   C09810 trimtab brewing co
       PAK-6PKSLEEK-BLACK               Invoice   9/23/2024   INV49994          PakTech®, 6 Pak, Sleek, Black                             2.00      $119.00         $238.00   C01657 Superfood & Company
       PAK-6PKSLEEK-BLACK               Invoice   9/25/2024   INV50097          PakTech®, 6 Pak, Sleek, Black                             4.00      $114.00         $456.00   C09778 Rise Kombucha
       PAK-6PKSLEEK-BLACK               Invoice   9/25/2024   INV50127          PakTech®, 6 Pak, Sleek, Black                             1.00      $119.00         $118.00   C11277 Running Lights
       PAK-6PKSLEEK-BLACK               Invoice   9/25/2024   INV50131          PakTech®, 6 Pak, Sleek, Black                             1.00      $114.00         $114.00   C09917 How You Brewin
       PAK-6PKSLEEK-BLACK               Invoice   9/27/2024   INV50202          PakTech®, 6 Pak, Sleek, Black                             1.00      $114.00         $114.00   C08441 Canworks, Inc
       PAK-6PKSLEEK-BLACK               Invoice   10/2/2024   INV50388          PakTech®, 6 Pak, Sleek, Black                             4.00       $88.00         $352.00   C11157 Max Koskela
       PAK-6PKSLEEK-BLACK               Invoice   10/4/2024   INV50455          PakTech®, 6 Pak, Sleek, Black                            68.00       $85.28       $5,799.04   C08441 Canworks, Inc
       PAK-6PKSLEEK-RED                 Invoice   9/23/2024   INV49994          PakTech®, 6 Pak, Sleek, Red                               2.00      $119.00         $238.00   C01657 Superfood & Company
       PAK-6PKSLEEK-ULTBLUE             Invoice   9/23/2024   INV49994          PakTech®, 6 Pak, Sleek, Ultra Blue                        2.00      $119.00         $238.00   C01657 Superfood & Company
       PAK-6PKSLEEK-WHITE               Invoice   9/3/2024    INV49501          PakTech®, 6 Pak, Sleek, White                             6.00      $119.00         $714.00   C07675 Core Brewing & Distilling
       PAK-6PKSLEEK-WHITE               Invoice   9/3/2024    INV49506          PakTech®, 6 Pak, Sleek, White                             1.00      $119.00         $119.00   C11553 Andrea Marley
       PAK-6PKSLEEK-WHITE               Invoice   9/9/2024    INV49656          PakTech®, 6 Pak, Sleek, White                             4.00      $119.00         $476.00   C12089 Annie Henderson
       PAK-6PKSLEEK-WHITE               Invoice   9/12/2024   INV49745          PakTech®, 6 Pak, Sleek, White                             4.00      $119.00         $476.00   C12112 Shipbots
       PAK-6PKSLEEK-WHITE               Invoice   9/23/2024   INV49994          PakTech®, 6 Pak, Sleek, White                             2.00      $119.00         $238.00   C01657 Superfood & Company
       PAK-6PKSLEEK-WHITE               Invoice   9/23/2024   INV50007          PakTech®, 6 Pak, Sleek, White                             3.00      $119.00         $357.00   C10509 Siddharth Chitnis
       PAK-6PKSLEEK-WHITE               Invoice   9/23/2024   INV50002          PakTech®, 6 Pak, Sleek, White                             8.00      $119.00         $952.00   C07675 Core Brewing & Distilling
       PAK-6PKSLEEK-WHITE               Invoice   9/23/2024   INV50005          PakTech®, 6 Pak, Sleek, White                            10.00      $119.00       $1,190.00   C12165 Benjamin Krysiak
       PAK-6PKSLEEK-WHITE               Invoice   9/25/2024   INV50133          PakTech®, 6 Pak, Sleek, White                            15.00      $114.00       $1,590.00   C10820 Steven Wiggins
       PAK-6PKSLEEK-WHITE               Invoice   10/2/2024   INV50413          PakTech®, 6 Pak, Sleek, White                             1.00       $88.00          $88.00   C07348 Inner Mission Inc
       PAK-6PKSLEEK-WHITE               Invoice   10/4/2024   INV50455          PakTech®, 6 Pak, Sleek, White                           120.00       $85.28      $10,233.60   C08441 Canworks, Inc
       PAK-6PKSTD-AQUA                  Invoice   9/4/2024    INV49557          PakTech®, 6Pak, Standard, Aqua                            1.00      $101.00         $101.00   C10548 Fast Friends Beer Company
       PAK-6PKSTD-AQUA                  Invoice   9/11/2024   INV49714          PakTech®, 6Pak, Standard, Aqua                            1.00      $101.00          $76.00   C12105 Schuss Boom Brewing
       PAK-6PKSTD-AQUA                  Invoice   9/23/2024   INV49984          PakTech®, 6Pak, Standard, Aqua                            1.00      $101.00          $94.00   C11036 Exxon gas station
       PAK-6PKSTD-AQUA                  Invoice   9/23/2024   INV49997          PakTech®, 6Pak, Standard, Aqua                            3.00      $103.24         $309.72   C08218 Rice Lake Beer & Cider Co. Ltd.
       PAK-6PKSTD-BERRYRED              Invoice   9/20/2024   INV49927          PakTech®, 6Pak, Standard, Berry Red                      20.00      $101.00       $2,020.00   C01430 Southern Star Brewing
       PAK-6PKSTD-BERRYRED              Invoice   9/27/2024   INV50231          PakTech®, 6Pak, Standard, Berry Red                       2.00       $88.00         $176.00   C08265 Plaza Liquors
       PAK-6PKSTD-BLACK                 Invoice   9/3/2024    INV49495          PakTech®, 6Pak, Standard, Black                           1.00      $101.00         $101.00   C12047 Box 781
       PAK-6PKSTD-BLACK                 Invoice   9/3/2024    INV49502          PakTech®, 6Pak, Standard, Black                           3.00      $101.00         $303.00   C11357 Bohemian Brewery
       PAK-6PKSTD-BLACK                 Invoice   9/4/2024    INV49556          PakTech®, 6Pak, Standard, Black                           4.00      $101.00         $388.00   C07132 Parish Brewing Company
       PAK-6PKSTD-BLACK                 Invoice   9/4/2024    INV49543          PakTech®, 6Pak, Standard, Black                           5.00      $101.00         $505.00   C05706 DeadBeach Brewery
       PAK-6PKSTD-BLACK                 Invoice   9/5/2024    INV49565          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C11392 BCAG
       PAK-6PKSTD-BLACK                 Invoice   9/6/2024    INV49604          PakTech®, 6Pak, Standard, Black                           5.00      $101.00         $505.00   C09536 Great Raft Brewing
       PAK-6PKSTD-BLACK                 Invoice   9/6/2024    INV49590          PakTech®, 6Pak, Standard, Black                           1.00      $101.00         $101.00   C01383 Red Horn Brewing
       PAK-6PKSTD-BLACK                 Invoice   9/9/2024    INV49643          PakTech®, 6Pak, Standard, Black                           3.00      $101.00         $303.00   C09536 Great Raft Brewing
       PAK-6PKSTD-BLACK                 Invoice   9/9/2024    INV49661          PakTech®, 6Pak, Standard, Black                           3.00      $101.00         $303.00   C09617 Third Coast Coffee
       PAK-6PKSTD-BLACK                 Invoice   9/12/2024   INV49722          PakTech®, 6Pak, Standard, Black                           1.00      $101.00         $101.00   C11357 Bohemian Brewery
       PAK-6PKSTD-BLACK                 Invoice   9/13/2024   INV49766          PakTech®, 6Pak, Standard, Black                           1.00      $101.00         $101.00   C06946 Mountaintown Brewing
       PAK-6PKSTD-BLACK                 Invoice   9/16/2024   INV49785          PakTech®, 6Pak, Standard, Black                           6.00      $101.00         $606.00   C01373 Pretoria Fields Collective
       PAK-6PKSTD-BLACK                 Invoice   9/16/2024   INV49787          PakTech®, 6Pak, Standard, Black                           1.00      $101.00         $101.00   C02280 Rally Cap Brewing Company
       PAK-6PKSTD-BLACK                 Invoice   9/16/2024   INV49814          PakTech®, 6Pak, Standard, Black                           4.00      $101.00         $385.77   C08589 Greenbrier Valley Brewing Company
       PAK-6PKSTD-BLACK                 Invoice   9/16/2024   INV49816          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C01621 Left Coast Brewing Co.
       PAK-6PKSTD-BLACK                 Invoice   9/16/2024   INV49796          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $199.10   C10296 Barry VanDyke
       PAK-6PKSTD-BLACK                 Invoice   9/17/2024   INV49824          PakTech®, 6Pak, Standard, Black                          20.00      $101.00       $1,940.00   C09448 Iron Monk Brewing Co
       PAK-6PKSTD-BLACK                 Invoice   9/18/2024   INV49891          PakTech®, 6Pak, Standard, Black                           6.00      $101.00         $606.00   C02381 Big Top Brewing Company
       PAK-6PKSTD-BLACK                 Invoice   9/18/2024   INV49882          PakTech®, 6Pak, Standard, Black                           6.00      $101.00         $606.00   C09593 Brewery X
       PAK-6PKSTD-BLACK                 Invoice   9/18/2024   INV49854          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C05695 Drowned Valley Brewing Co
       PAK-6PKSTD-BLACK                 Invoice   9/18/2024   INV50294          PakTech®, 6Pak, Standard, Black                          10.00       $78.00         $780.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-BLACK                 Invoice   9/18/2024   INV49860          PakTech®, 6Pak, Standard, Black                           1.00      $101.00          $99.52   C09707 Fat Toad Brewing Company
       PAK-6PKSTD-BLACK                 Invoice   9/19/2024   INV49896          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C06288 Cappys Wine & Spirits
       PAK-6PKSTD-BLACK                 Invoice   9/20/2024   INV49951          PakTech®, 6Pak, Standard, Black                           1.00      $101.00          $98.60   C03002 Icebox Brewing Company
       PAK-6PKSTD-BLACK                 Invoice   9/20/2024   INV49940          PakTech®, 6Pak, Standard, Black                           6.00      $101.00         $606.00   C01427 Soulcraft Brewing
       PAK-6PKSTD-BLACK                 Invoice   9/20/2024   INV49945          PakTech®, 6Pak, Standard, Black                          20.00      $101.00       $1,940.00   C05706 DeadBeach Brewery
       PAK-6PKSTD-BLACK                 Invoice   9/20/2024   INV49954          PakTech®, 6Pak, Standard, Black                          40.00       $88.00       $3,238.14   C01451 Texas Beer Co
       PAK-6PKSTD-BLACK                 Invoice   9/20/2024   INV49931          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C01244 Glacial Till Vineyard & Winery
       PAK-6PKSTD-BLACK                 Invoice   9/23/2024   INV49990          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C12164 Bound Beverages
       PAK-6PKSTD-BLACK                 Invoice   9/23/2024   INV50004          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C11053 New Belgium Brewing
       PAK-6PKSTD-BLACK                 Invoice   9/23/2024   INV49993          PakTech®, 6Pak, Standard, Black                           2.00      $101.00         $202.00   C10524 Rogers Wines & Spirits
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                                                                  American Canning LLC
                                                         Holding Company : American Canning LLC
                                                                Sales by Item Detail
                                                        September 1, 2024 - December 31, 2024
Item                                   Type      Date      Document Number   Description                               Serial Numbers   Qty. Sold   Sales Price     Revenue                                                   Customer
       PAK-6PKSTD-BLACK                Invoice   9/23/2024 INV50001          PakTech®, 6Pak, Standard, Black                               4.00       $97.00        $388.00   C11357 Bohemian Brewery
       PAK-6PKSTD-BLACK                Invoice   9/23/2024 INV49987          PakTech®, 6Pak, Standard, Black                               6.00      $101.00        $579.98   C09013 Breeyan Edwards
       PAK-6PKSTD-BLACK                Invoice   9/25/2024 INV50070          PakTech®, 6Pak, Standard, Black                               1.00      $101.00         $99.44   C01264 Hold Out Brewing
       PAK-6PKSTD-BLACK                Invoice   9/25/2024 INV50091          PakTech®, 6Pak, Standard, Black                               2.00      $101.00        $202.00   C01300 Lazarus Brewing Co
       PAK-6PKSTD-BLACK                Invoice   9/30/2024 INV50295          PakTech®, 6Pak, Standard, Black                               5.00       $88.00        $440.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-BLACK                Invoice   10/1/2024 INV50415          PakTech®, 6Pak, Standard, Black                              53.00       $88.00      $4,664.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-BLACK                Invoice   10/4/2024 INV50456          PakTech®, 6Pak, Standard, Black                              10.00       $78.00        $780.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-CREAM                Invoice   9/6/2024   INV49586         PakTech®, 6Pak, Standard, Cream                              40.00       $91.00      $3,640.00   C06404 Straight To Ale Brands, Inc.
       PAK-6PKSTD-CREAM                Invoice   9/10/2024 INV49691          PakTech®, 6Pak, Standard, Cream                               8.00      $101.00        $808.00   C11387 Horse Hollow Distillery
       PAK-6PKSTD-CREAM                Invoice   9/17/2024 INV49831          PakTech®, 6Pak, Standard, Cream                              40.00      $101.00      $3,688.71   C01507 Zilker Brewing Company
       PAK-6PKSTD-CREAM                Invoice   9/18/2024 INV50294          PakTech®, 6Pak, Standard, Cream                              10.00       $91.00        $910.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-CREAM                Invoice   9/19/2024 INV49893          PakTech®, 6Pak, Standard, Cream                               3.00      $101.00        $303.00   C07631 Fermensch Kombucha
       PAK-6PKSTD-CREAM                Invoice   9/26/2024 INV50156          PakTech®, 6Pak, Standard, Cream                               2.00       $96.00        $188.00   C01019 5 Stones Artisan Brewery
       PAK-6PKSTD-CREAM                Invoice   9/27/2024 INV50232          PakTech®, 6Pak, Standard, Cream                               5.00       $88.00        $440.00   C07631 Fermensch Kombucha
       PAK-6PKSTD-CREAM                Invoice   9/27/2024 INV50215          PakTech®, 6Pak, Standard, Cream                               4.00      $101.00        $404.00   C01134 Blackwater Draw Brewing Co.
       PAK-6PKSTD-CREAM                Invoice   10/2/2024 INV50409          PakTech®, 6Pak, Standard, Cream                               1.00       $74.00         $74.00   C01908 Scorched Earth Brewing LLC
       PAK-6PKSTD-DARKGRN              Invoice   9/23/2024 INV49999          PakTech®, 6Pak, Standard, Dark Green                          3.00      $101.00        $303.00   C12162 Kansas City Bier Company
       PAK-6PKSTD-DARKGRN              Invoice   9/25/2024 INV50074          PakTech®, 6Pak, Standard, Dark Green                          6.00      $101.00        $576.00   C03686 freds avalon liquor store
       PAK-6PKSTD-DARKGRN              Invoice   9/25/2024 INV50134          PakTech®, 6Pak, Standard, Dark Green                          2.00       $96.00        $192.00   C04229 Fred''s Tavern
       PAK-6PKSTD-DARKGRN              Invoice   9/26/2024 INV50156          PakTech®, 6Pak, Standard, Dark Green                          1.00       $96.00         $94.00   C01019 5 Stones Artisan Brewery
       PAK-6PKSTD-DARKGRN              Invoice   9/27/2024 INV50227          PakTech®, 6Pak, Standard, Dark Green                          1.00       $88.00         $88.00   C11218 Hilton Head Brewing Co.
       PAK-6PKSTD-DARKGRN              Invoice   9/30/2024 INV50324          PakTech®, 6Pak, Standard, Dark Green                          2.00       $74.00        $148.00   C03538 Mainstreet Liquor
       PAK-6PKSTD-DARKGRN              Invoice   10/2/2024 INV50393          PakTech®, 6Pak, Standard, Dark Green                          2.00       $74.00        $148.00   C09421 Grant Importing & Distributing Co.
       PAK-6PKSTD-DARKGRN              Invoice   10/2/2024 INV50403          PakTech®, 6Pak, Standard, Dark Green                          3.00       $74.00        $222.00   C04229 Fred''s Tavern
       PAK-6PKSTD-EMRLDGRN             Invoice   9/5/2024   INV49562         PakTech®, 6Pak, Standard, Emerald Green                       2.00      $101.00        $202.00   C12027 Bobby Chacko
       PAK-6PKSTD-EMRLDGRN             Invoice   9/17/2024 INV49825          PakTech®, 6Pak, Standard, Emerald Green                       5.00      $101.00        $505.00   C01507 Zilker Brewing Company
       PAK-6PKSTD-EMRLDGRN             Invoice   9/26/2024 INV50188          PakTech®, 6Pak, Standard, Emerald Green                       1.00       $96.00         $96.00   C01133 Black Star Co-op
       PAK-6PKSTD-EMRLDGRN             Invoice   9/30/2024 INV50330          PakTech®, 6Pak, Standard, Emerald Green                       1.00       $74.00         $74.00   C07885 Glenbrook Brewery LLC
       PAK-6PKSTD-EMRLDGRN             Invoice   9/30/2024 INV50324          PakTech®, 6Pak, Standard, Emerald Green                       2.00       $74.00        $148.00   C03538 Mainstreet Liquor
       PAK-6PKSTD-GOLD                 Invoice   9/4/2024   INV49536         PakTech®, 6Pak, Standard, Gold                                2.00      $101.00        $202.00   C05973 Flight Deck Brewing
       PAK-6PKSTD-GOLD                 Invoice   9/6/2024   INV49602         PakTech®, 6Pak, Standard, Gold                                2.00      $101.00        $200.48   C12080 James Woods
       PAK-6PKSTD-GOLD                 Invoice   9/6/2024   INV49595         PakTech®, 6Pak, Standard, Gold                                2.00      $101.00        $199.57   C02071 Frontyard Brewing
       PAK-6PKSTD-GOLD                 Invoice   9/6/2024   INV49626         PakTech®, 6Pak, Standard, Gold                                2.00      $101.00        $202.00   C10863 Rick's Beverages
       PAK-6PKSTD-GOLD                 Invoice   9/9/2024   INV49658         PakTech®, 6Pak, Standard, Gold                                2.00      $101.00        $202.00   C07134 Bayou City Hemp
       PAK-6PKSTD-GOLD                 Invoice   9/11/2024 INV49711          PakTech®, 6Pak, Standard, Gold                               13.00      $101.00      $1,313.00   C03488 Goose Ridge Vineyards
       PAK-6PKSTD-GOLD                 Invoice   9/16/2024 INV49786          PakTech®, 6Pak, Standard, Gold                                2.00      $101.00        $202.00   C04205 White Elm Brewing Company
       PAK-6PKSTD-GOLD                 Invoice   9/18/2024 INV49888          PakTech®, 6Pak, Standard, Gold                                1.00      $101.00        $101.00   C02382 Community Beer Works
       PAK-6PKSTD-GOLD                 Invoice   9/18/2024 INV49890          PakTech®, 6Pak, Standard, Gold                                3.00      $101.00        $303.00   C01433 SpindleTap Brewery
       PAK-6PKSTD-GOLD                 Invoice   9/19/2024 INV49907          PakTech®, 6Pak, Standard, Gold                                6.00      $101.00        $606.00   C01664 Diamond Knot Craft Brewing
       PAK-6PKSTD-GOLD                 Invoice   9/20/2024 INV49932          PakTech®, 6Pak, Standard, Gold                                1.00      $101.00        $101.00   C09340 Plainview Beer
       PAK-6PKSTD-GOLD                 Invoice   9/23/2024 INV49986          PakTech®, 6Pak, Standard, Gold                               10.00      $101.00        $940.00   C07475 Paradigm Brewing Company
       PAK-6PKSTD-GOLD                 Invoice   9/23/2024 INV50017          PakTech®, 6Pak, Standard, Gold                                1.00      $101.00        $100.99   C09379 Lawless Brewing Company
       PAK-6PKSTD-GOLD                 Invoice   9/27/2024 INV50204          PakTech®, 6Pak, Standard, Gold                                2.00       $94.00        $182.37   C03067 Pearl Beach Brew Pub
       PAK-6PKSTD-GOLD                 Invoice   9/27/2024 INV50263          PakTech®, 6Pak, Standard, Gold                                3.00       $94.00        $282.00   C02071 Frontyard Brewing
       PAK-6PKSTD-GOLD                 Invoice   10/1/2024 INV50415          PakTech®, 6Pak, Standard, Gold                               10.00       $88.00        $880.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-GOLD                 Invoice   10/9/2024 INV50457          PakTech®, 6Pak, Standard, Gold                                1.00       $88.00         $88.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-HAZELNUT             Invoice   9/11/2024 INV49708          PakTech®, 6Pak, Standard, Hazelnut                           10.00      $101.00      $1,010.00   C11387 Horse Hollow Distillery
       PAK-6PKSTD-IRIS                 Invoice   9/6/2024   INV49611         PakTech®, 6Pak, Standard, Iris                                2.00      $101.00        $202.00   C04282 New England Brewing Co
       PAK-6PKSTD-IRIS                 Invoice   9/23/2024 INV49984          PakTech®, 6Pak, Standard, Iris                                2.00      $101.00        $188.00   C11036 Exxon gas station
       PAK-6PKSTD-IRIS                 Invoice   9/25/2024 INV50113          PakTech®, 6Pak, Standard, Iris                                1.00       $96.00         $96.00   C07146 Dark Moon Coffee
       PAK-6PKSTD-IRIS                 Invoice   9/25/2024 INV50122          PakTech®, 6Pak, Standard, Iris                                1.00       $96.00         $96.00   C08506 CURES
       PAK-6PKSTD-IRIS                 Invoice   9/25/2024 INV50045          PakTech®, 6Pak, Standard, Iris                                2.00       $96.00        $187.08   C01433 SpindleTap Brewery
       PAK-6PKSTD-IRIS                 Invoice   9/27/2024 INV50206          PakTech®, 6Pak, Standard, Iris                                3.00       $96.00        $288.00   C01645 Lost Colony Brewery
       PAK-6PKSTD-IRIS                 Invoice   10/2/2024 INV50369          PakTech®, 6Pak, Standard, Iris                                3.00       $74.00        $222.00   C01684 Welltown Brewing
       PAK-6PKSTD-MARIGOLD             Invoice   9/6/2024   INV49586         PakTech®, 6Pak, Standard, Marigold                           40.00       $91.00      $3,640.00   C06404 Straight To Ale Brands, Inc.
       PAK-6PKSTD-MARIGOLD             Invoice   9/17/2024 INV49818          PakTech®, 6Pak, Standard, Marigold                            2.00      $101.00        $202.00   C09440 Oddstory Brewing Co.
       PAK-6PKSTD-MARIGOLD             Invoice   9/18/2024 INV49888          PakTech®, 6Pak, Standard, Marigold                            1.00      $101.00        $101.00   C02382 Community Beer Works
       PAK-6PKSTD-MARIGOLD             Invoice   9/19/2024 INV49900          PakTech®, 6Pak, Standard, Marigold                            1.00      $101.00        $101.00   C07488 Smartmouth Brewing
       PAK-6PKSTD-MARIGOLD             Invoice   9/30/2024 INV50322          PakTech®, 6Pak, Standard, Marigold                            3.00       $74.00        $222.00   C01094 Saints and Sinners Brewing Company LLC
       PAK-6PKSTD-MARIGOLD             Invoice   10/2/2024 INV50395          PakTech®, 6Pak, Standard, Marigold                            1.00       $74.00         $74.00   C05716 River North Brewery
       PAK-6PKSTD-MARIGOLD             Invoice   10/11/2024 INV50474         PakTech®, 6Pak, Standard, Marigold                           80.00       $40.00      $3,200.00   C06404 Straight To Ale Brands, Inc.
       PAK-6PKSTD-NAVYBLUE             Invoice   9/18/2024 INV50294          PakTech®, 6Pak, Standard, Navy Blue                          10.00       $78.00        $780.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-NAVYBLUE             Invoice   9/20/2024 INV49927          PakTech®, 6Pak, Standard, Navy Blue                          40.00      $101.00      $4,040.00   C01430 Southern Star Brewing
       PAK-6PKSTD-NAVYBLUE             Invoice   9/20/2024 INV49973          PakTech®, 6Pak, Standard, Navy Blue                           3.00      $101.00        $303.00   C01201 Dorcol Distilling + Brewing Co.
       PAK-6PKSTD-NAVYBLUE             Invoice   9/25/2024 INV50074          PakTech®, 6Pak, Standard, Navy Blue                           2.00      $101.00        $192.00   C03686 freds avalon liquor store
       PAK-6PKSTD-NAVYBLUE             Invoice   9/25/2024 INV50122          PakTech®, 6Pak, Standard, Navy Blue                           1.00       $96.00         $96.00   C08506 CURES
       PAK-6PKSTD-NAVYBLUE             Invoice   9/25/2024 INV50111          PakTech®, 6Pak, Standard, Navy Blue                           4.00       $96.00        $384.00   C03785 Decatur Package Store
       PAK-6PKSTD-NAVYBLUE             Invoice   10/4/2024 INV50456          PakTech®, 6Pak, Standard, Navy Blue                          20.00       $78.00      $1,560.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-PINK                 Invoice   9/6/2024   INV49599         PakTech®, 6Pak, Standard, Pink                               23.00      $101.00      $2,235.66   C04258 Springfield Brewing Company
       PAK-6PKSTD-PINK                 Invoice   9/11/2024 INV49717          PakTech®, 6Pak, Standard, Pink                                1.00      $101.00        $101.00   C09907 Replicant: Shell
       PAK-6PKSTD-PINK                 Invoice   9/23/2024 INV49984          PakTech®, 6Pak, Standard, Pink                                1.00      $101.00         $94.00   C11036 Exxon gas station
       PAK-6PKSTD-PINK                 Invoice   9/30/2024 INV50322          PakTech®, 6Pak, Standard, Pink                                3.00       $74.00        $222.00   C01094 Saints and Sinners Brewing Company LLC
       PAK-6PKSTD-PINK                 Invoice   10/2/2024 INV50389          PakTech®, 6Pak, Standard, Pink                                5.00       $74.00        $370.00   C12228 shibli haddad
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                                                                  American Canning LLC
                                                         Holding Company : American Canning LLC
                                                                Sales by Item Detail
                                                        September 1, 2024 - December 31, 2024
Item                                   Type      Date      Document Number   Description                                 Serial Numbers   Qty. Sold   Sales Price     Revenue                                           Customer
       PAK-6PKSTD-POWDBLUE             Invoice   9/11/2024 INV49717          PakTech®, 6Pak, Standard, Powder Blue                           1.00      $101.00        $101.00   C09907 Replicant: Shell
       PAK-6PKSTD-POWDBLUE             Invoice   9/12/2024 INV49721          PakTech®, 6Pak, Standard, Powder Blue                           6.00      $101.00        $606.00   C10720 TALEA Beer Co.
       PAK-6PKSTD-POWDBLUE             Invoice   9/12/2024 INV49722          PakTech®, 6Pak, Standard, Powder Blue                           2.00      $101.00        $202.00   C11357 Bohemian Brewery
       PAK-6PKSTD-POWDBLUE             Invoice   9/17/2024 INV49824          PakTech®, 6Pak, Standard, Powder Blue                           1.00      $101.00         $97.00   C09448 Iron Monk Brewing Co
       PAK-6PKSTD-POWDBLUE             Invoice   9/18/2024 INV50294          PakTech®, 6Pak, Standard, Powder Blue                          10.00       $91.00        $910.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-POWDBLUE             Invoice   9/18/2024 INV49844          PakTech®, 6Pak, Standard, Powder Blue                           1.00      $101.00        $101.00   C07300 pherm brewing company llc
       PAK-6PKSTD-POWDBLUE             Invoice   9/23/2024 INV49984          PakTech®, 6Pak, Standard, Powder Blue                           2.00      $101.00        $188.00   C11036 Exxon gas station
       PAK-6PKSTD-POWDBLUE             Invoice   9/23/2024 INV50001          PakTech®, 6Pak, Standard, Powder Blue                          14.00       $97.00      $1,358.00   C11357 Bohemian Brewery
       PAK-6PKSTD-POWDBLUE             Invoice   9/25/2024 INV50122          PakTech®, 6Pak, Standard, Powder Blue                           1.00       $96.00         $96.00   C08506 CURES
       PAK-6PKSTD-POWDBLUE             Invoice   9/25/2024 INV50042          PakTech®, 6Pak, Standard, Powder Blue                           1.00       $96.00         $96.00   C07300 pherm brewing company llc
       PAK-6PKSTD-POWDBLUE             Invoice   9/27/2024 INV50227          PakTech®, 6Pak, Standard, Powder Blue                           1.00       $88.00         $88.00   C11218 Hilton Head Brewing Co.
       PAK-6PKSTD-POWDBLUE             Invoice   10/2/2024 INV50395          PakTech®, 6Pak, Standard, Powder Blue                           3.00       $74.00        $222.00   C05716 River North Brewery
       PAK-6PKSTD-POWDBLUE             Invoice   10/2/2024 INV50389          PakTech®, 6Pak, Standard, Powder Blue                           5.00       $74.00        $370.00   C12228 shibli haddad
       PAK-6PKSTD-POWDBLUE             Invoice   10/2/2024 INV50381          PakTech®, 6Pak, Standard, Powder Blue                          40.00       $74.00      $2,960.00   C07132 Parish Brewing Company
       PAK-6PKSTD-POWDBLUE             Invoice   10/2/2024 INV50349          PakTech®, 6Pak, Standard, Powder Blue                           3.00       $74.00        $222.00   C01217 Fairhope Brewing Co.
       PAK-6PKSTD-RED                  Invoice   9/6/2024   INV49610         PakTech®, 6Pak, Standard, Red                                  20.00      $101.00      $1,940.00   C12085 Goat Lab
       PAK-6PKSTD-RED                  Invoice   9/9/2024   INV49658         PakTech®, 6Pak, Standard, Red                                   1.00      $101.00        $101.00   C07134 Bayou City Hemp
       PAK-6PKSTD-RED                  Invoice   9/16/2024 INV49816          PakTech®, 6Pak, Standard, Red                                   1.00      $101.00        $101.00   C01621 Left Coast Brewing Co.
       PAK-6PKSTD-RED                  Invoice   9/23/2024 INV49984          PakTech®, 6Pak, Standard, Red                                   1.00      $101.00         $94.00   C11036 Exxon gas station
       PAK-6PKSTD-RED                  Invoice   9/25/2024 INV50135          PakTech®, 6Pak, Standard, Red                                   2.00       $96.00        $192.00   C06344 Riley's Wines of the World
       PAK-6PKSTD-RED                  Invoice   9/25/2024 INV50132          PakTech®, 6Pak, Standard, Red                                   1.00       $94.00         $94.00   C10348 SDWBC
       PAK-6PKSTD-RED                  Invoice   9/26/2024 INV50179          PakTech®, 6Pak, Standard, Red                                   2.00       $96.00        $192.00   C04648 Spuntino Pizza
       PAK-6PKSTD-RED                  Invoice   9/27/2024 INV50206          PakTech®, 6Pak, Standard, Red                                   2.00       $94.00        $188.00   C01645 Lost Colony Brewery
       PAK-6PKSTD-RED                  Invoice   10/2/2024 INV50376          PakTech®, 6Pak, Standard, Red                                   2.00       $74.00        $148.00   C01621 Left Coast Brewing Co.
       PAK-6PKSTD-RED                  Invoice   10/2/2024 INV50409          PakTech®, 6Pak, Standard, Red                                   2.00       $74.00        $148.00   C01908 Scorched Earth Brewing LLC
       PAK-6PKSTD-RED                  Invoice   10/2/2024 INV50395          PakTech®, 6Pak, Standard, Red                                   3.00       $74.00        $222.00   C05716 River North Brewery
       PAK-6PKSTD-RED                  Invoice   10/11/2024 INV50472         PakTech®, 6Pak, Standard, Red                                  20.00       $40.00        $800.00   C01514 Belching Beaver Brewery
       PAK-6PKSTD-RED                  Invoice   10/11/2024 INV50473         PakTech®, 6Pak, Standard, Red                                  51.00       $40.00      $2,040.00   C02485 State 48 Brewery
       PAK-6PKSTD-ROYLBLUE             Invoice   9/16/2024 INV49816          PakTech®, 6Pak, Standard, Royal Blue                            1.00      $101.00        $101.00   C01621 Left Coast Brewing Co.
       PAK-6PKSTD-ROYLBLUE             Invoice   9/30/2024 INV50324          PakTech®, 6Pak, Standard, Royal Blue                            3.00       $74.00        $222.00   C03538 Mainstreet Liquor
       PAK-6PKSTD-ROYLBLUE             Invoice   10/2/2024 INV50376          PakTech®, 6Pak, Standard, Royal Blue                            1.00       $74.00         $74.00   C01621 Left Coast Brewing Co.
       PAK-6PKSTD-ROYLBLUE             Invoice   10/2/2024 INV50369          PakTech®, 6Pak, Standard, Royal Blue                            3.00       $74.00        $222.00   C01684 Welltown Brewing
       PAK-6PKSTD-SILVER               Invoice   9/6/2024   INV49630         PakTech®, 6Pak, Standard, Silver                                1.00      $101.00        $101.00   C01472 True Vine Brewing Co.
       PAK-6PKSTD-SILVER               Invoice   9/6/2024   INV49595         PakTech®, 6Pak, Standard, Silver                                2.00      $101.00        $199.57   C02071 Frontyard Brewing
       PAK-6PKSTD-SILVER               Invoice   9/16/2024 INV49795          PakTech®, 6Pak, Standard, Silver                                3.00      $101.00        $303.00   C09869 First State Brewing Company
       PAK-6PKSTD-SILVER               Invoice   9/25/2024 INV50126          PakTech®, 6Pak, Standard, Silver                                3.00       $96.00        $288.00   C03832 Apple Annies
       PAK-6PKSTD-SILVER               Invoice   9/25/2024 INV50147          PakTech®, 6Pak, Standard, Silver                                1.00       $96.00         $92.93   C02280 Rally Cap Brewing Company
       PAK-6PKSTD-SILVER               Invoice   9/25/2024 INV50122          PakTech®, 6Pak, Standard, Silver                                1.00       $96.00         $96.00   C08506 CURES
       PAK-6PKSTD-SILVER               Invoice   9/27/2024 INV50238          PakTech®, 6Pak, Standard, Silver                                3.00       $74.00        $222.00   C09170 Save The World Brewing Co.
       PAK-6PKSTD-SILVER               Invoice   9/27/2024 INV50221          PakTech®, 6Pak, Standard, Silver                                3.00       $74.00        $222.00   C03163 Riff Raff Brewing Company
       PAK-6PKSTD-SILVER               Invoice   9/27/2024 INV50199          PakTech®, 6Pak, Standard, Silver                                3.00       $88.00        $264.00   C01137 Blue Owl Brewing
       PAK-6PKSTD-SILVER               Invoice   9/27/2024 INV50263          PakTech®, 6Pak, Standard, Silver                                5.00       $94.00        $470.00   C02071 Frontyard Brewing
       PAK-6PKSTD-SILVER               Invoice   10/1/2024 INV50415          PakTech®, 6Pak, Standard, Silver                               67.00       $88.00      $5,896.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-SILVER               Invoice   10/3/2024 INV50419          PakTech®, 6Pak, Standard, Silver                                3.00       $88.00        $264.00   C11667 Rusty Axe Brewing Company, LLC
       PAK-6PKSTD-SPRNGGRN             Invoice   9/4/2024   INV49556         PakTech®, 6Pak, Standard, Spring Green                         20.00      $101.00      $1,940.00   C07132 Parish Brewing Company
       PAK-6PKSTD-SPRNGGRN             Invoice   9/27/2024 INV50273          PakTech®, 6Pak, Standard, Spring Green                          5.00       $88.00        $440.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-SPRNGGRN             Invoice   9/30/2024 INV50295          PakTech®, 6Pak, Standard, Spring Green                          5.00       $88.00        $440.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-SPRNGGRN             Invoice   10/1/2024 INV50415          PakTech®, 6Pak, Standard, Spring Green                         79.00       $88.00      $6,952.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-STLBLUE              Invoice   9/24/2024 INV50040          PakTech®, 6Pak, Standard, Steel Blue                            2.00       $96.00        $192.00   C11409 Dad Daniels Liquor
       PAK-6PKSTD-STLBLUE              Invoice   9/25/2024 INV50110          PakTech®, 6Pak, Standard, Steel Blue                            3.00       $96.00        $288.00   C11903 John Logan
       PAK-6PKSTD-STLBLUE              Invoice   9/25/2024 INV50122          PakTech®, 6Pak, Standard, Steel Blue                            1.00       $96.00         $96.00   C08506 CURES
       PAK-6PKSTD-STLBLUE              Invoice   9/25/2024 INV50103          PakTech®, 6Pak, Standard, Steel Blue                            5.00       $96.00        $480.00   C11409 Dad Daniels Liquor
       PAK-6PKSTD-STLBLUE              Invoice   9/25/2024 INV50113          PakTech®, 6Pak, Standard, Steel Blue                            1.00       $96.00         $96.00   C07146 Dark Moon Coffee
       PAK-6PKSTD-STLBLUE              Invoice   9/27/2024 INV50220          PakTech®, 6Pak, Standard, Steel Blue                            1.00       $74.00         $74.00   C12210 STACEY KESTER
       PAK-6PKSTD-STLBLUE              Invoice   10/2/2024 INV50406          PakTech®, 6Pak, Standard, Steel Blue                            1.00       $74.00         $74.00   C12233 Victoria Monroy
       PAK-6PKSTD-SUNGLOW              Invoice   10/1/2024 INV50415          PakTech®, 6Pak, Standard, Sunglow                              40.00       $88.00      $3,520.00   C01278 Independence Brewing Co.
       PAK-6PKSTD-SUNSTRED             Invoice   9/3/2024   INV49520         PakTech®, 6Pak, Standard, Sunset Red                            1.00      $101.00        $101.00   C02904 River Bluff Brewing
       PAK-6PKSTD-SUNSTRED             Invoice   9/18/2024 INV50294          PakTech®, 6Pak, Standard, Sunset Red                           10.00       $78.00        $780.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-SUNSTRED             Invoice   10/4/2024 INV50456          PakTech®, 6Pak, Standard, Sunset Red                           10.00       $78.00        $780.00   C01434 St. Elmo Brewing Co.
       PAK-6PKSTD-TROPGRN              Invoice   9/3/2024   INV49502         PakTech®, 6Pak, Standard, Tropical Green                        2.00      $101.00        $202.00   C11357 Bohemian Brewery
       PAK-6PKSTD-TROPGRN              Invoice   9/16/2024 INV49795          PakTech®, 6Pak, Standard, Tropical Green                        1.00      $101.00        $101.00   C09869 First State Brewing Company
       PAK-6PKSTD-TROPGRN              Invoice   9/23/2024 INV50001          PakTech®, 6Pak, Standard, Tropical Green                        7.00       $97.00        $679.00   C11357 Bohemian Brewery
       PAK-6PKSTD-TROPGRN              Invoice   9/27/2024 INV50199          PakTech®, 6Pak, Standard, Tropical Green                        6.00       $88.00        $528.00   C01137 Blue Owl Brewing
       PAK-6PKSTD-TROPGRN              Invoice   10/2/2024 INV50395          PakTech®, 6Pak, Standard, Tropical Green                        2.00       $74.00        $148.00   C05716 River North Brewery
       PAK-6PKSTD-TROPLIME             Invoice   9/20/2024 INV49927          PakTech®, 6Pak, Standard, Tropical Lime                        20.00      $101.00      $2,020.00   C01430 Southern Star Brewing
       PAK-6PKSTD-TROPORNG             Invoice   9/9/2024   INV49650         PakTech®, 6Pak, Standard, Tropical Orange                       1.00      $101.00        $101.00   C03538 Mainstreet Liquor
       PAK-6PKSTD-TROPORNG             Invoice   9/17/2024 INV49824          PakTech®, 6Pak, Standard, Tropical Orange                       6.00      $101.00        $582.00   C09448 Iron Monk Brewing Co
       PAK-6PKSTD-TROPORNG             Invoice   9/18/2024 INV49847          PakTech®, 6Pak, Standard, Tropical Orange                       1.00      $101.00        $101.00   C12135 North Grove Brewers, LLC
       PAK-6PKSTD-TROPORNG             Invoice   9/23/2024 INV49984          PakTech®, 6Pak, Standard, Tropical Orange                       1.00      $101.00         $94.00   C11036 Exxon gas station
       PAK-6PKSTD-TROPORNG             Invoice   9/27/2024 INV50227          PakTech®, 6Pak, Standard, Tropical Orange                       1.00       $88.00         $88.00   C11218 Hilton Head Brewing Co.
       PAK-6PKSTD-TROPORNG             Invoice   9/27/2024 INV50204          PakTech®, 6Pak, Standard, Tropical Orange                       4.00       $94.00        $364.75   C03067 Pearl Beach Brew Pub
       PAK-6PKSTD-WHITE                Invoice   9/3/2024   INV49490         PakTech®, 6Pak, Standard, White                                20.00      $101.00      $2,020.00   C07772 (512) Brewing Co
       PAK-6PKSTD-WHITE                Invoice   9/4/2024   INV49527         PakTech®, 6Pak, Standard, White                                 7.00      $101.00        $707.00   C09942 Rio Grande Distilling LLC
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Item                                              Type      Date        Document Number   Description                                                            Serial Numbers   Qty. Sold   Sales Price      Revenue                                                     Customer
         PAK-6PKSTD-WHITE                         Invoice   9/4/2024   INV49529           PakTech®, 6Pak, Standard, White                                                            2.00      $101.00         $202.00   C09942 Rio Grande Distilling LLC
         PAK-6PKSTD-WHITE                         Invoice   9/6/2024   INV49600           PakTech®, 6Pak, Standard, White                                                            5.00      $101.00         $505.00   C02429 Bike Rack Brewing Co
         PAK-6PKSTD-WHITE                         Invoice   9/6/2024   INV49584           PakTech®, 6Pak, Standard, White                                                           80.00       $91.00       $7,280.00   C01083 Austin Beerworks
         PAK-6PKSTD-WHITE                         Invoice   9/10/2024 INV49700            PakTech®, 6Pak, Standard, White                                                           10.00      $101.00         $930.00   C07298 Uinta Brewing Company
         PAK-6PKSTD-WHITE                         Invoice   9/12/2024 INV49742            PakTech®, 6Pak, Standard, White                                                           10.00      $101.00       $1,010.00   C01980 Citizen Cider
         PAK-6PKSTD-WHITE                         Invoice   9/12/2024 INV49733            PakTech®, 6Pak, Standard, White                                                            3.00      $101.00         $303.00   C01083 Austin Beerworks
         PAK-6PKSTD-WHITE                         Invoice   9/18/2024 INV49846            PakTech®, 6Pak, Standard, White                                                            2.00      $101.00         $196.83   C03659 Defiance Brewing Co.
         PAK-6PKSTD-WHITE                         Invoice   9/18/2024 INV49882            PakTech®, 6Pak, Standard, White                                                            4.00      $101.00         $404.00   C09593 Brewery X
         PAK-6PKSTD-WHITE                         Invoice   9/19/2024 INV49911            PakTech®, 6Pak, Standard, White                                                            2.00      $101.00         $202.00   C07618 Denver Beer Company
         PAK-6PKSTD-WHITE                         Invoice   9/23/2024 INV49977            PakTech®, 6Pak, Standard, White                                                            1.00       $96.00          $96.00   C01938 Border Brewing Company
         PAK-6PKSTD-WHITE                         Invoice   9/23/2024 INV50011            PakTech®, 6Pak, Standard, White                                                            6.00      $101.00         $606.00   C01596 King Bean Coffee
         PAK-6PKSTD-WHITE                         Invoice   9/25/2024 INV50056            PakTech®, 6Pak, Standard, White                                                            5.00       $96.00         $480.00   C06248 Timberline Wine & Spirits
         PAK-6PKSTD-WHITE                         Invoice   9/25/2024 INV50123            PakTech®, 6Pak, Standard, White                                                            2.00       $96.00         $188.51   C12186 Mike Skelton
         PAK-6PKSTD-WHITE                         Invoice   9/25/2024 INV50063            PakTech®, 6Pak, Standard, White                                                           30.00       $96.00       $2,700.00   C07322 Boomtown Brewery
         PAK-6PKSTD-WHITE                         Invoice   9/25/2024 INV50130            PakTech®, 6Pak, Standard, White                                                            7.00      $101.00         $707.00   C07772 (512) Brewing Co
         PAK-6PKSTD-WHITE                         Invoice   9/25/2024 INV50126            PakTech®, 6Pak, Standard, White                                                            4.00       $96.00         $384.00   C03832 Apple Annies
         PAK-6PKSTD-WHITE                         Invoice   9/25/2024 INV50098            PakTech®, 6Pak, Standard, White                                                           20.00       $94.00       $1,720.00   C09999 Umlaut Brewing LLC dba Off Color Brewing
         PAK-6PKSTD-WHITE                         Invoice   9/25/2024 INV50121            PakTech®, 6Pak, Standard, White                                                            2.00       $94.00         $188.00   C03659 Defiance Brewing Co.
         PAK-6PKSTD-WHITE                         Invoice   9/26/2024 INV50302            PakTech®, 6Pak, Standard, White                                                          160.00       $74.00      $11,840.00   C01083 Austin Beerworks
         PAK-6PKSTD-WHITE                         Invoice   9/27/2024 INV50271            PakTech®, 6Pak, Standard, White                                                            5.00       $88.00         $440.00   C04472 Live Oak Brewing CO.
         PAK-6PKSTD-WHITE                         Invoice   9/27/2024 INV50241            PakTech®, 6Pak, Standard, White                                                            2.00       $88.00         $176.00   C01494 Whitestone Brewery
         PAK-6PKSTD-WHITE                         Invoice   9/27/2024 INV50227            PakTech®, 6Pak, Standard, White                                                            6.00       $88.00         $528.00   C11218 Hilton Head Brewing Co.
         PAK-6PKSTD-WHITE                         Invoice   9/30/2024 INV50319            PakTech®, 6Pak, Standard, White                                                           20.00       $74.00       $1,480.00   C05918 Gold Crown Liquors
         PAK-6PKSTD-WHITE                         Invoice   9/30/2024 INV50320            PakTech®, 6Pak, Standard, White                                                           10.00       $74.00         $740.00   C05918 Gold Crown Liquors
         PAK-6PKSTD-WHITE                         Invoice   10/2/2024 INV50401            PakTech®, 6Pak, Standard, White                                                            2.00       $74.00         $148.00   C12232 Michele Frumkin
         PAK-6PKSTD-WHITE                         Invoice   10/2/2024 INV50404            PakTech®, 6Pak, Standard, White                                                           10.00       $74.00         $740.00   C01980 Citizen Cider
         PAK-6PKSTD-WHITE                         Invoice   10/4/2024 INV50443            PakTech®, 6Pak, Standard, White                                                           32.00       $88.00       $2,515.32   C07772 (512) Brewing Co
         PAK-6PKSTD-WHITE                         Invoice   10/4/2024 INV50455            PakTech®, 6Pak, Standard, White                                                          178.00       $72.87      $12,970.86   C08441 Canworks, Inc
         PAK-6PKSTD-WHITE                         Invoice   10/4/2024 INV50444            PakTech®, 6Pak, Standard, White                                                            5.00       $74.00         $370.00   C01383 Red Horn Brewing
         PAK-6PKSTD-WHITE                         Invoice   10/4/2024 INV50447            PakTech®, 6Pak, Standard, White                                                           20.00       $72.00       $1,440.00   C06080 prison brewing co llc
         PAK-6PKSTD-YELLOW                        Invoice   9/12/2024 INV49760            PakTech®, 6Pak, Standard, Yellow                                                           2.00      $101.00         $202.00   C03927 42 North Brewing Company
         PAK-6PKSTD-YELLOW                        Invoice   9/17/2024 INV49824            PakTech®, 6Pak, Standard, Yellow                                                           4.00      $101.00         $388.00   C09448 Iron Monk Brewing Co
         PAK-6PKSTD-YELLOW                        Invoice   9/23/2024 INV49984            PakTech®, 6Pak, Standard, Yellow                                                           2.00      $101.00         $188.00   C11036 Exxon gas station
         PAK-6PKSTD-YELLOW                        Invoice   9/23/2024 INV50019            PakTech®, 6Pak, Standard, Yellow                                                           3.00      $101.00         $303.00   C04979 Precarious Beer Project
         PAK-6PKSTD-YELLOW                        Invoice   9/25/2024 INV50089            PakTech®, 6Pak, Standard, Yellow                                                           4.00      $101.00         $384.00   C11210 Kyle Alligood
         PAK-6PKSTD-YELLOW                        Invoice   9/25/2024 INV50053            PakTech®, 6Pak, Standard, Yellow                                                          13.00       $96.00       $1,231.86   C01365 Palisade Brewing Company
         PAK-6PKSTD-YELLOW                        Invoice   9/27/2024 INV50227            PakTech®, 6Pak, Standard, Yellow                                                           1.00       $88.00          $88.00   C11218 Hilton Head Brewing Co.
         PAK-6PKSTD-YELLOW                        Invoice   9/27/2024 INV50199            PakTech®, 6Pak, Standard, Yellow                                                           3.00       $88.00         $264.00   C01137 Blue Owl Brewing
         PAK-6PKSTD-YELLOW                        Invoice   9/27/2024 INV50206            PakTech®, 6Pak, Standard, Yellow                                                           5.00       $94.00         $470.00   C01645 Lost Colony Brewery
         PAK-6PKSTD-YELLOW                        Invoice   9/30/2024 INV50333            PakTech®, 6Pak, Standard, Yellow                                                           8.00       $74.00         $592.00   C12231 Pondaseta Brewing Co
         PAK-6PKSTD-YELLOW                        Invoice   10/1/2024 INV50341            PakTech®, 6Pak, Standard, Yellow                                                          20.00       $74.00       $1,480.00   C05716 River North Brewery
         PAK-6PKSTD-YELLOW                        Invoice   10/2/2024 INV50356            PakTech®, 6Pak, Standard, Yellow                                                           3.00       $74.00         $222.00   C11008 BHAVNABEN PATEL
         PAK-6PKSTD-YELLOW                        Invoice   10/11/2024 INV50472           PakTech®, 6Pak, Standard, Yellow                                                          10.00       $40.00         $400.00   C01514 Belching Beaver Brewery
         PAK-6PKSTD-YELLOW                        Invoice   10/11/2024 INV50473           PakTech®, 6Pak, Standard, Yellow                                                          29.00       $40.00       $1,160.00   C02485 State 48 Brewery
       PKG-BAND-8IN-TPC                           Invoice   10/8/2024 INV50461            Pallet Strapping                                                                          10.00       $93.38         $933.80   C08441 Canworks, Inc
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/3/2024    INV49522                                                                                                      1.00     $498.00        $498.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C09325 The Rounds
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/4/2024    INV49561                                                                                                      1.00     $498.00        $498.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C10638 Edwin's Edibles
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/10/2024   INV49703                                                                                                      2.00     $498.00        $996.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C03382 Okc Soda Co
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/12/2024   INV49734                                                                                                      2.00     $498.00        $996.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C09654 Indigo
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/17/2024   INV49821                                                                                                      3.00     $498.00       $1,465.83
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C10700 Jenesa Lukac
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/18/2024   INV49869                                                                                                      2.00     $498.00        $996.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C06791 Your Way Manufacturing LLC
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/20/2024   INV49965                                                                                                      2.00     $498.00        $996.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C06034 Botanical Brewing Co
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   9/20/2024   INV49921                                                                                                      1.00     $498.00        $498.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C09810 trimtab brewing co
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   10/2/2024   INV50345                                                                                                      1.00     $460.00        $182.03
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C06034 Botanical Brewing Co
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   10/3/2024   INV50426                                                                                                      2.00     $340.00        $680.00
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                         C03272 City Orchard
                                                                                          Sleek, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                  Invoice   10/4/2024   INV50455                                                                                                    12.24      $300.00       $3,672.48
       TRAY-SLEEK-ROLL-24CN-KRFT-UNCTD-3-1200CT                                           1200CT                                                                                                                      C08441 Canworks, Inc
       TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-1200CT   Invoice   9/27/2024   INV50203          Rollover Case Tray - Slim PALLET @ 1200/EA                                                  1.00     $400.00        $362.82 C11415 Wondry Wine
       TRAY-SLIM-ROLL-24CN-KRFT-UNCTD-25-1200CT   Invoice   9/27/2024   INV50208          Rollover Case Tray - Slim PALLET @ 1200/EA                                                  1.00     $498.00        $498.00 C02961 Lazy Beach Brewing
                                                                                          Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                  Invoice   9/3/2024    INV49521                                                                                                      1.00     $791.20        $791.20
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                             Uncoated, 1440CT                                                                                                               C11694 Dragonmead L.C.
                                                                                          Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                  Invoice   9/4/2024    INV49553                                                                                                      1.00     $791.20        $791.20
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                             Uncoated, 1440CT                                                                                                               C04210 Boot Hill Distillery LLC
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Item                                            Type      Date        Document Number   Description                                                               Serial Numbers   Qty. Sold   Sales Price      Revenue                                                   Customer
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/6/2024    INV49627                                                                                                         1.00     $791.20        $791.20
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C06012 The Seventh Tap Brewing Project
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/23/2024   INV50015                                                                                                         1.00     $791.20        $791.20
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C01765 Humane Society Silicon Valley
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/25/2024   INV50081                                                                                                         2.00     $791.20       $1,582.40
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C06491 Jester King Brewery
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/27/2024   INV50252                                                                                                         1.00     $726.00        $726.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C02157 Jasper Winery
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/27/2024   INV50245                                                                                                         1.00     $726.00        $658.33
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C01280 Infamous Brewing Co.
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/27/2024   INV50199                                                                                                         2.00     $726.00       $1,452.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C01137 Blue Owl Brewing
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/27/2024   INV50250                                                                                                         4.00     $726.00       $2,692.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C01765 Humane Society Silicon Valley
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   9/30/2024   INV50305                                                                                                         2.00     $648.00       $1,242.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C06012 The Seventh Tap Brewing Project
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   10/2/2024   INV50386                                                                                                         1.00     $648.00        $648.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C01541 ETX Brewing Co.
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   10/2/2024   INV50354                                                                                                         1.00     $648.00        $648.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C09676 Crane Brewing Company
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   10/4/2024   INV50449                                                                                                         4.00     $300.00       $1,200.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C01094 Saints and Sinners Brewing Company LLC
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   10/10/2024 INV50463                                                                                                        10.00      $400.00       $4,000.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C12245 Falcon Packaging
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   10/11/2024 INV50470                                                                                                          3.00     $400.00       $1,200.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C03085 False Idol Brewing
                                                                                        Standard, Auto-locking Kraft Case Tray, 24 can capacity, 3" wall,
                                                Invoice   10/11/2024 INV50473                                                                                                          4.00     $300.00       $1,200.00
       TRAY-STD-AUTO-24CN-KRFT-UNCTD-3-1440CT                                           Uncoated, 1440CT                                                                                                                  C02485 State 48 Brewery
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/12/2024   INV49725                                                                                                         1.00     $619.20        $619.20
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C02090 Norfork Brewing Company
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/17/2024   INV49820                                                                                                         1.00     $619.20        $619.20
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C09325 The Rounds
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/18/2024   INV49865                                                                                                         1.00     $619.20        $619.20
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C11443 Busch Family Brewing and Distilling
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/18/2024   INV49870                                                                                                         5.00     $619.20       $3,096.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C09821 Liquid Nitro Beverages, Inc
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/23/2024   INV49998                                                                                                         1.00     $619.20        $619.20
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C08993 Wild River Brewing
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/27/2024   INV50206                                                                                                         1.00     $560.00        $560.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C01645 Lost Colony Brewery
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/27/2024   INV50253                                                                                                         1.00     $460.00        $391.93
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C09170 Save The World Brewing Co.
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/27/2024   INV50215                                                                                                         1.00     $619.20        $619.20
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C01134 Blackwater Draw Brewing Co.
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   9/27/2024   INV50204                                                                                                         1.00     $560.00        $543.23
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C03067 Pearl Beach Brew Pub
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/2/2024   INV50346                                                                                                         1.00     $460.00        $460.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C02177 Westlake Brewing Company
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/2/2024   INV50355                                                                                                         1.00     $412.00        $412.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C09325 The Rounds
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/2/2024   INV50353                                                                                                         1.00     $412.00        $412.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C02961 Lazy Beach Brewing
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/2/2024   INV50351                                                                                                         1.00     $412.00        $412.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C08993 Wild River Brewing
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/3/2024   INV50428                                                                                                         2.00     $400.00        $800.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C11478 Bentonville Brewing Co
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/3/2024   INV50419                                                                                                         1.00     $460.00        $460.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C11667 Rusty Axe Brewing Company, LLC
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/3/2024   INV50427                                                                                                         4.00     $619.20       $2,476.80
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C07251 Ranch House Brewery
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/3/2024   INV50429                                                                                                         1.00     $400.00        $400.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C06278 Db Chem Inc
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/4/2024   INV50447                                                                                                         4.00     $400.00       $1,600.00
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C06080 prison brewing co llc
                                                                                        Standard, Rollover Kraft Case Tray, 24 Can Capacity, 3" wall, Uncoated,
                                                Invoice   10/4/2024   INV50455                                                                                                       33.96      $392.00      $13,313.97
       TRAY-STD-ROLL-24CN-KRFT-UNCTD-3-1400CT                                           1400CT                                                                                                                            C08441 Canworks, Inc
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   AUSTIN DIVISION
In re American Canning LLC                                                                                                          Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $25,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $25,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Representation in any adversary proceedings, contested matter or appeals. The amount reflected above does not
   include the filing fee for the filing of this matter with the Court which was handled by the Debtor's attorney.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                     12/31/2024                      /s/ Douglas J. Powell
                        Date                         Douglas J. Powell                            Bar No. 16194900
                                                     The Law Offices of Douglas J. Powell, P.C.
                                                     P. O. Box 340686
                                                     Lakeway, TX 78734
                                                     Phone: (512) 476-2457




  /s/ David Racino
  David Racino
  Manager
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   American Canning LLC                                                    CASE NO

                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 12/31/2024                                         Signature   /s/ David Racino
                                                                    David Racino
                                                                    Manager




Date                                                    Signature
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                            1220 Spirits
                            4350 Semple Ave.
                            St. Louis,MO 63120



                            24 Hour, Ltd.
                            8911 Directors Row
                            Dallas, TX 75247



                            Altstadt Brewery
                            6120 E US Hwy 290
                            Fredericksburg, TX 78624



                            Aluminati, Inc.
                            2440 Railroad St.
                            Corona, CA 92878



                            Alvarado Street Brewery
                            1315 Dayton St, Ste E
                            Salinas, CA 93901



                            Arendes, Green, Richtermeyer & Stahl
                            904 Retama St.
                            Austin, TX 78704



                            AT&T
                            Bankruptcy Dept.
                            PO Box 769
                            Arlington, TX 76004


                            Austin Beerworks
                            909 Linden St.
                            Unit 1
                            Austin, TX 78702


                            Automation Designs, Inc.
                            P.O. Box 1641
                            San Marcos, TX 78667
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                            Ball Corporation
                            9300 W. 108th CircleBroomfield, CO 8
                            Broomfield, CO 80021



                            Banc of America Leaseing & Capital
                            P.O. Box 405874
                            Atlanta, GA 30384



                            Bar 2 Table
                            201 Morris Street
                            Toldeo, OH 43604



                            Belching Beaver Brewery
                            1334 Rocky Point Drive
                            Oceanside, CA 92056



                            Benjamin Mills
                            1946 North Birch Avenue
                            Fayetteville, AR 72703



                            Berlin Packaging
                            1645 Tchoupitoulas St.
                            New Orleans, LA 70130



                            Big Country Foods dba Willards Brewery
                            1703 La Costa Meadows Dr.
                            San Marcos, CA 92078



                            Bishop Cider Co.
                            663 North Manus Drive, Suite 190
                            Dallas, TX 75224



                            Blackeye Beverage
                            705 Vandalia Street
                            St. Paul,MN 55114
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                            Brewer Family Provisions dba Forth Disti
                            840 SE Woodland Blvd, STE 185
                            Bend, OR 97702



                            Canworks, Inc.
                            800 Interchange Blvd.
                            Suite 106
                            Austin, TX 78721


                            CH Robinson
                            P.O. Box 9121
                            Minneapolis, MN 55480



                            Cintas Corp
                            2525 Ridgepoint Drive
                            Suite 300
                            Austin, TX 78754


                            City of Austin
                            Dba Austin Energy
                            721 Barton Springs Rd.
                            Austin, TX 78704


                            Constellation Brands Inc.
                            235 Bloomfield Rd.
                            Canandaigua, NY 14424



                            Country Luau Spirits LLC
                            1117 Altum Street
                            Austin, TX 78721



                            Creek Leaf Wellness dba Easy Hemp Co.
                            114 14th St. S.
                            Birmingham, AL 35233



                            Curious Elixirs
                            139 Folly Mill Road
                            Seabrook, NH 3874
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                            De Lage Landen Financial Services, Inc.
                            P.O. Box 41602
                            Philadelphia, PA 19101-1602



                            DeadBeach Brewery
                            3200 Durazno Ave
                            El Paso, TX 79905



                            Diane White
                            10040 East Happy Valley Rd
                            Unit #200
                            Scottsdale, AZ 85255


                            Distant Brewing
                            568 Old Mammoth Road
                            Mammoth Lakes, CA 93546



                            Drink LMNT
                            6000 Condor Dr.
                            Moorpark, CA 93021



                            Drink New Brew
                            1920 Hillhurst Ave.#512
                            Los Angeles, CA 90027



                            DWS Printing Associates
                            1011 Bryson Walk
                            Bryson City, NC28713



                            Earths Brew
                            14980 Limestone School Rd
                            Leesburg, VA 20176



                            Faith Springs, LLC dba H2forLife
                            24 Clear Lane
                            Blue Ridge, GA 30513
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                            Fast Track Packaging Inc.
                            935A Southgate Drive, Unit 2
                            Guelph, ON N1L 0B9



                            First Citizens Bank
                            21146 Network Place
                            Chicago, IL 60673-1211



                            Gamer Packaging
                            330 2nd Ave S. #895
                            Minneapolis, MN 55401



                            Georgia-Pacific
                            133 Peachtree St. NE
                            Atlanta, GA 30303



                            GlobalTranz Enterprises, Inc.
                            P.O. Box 203285
                            Dallas, TX 75320



                            Grace Ridge Brewing
                            3815 W Valley Hwy N.
                            Auburn, WA 98001



                            Green Bay Packaging
                            5901 Campus Drive
                            Fort Worth, TX 76140



                            Green Bench Brewing Company
                            1133 Baum Avenue North
                            Saint Petersburg, FL 33705



                            Huss Brewing Co.
                            1520 West Mineral Road, #102
                            Tempe, AZ 85283
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                            Ian Willis
                            P.O. BOX 5664
                            Snowmass Village, CO 81615



                            Independence Brewing Co.
                            3913 Todd Ln. #607
                            Austin, TX 78744



                            Innovative Separations NB, LLC
                            1 Hawthorne Street#24a
                            San Francisco, CA94105



                            Jani-King
                            2523 South Lakeline Blvd.
                            Cedar Park, TX78613



                            Knight Office Solutions
                            2525 Brockton Dr.#290
                            Austin, TX 78758



                            Lakewood Brewing Company
                            2302 Executive Dr.
                            Garland, TX 75041



                            Leaf Commercial Capital
                            2005 Market Street
                            Philadelphia, PA 19103



                            Left Coast Brewing Co.
                            1313 Calle Avenzado
                            San Clemente, CA 92673



                            Linde Gas & Equipment
                            2801 Montopolis Drive
                            Austin, TX 78741
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                            LIT Industrial, L.P.
                            c/o Travis W. McNellie
                            Jackson Walker, LLP
                            777 Main Street, Suite 2100
                            Fort Worth, TX 76102
                            Live Oak Brewing Co.
                            1615 Crozier Lane
                            Del Valle,TX 78617



                            Lone Star Hazmat Response, LLC
                            115 W 5th Street
                            Tyler, TX 75701



                            Lumberyard Brewing Co.
                            5 S. San Francisco St.
                            Flagstaff, AZ 86001



                            Marco Reyna
                            16016 New Independence Parkway
                            Ste. 100
                            Winter Garden, FL34787


                            Mayawell
                            18913 Philip Way
                            New Caney, TX 77357



                            Meanwhile Brewing Co.
                            1517 Weyford Dr.
                            Austin, TX 78757



                            Meridian Hive Meadery
                            8120 Exchange Dr.
                            Suite 400
                            Austin, TX 78754


                            Meta Brand Corp.
                            25 Progress St.
                            Edison, NJ 08820
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                            Miller Marketing & Distribution (Una Fam
                            2301 Metropolitan Ave.
                            Kansas City, KS 66106



                            Nicol Scales & Measurement
                            P.O. Box 222288
                            Dallas, TX 75222-2288



                            Oak Highlands Brewery
                            10484 Brockwood Rd.
                            Dallas, TX 75238



                            OKC Soda Co.
                            6516 Westrock Drive
                            Oklahoma City, OK 73132



                            OneDigital Topco LLC
                            200 Galleria Parkway
                            Suite 1950
                            Atlanta, GA 30339


                            Packform
                            25852 McBean Pkwy., #714
                            Valencia,CA 91335



                            PakTech OPI
                            70 S. Bertelsen Rd.
                            Eugene, OR 97402



                            Paq-Source Austin, LLC
                            P.O. Box 81882
                            Austin, TX 78708



                            Pinthouse Pizza, LLC
                            4279 Burnet Rd.
                            Austin, TX 78756
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                            Point Remove Wine & Brewing Co.
                            102 S. Crestliner
                            Morrliton,AR 72110



                            PSSI Pest Solutions
                            P.O. Box 645026
                            Dallas, TX 75264-5026



                            Ranch Hand
                            12501 Pauls Valley Rd.
                            Unit D
                            Austin, TX 78737


                            Ranch House Brewery
                            6565 N Toltec Buttes Rd.
                            Eloy, AZ 85131



                            Ranger Creek Brewing & Distilling
                            4834 Whirlwind Dr.
                            San Antonio, TX 78217



                            Real Ale Brewing Company
                            6109 Mountain Villa Dr.
                            Austin, TX 78731



                            Rockaway Drinks LLC
                            238 Beach 132nd Street
                            Rockaway Park, NY 11694



                            Saints and Sinners Brewing Company LLC
                            327 E Friar Tuck Ln.
                            Houston,TX 77024



                            Salesforce
                            P.O. Box 203141
                            Dallas, TX 75320-3141
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                            San Juan Seltzer
                            3901 1st Avenue South
                            Seattle,WA 98134



                            Santa Monica Mountains Farmstead
                            23219 N. 23rd Place
                            Phoenix, AZ 85024



                            Sherwin Williams
                            101 Prospect Ave NW
                            Cleveland, OH 44115



                            St. Ambrose Cellars
                            971 South Pioneer Road
                            Beulah, MI 49617



                            St. Elmo Brewing Co.
                            440 East St Elmo Rd, STE G-2
                            Austin, TX 78745



                            Stesti Brewing Company
                            P.O. Box 31
                            Lovelady,TX 75851



                            Stormalong Cider
                            320 Industrial Rd.
                            Leominster, MA 01453



                            Sunil Surana
                            8001 Edmondson Bend
                            Austin, TX 78744



                            Synergi Partners
                            151 West Evans Street
                            Florence,SC 29501
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                            Talkhouse
                            800 Interchange Blvd.
                            Ste. 106
                            Austin, TX 78721


                            TC Austin Industrial Development, Inc.
                            500 West 2nd Street
                            Suite 1550
                            Austin, TX 78701


                            Texas Beer Co.
                            P.O. Box 201
                            Taylor, TX 76574



                            Texas Gas Service
                            610 E. St. Elmo Rd
                            Austin, TX 78745



                            THE ESTATE OF DAVID P. WILLIS, JR.
                            c/o Brian Willis
                            175 Pratts Dam Road
                            Coatesville, PA 19320


                            Tipsy Spritzers
                            845 Middle Tennessee Blvd.
                            Murfreesboro, TN37129



                            Toyo Seikan Co., LTD
                            2-18-1 Higashi Gotanda
                            Shinagawa-Ku
                            Tokyo, Japan 141-9640


                            Toyota Industries Commercial Finance, In
                            P.O. Box 660926
                            Dallas, TX 75266



                            Trusted Tech Team
                            5171 California Ave.
                            Suite 250
                            Irvine, CA 92617
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                            Tweaker Energy Drink
                            13757 N. Stemmons Fwy.
                            Farmers Branch, TX 75234



                            Uinta Brewing Company
                            269 E 1200 S.
                            Bountiful,UT 84010



                            United Rentals
                            P.O. Box 840514
                            Dallas, TX 75284-0514



                            United States Department of Justice
                            United States Attorney
                            601 N.W. Loop 410, Suite 600
                            San Antonio, TX 78216


                            United States Trustee
                            903 San Jacinto, Suite 230
                            Austin, TX 78701



                            UPS
                            P.O. Box 650690
                            Dallas, TX 75265



                            Videojet Technologies, Inc.
                            12113 Collection Center Dr.
                            Chicago, IL 60693



                            Waste Management
                            P.O. Box 660345
                            Dallas, TX 75266-0345



                            Whalers Brewing Company
                            1174 Kingstown Road
                            South Kingstown, RI 02879
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                            Wild Brewing Co.
                            601 7th Avenue
                            Altoona, PA 16602



                            Wildpack Beverage
                            4007 Commercial Center Dr.#700
                            Austin, TX 78744



                            Young & Pratt, Inc.
                            12822 Old Kimbro Rd.
                            Manor, TX 78653-4519



                            Zilker Brewing Company
                            1701 E 6th St.
                            Austin, TX 78702
